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                   EXHIBIT C
Case 2:25-cv-00438-JRG                        Document 1-3                   Filed 04/25/25                        Page 2 of 55 PageID #: 140
                                                                       THIMULTUMIT                           US009772193B1

  (12) United States Patent                                                       (10 ) Patent No.: US 9 ,772, 193 B1
       Mendelson                                                                  (45) Date of Patent:    Sep . 26 , 2017
  (54 ) VEHICLE BEACON AND METHOD OF USE                                                                    4 /008 (2013 .01); H04W 47021 (2013.01 );
                                                                                                                H04W 48 / 10 ( 2013 .01) ; H04W 76 / 007
  (71) Applicant: Ehud Mendelson , Coral Springs, FL                                                      ( 2013 .01); B6OR 2325 / 101 (2013 .01 ); B60R
                       (US )                                                                                     2325/ 103 (2013 .01); BOOR 2325/ 205
                                                                                                        ( 2013 .01); G06Q 2240/00 (2013 .01)
  (72 ) Inventor: Ehud Mendelson , Coral Springs, FL                          (58 ) Field of Classification Search
                  (US)                                                                    CPC ..... H04W 4 /008 ; H04W 4 /021 ; H04W 48 / 10 ;
                                                                                                                                        H04W 76 /007
  ( * ) Notice : Subject to any disclaimer, the term ofthis                               USPC ....... ..                               ....... 455/41.2
                  patent is extended or adjusted under 35                          See application file for complete search history .
                  U . S .C . 154 (b ) by 0 days .
                                                                             (56 )               References Cited
  (21) Appl.No.: 15/403,146                                                                           U . S . PATENT DOCUMENTS
  (22 ) Filed :        Jan . 10 , 2017                                                  3 , 114 , 128 A        12 / 1963 Ljungman
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                  Related U .S . Application Data                                                    (Continued )
        Division of application No . 15 /397 ,685 , filed on Jan .
        3 , 2017 , now Pat. No . 9,674 ,684 , which is a division                        FOREIGN PATENT DOCUMENTS
        of application No. 15 / 237 ,727, filed on Aug . 16 , 2016 ,         JP               9126804 A 5 /1997
        now Pat . No . 9 ,538 ,332, which is a division of
        application No. 15/086 , 028, filed on Mar. 30 , 2016 ,              Primary Examiner - April G Gonzales
        now Pat. No. 9 ,420,423 , which is a division of                     (74 ) Attorney, Agent, or Firm — Allen D . Hertz , P. A .;
         application No. 14 / 285, 406 , filed on May 22 , 2014 ,             Allen D . Hertz
                               (Continued )
                                                                              (57)                               ABSTRACT
         Int. Ci.                                                             Installation of a Bluetooth and /or Wi-Fi enabled RF beacon
         H04B 7700                  ( 2006 .01)                              within a vehicle. The RF beacon can be utilized to direct a
         G01C 21/20                 ( 2006 .01)                              user to a parking space where the user parked the vehicle .
         H04W 48 / 10               (2009.01)                                 The return to parking feature can provide navigation from a
         H04W 4 /00                 (2009.01)                                current location of the user to the vehicle parking space .
        H04W 4 /02                   ( 2009.01)                              Navigation can be accomplished using a Global Positioning
        GOIS 19 / 46                 ( 2010 .01 )                             System (GPS ), a beacon navigation system , or a combina
         GOIS 1/04                  (2006 .01)                               tion thereof. The RF beacon can be utilized as a geofence .
         BOOR 25 /20                 ( 2013.01)                               The geofence can provide several functions, such as a
        G060 20/ 10                  ( 2012 .01)                             reminder to collect one ormore items from the vehicle when
        H04W 76 /00                  ( 2009 .01)                              the user travels outside of the geofence ; automatically
  (52) U . S . CI.                                                            register the parking space where the vehicle is parked ;
        CPC ...... ..... GOIC 21/206 (2013 . 01 ); B6OR 25/ 20               automatically initiate a Location Based Service , and the like .
              ( 2013.01); GOIS 1/04 (2013 .01) ; GOIS 19 / 46
                     (2013 .01); G06Q 20 / 102 (2013.01 ); H04W                            21 Claims, 13 Drawing Sheets
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Case 2:25-cv-00438-JRG                           Document 1-3                Filed 04/25/25             Page 3 of 55 PageID #: 141


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                Related U .S . Application Data                                  5 ,652 ,570 A
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           of application No . 11 / 472 , 706 , filed on Jun . 22 , 2006 ,
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           application No . 11 /429 , 864 , filed on May 8 , 2006 ,                                                                     370/389
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           which is a division of application No. 15 / 237 ,727 ,                                                                   342 /463
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                                                              FIG . 1
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                                          FIG . 2
Case 2:25-cv-00438-JRG      Document 1-3    Filed 04/25/25                                         Page 7 of 55 PageID #: 145


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                                     FIG . 3
Case 2:25-cv-00438-JRG     Document 1-3          Filed 04/25/25      Page 8 of 55 PageID #: 146


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                                  TAG / BEACON                    DETERMINE
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                          DETERMINE LOCATION AS
                              PROXIMITY TO FIND
                               THE TAG / BEACON


                          DISPLAY ON CELL PHONE
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                           OR BLCETOOTH DEVICE


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                               NAVIGATE FROM                    NAVIGATION
                                  WAYPOINTS

                                           FIG . 4
Case 2:25-cv-00438-JRG                                            Document 1-3           Filed 04/25/25        Page 9 of 55 PageID #: 147


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Case 2:25-cv-00438-JRG   Document 1-3 Filed 04/25/25    Page 10 of 55 PageID #:
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                          FLOATING DISPLAY ON MAP 1605
                            OR IN CIRCULAR DISPLAY       0
                                       FIG . 6
Case 2:25-cv-00438-JRG     Document 1-3 Filed 04/25/25                Page 11 of 55 PageID #:
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                   USER CHOOSES PREFERENCES
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                     USER CELL PHONE SCANS                  dog bo
                         FOR PROXIMITY BEACON


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                         DECODES PREFERENCES
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                    OPTIONAL BEHAVIORAL LOG
                         SET TO USER PROFILE


                   SPECIFIC RELEVANT CONTENT                             704
                  DELIVERED TO USER CELL PHONE
                    ACCORDING TO THE PROFILE                wo
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                               FIG . 7
Case 2:25-cv-00438-JRG                                                    Document 1-3 Filed 04/25/25                                                                                              Page 12 of 55 PageID #:
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Case 2:25-cv-00438-JRG   Document 1-3 Filed 04/25/25                    Page 13 of 55 PageID #:
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                                               TRIGGER CONTENT DELIVERY

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                                               3RD PARTY COMMUNICATION               902
                                                            INTERNET
                                               CELLULAR COMMUNICATION
                                                   LOCAL CONTENT, ETC .

                                               FIG . 9
Case 2:25-cv-00438-JRG                          Document 1-3 Filed 04/25/25                       Page 14 of 55 PageID #:
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Case 2:25-cv-00438-JRG                       Document 1-3 Filed 04/25/25                          Page 15 of 55 PageID #:




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Case 2:25-cv-00438-JRG      Document 1-3 Filed 04/25/25                 Page 16 of 55 PageID #:
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                  USER PROFILE
                  PREFERENCES
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                                    RETRIEVE USER
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                                   ASSOCIATED WITH
                                    MOBILE DEVICE                702
                                    & NOTIFY LOCAL

                                 FILTER & DELIVER LBS ws
                                    CONTENT TO THE
                                 MOBILE DEVICE BASED
                                      ON USER
                                 PROFILE / PREFERENCE

                                         TRIGGER           304
                                         PROGRAM




                                         503                                       108
                     LOCAL
                    CONTENT               034              NAVIGATION
                                                           NAVIGATION

                                         FIG . 12
Case 2:25-cv-00438-JRG       Document 1-3 Filed 04/25/25                                          Page 17 of 55 PageID #:
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                                                  FIG . 131
Case 2:25-cv-00438-JRG                       Document 1-3 Filed 04/25/25                                Page 18 of 55 PageID #:
                                                        156

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      VEHICLE BEACON AND METHOD OF USE                                     which is a Divisional Application of U .S . patent applica
                                                                        tion Ser. No . 11/429 ,864 filed on May 8 , 2006 (now U .S . Pat .
             CROSS REFERENCE TO RELATED                                 No. 8 , 836 ,580 on Sep . 16 , 2014 ),
                          APPLICATIONS                                    which is a Non -Provisional U .S . Patent Application
                                                                      5 claiming the benefit of U . S . Provisional Patent Application
    This application is:                                                Ser. No. 60 /678 , 947 filed on May 9, 2005 , and
 A ) is a Divisional Application of U . S . patent application Ser.      C ) is a Divisional Application of U .S . patent application Ser.
 No . 15 /397,685 filed on Jan . 3 , 2017 ,                          No . 15 /397,685 filed on Jan . 3 , 2017,
   which is a Divisional Application of U .S . patent applica -         which is a Divisional Application of U . S . patent applica
tion Ser. No . 15 / 237,727 filed on Aug . 16 , 2016 ( now U .S . 10 tion Ser. No. 15 /237 ,727 filed on Aug. 16 , 2016 (now U . S .
 Pat. No. 9 ,420 ,423 on Jan . 3 , 2017 ),                               Pat . No . 9 ,420 ,423 on Jan . 3 , 2017 ) ,
   which is a Divisional Application of U . S . patent applica             which is a Divisional Application of U .S . patent applica
tion Ser. No. 15 /086 , 028 filed on Mar. 30 , 2016 (now U .S . tion Ser. No. 15/086 ,028 filed on Mar. 30 , 2016 ( Scheduled
Pat . No. 9 ,420 ,423 on Aug. 16 , 2016 ),                         to issue as U .S . Pat. No. 9 ,420 ,423 on Aug. 16 , 2016 ),
   which is a Divisional Application of U . S . patent applica - 15 which is a Divisional Application of U . S . patent applica
tion Ser. No. 14 /285 , 406 filed on May 22 , 2014 ( currently tion Ser. No. 14 / 285, 406 filed on May 22 , 2014 (currently
pending ),                                                         pending),
   which is a Divisional Application of U . S . patent applica        which is a Divisional Application of U .S . patent applica
tion Ser. No . 14 / 285 ,332 filed on May 22 , 2014 ( now U .S . tion Ser. No. 14 / 285 , 332 filed on May 22 , 2014 (now U . S .
Pat. No. 9 ,491 ,584 on Nov. 8 , 2016 ),                        20 Pat. No. 9,491,584 on Nov. 8 , 2016 ),
   which is a Divisional Application of U .S . patent applica -      which is a Divisional Application of U . S . patent applica
tion Ser. No. 14 / 285 ,273 filed on May 22 , 2014 , (now U .S . tion Ser. No . 14 / 285 , 273 filed on May 22, 2014 , (now U . S .
Pat. No. 9 ,204,257 on Dec. 1, 2015 ),                              Pat. No. 9, 204, 257 on Dec. 1, 2015 ),
  which is a Divisional Application of U .S . patent applica -          which is a Divisional Application of U . S . patent applica
tion Ser. No. 14 / 285 ,209 filed on May 22, 2014 , (now U . S . 25 tion Ser. No. 14 /285 ,209 filed on May 22, 2014 , (now U .S .
Pat. No. 9 ,204 ,251 on Dec . 1, 2015 ),                            Pat . No. 9 ,204,251 on Dec . 1 , 2015 ),
   which is a Divisional Application of U .S . patent applica -          a Divisional Application of U . S . patent application Ser.
tion Ser. No. 12 / 930 ,735 filed on Jan . 14 , 2011 (now U .S . No . 12/ 587 ,042 filed on Oct. 1, 2009 ( now U .S . Pat. No.
Pat. No. 9 ,020 ,687 on Apr. 28 , 2015 ) ,                          8 , 866 , 876 on Oct. 21 , 2014 ),
   which is a Divisional Application of U .S . patent applica - 30 which is a Divisional Application of U . S . patent applica
tion Ser. No. 11/396 ,843 filed on Apr. 3 , 2006 (now U .S . Pat. tion Ser . No. 11/429 , 864 filed on May 8 , 2006 (now U .S . Pat.
No. 7, 899,583 on Mar. 1, 2011),                                    No . 8 , 836 , 580 on Sep . 16 , 2014 ),
   which is a Non -Provisional U . S . Patent Application      which is a Non -Provisional U .S . Patent Application
 claiming the benefit of U . S . Provisional Patent Application
                                                             claiming the benefit of U . S . Provisional Patent Application
 Ser. No. 60 /670 ,097 filed on Apr. 12 , 2005 ;          35 Ser. No. 60 /678 ,947 filed on May 9 , 2005 .
 B ) is a Divisional Application of U .S . patent application Ser.
No. 15 /397,685 filed on Jan . 3 , 2017 ,                                                FIELD OF THE INVENTION
  which is a Divisional Application of U . S . patent applica
 tion Ser. No. 15 / 237 ,727 filed on Aug . 16 , 2016 (now U .S .           This invention is directed generally to the field of a
 Pat. No. 9 ,420 ,423 on Jan . 3 , 2017) ,                            40 beacon system for use in a building, such as a commercial
   which is a Divisional Application of U .S . patent applica -          or a residential application . More specifically , the applica
tion Ser. No. 15 / 086 , 028 filed on Mar. 30 , 2016 (Scheduled          tion of on or more mobile Bluetooth transceivers enabled to
to issue as U .S . Pat. No . 9 ,420 ,423 on Aug . 16 , 2016 ),           support Location Based Service (LBS ) applications.
   which is a Divisional Application of U . S . patent applica
tion Ser. No. 14 /285 ,406 filed on May 22, 2014 ( currently 45                    BACKGROUND OF THE INVENTION
 pending),
   which is a Divisional Application of U .S . patent applica               Introduction to Location Based Services (LBS ):
tion Ser. No. 14 /285,332 filed on May 22 , 2014 (now U . S .              Location Based Services (LBS ) are rapidly expanding .
 Pat. No. 9 ,491,584 on Nov . 8 , 2016 ),                                Outdoor location technologies are mainly based on Global
   which is a Divisional Application of U . S . patent applica - 50 Positioning System (GPS ) technologies . The Global Posi
tion Ser . No. 14 /285 ,273 filed on May 22, 2014 , (now U .S .         tioning System (GPS ) cannot perform properly indoors and
 Pat. No. 9 ,204 ,257 on Dec . 1, 2015 ),                               is therefore inadequate . As a result , indoor location systems
   which is a Divisional Application of U . S . patent applica          are appearing on the market.
tion Ser. No. 14 /285,209 filed on May 22 , 2014 , (now U . S .             The need for a system arises from various market seg
Pat. No. 9 ,204 ,251 on Dec . 1, 2015 ),                             55 ments and applications. One example in the market is the
   which is a Divisional Application of U .S . patent applica - Global Positioning System (GPS ) based systems that use
tion Ser . No . 13/ 135 ,421 filed on Jul. 5 , 2011 (now U .S . Pat . integrated positioning and navigation systems based on
No. 9,374 ,673 on Jun . 21 , 2016 ),                                    Global Positioning System (GPS ) receivers as the primary
   which is a Divisional Application of U .S . patent applica - positioning technology. Subsequent to the events of Sep
tion Ser. No. 12 /932, 811 filed on Mar. 7 , 2011 ( now U .S . Pat. 60 tember 11th the Federal government mandated that Global
 No . 8 , 941 ,485 on Jan . 27 , 2015 ) ,                                Positioning System (GPS ) capability be built in to all
   which is a Divisional Application of U . S . patent applica -         cellular phones. However, the fact that uninterrupted satel
tion Ser . No. 12 / 069,899 filed on Feb . 13 , 2008 ( issued as lite reception is not possible in many locations is a major
U .S . Pat. No . 7 , 924 , 149 on Apr. 12 , 2011),                 limitation of Global Positioning System (GPS ) based sys
   which is a Divisional Application of U .S . patent applica - 65 tems. Densely populated areas and radio - frequency -signal
tion Ser. No. 11/472,706 filed on Jun. 22 , 2006 (now U .S . shadowed locations, such as urban centers (alternatively
Pat. No . 8 ,896 ,485 on Nov . 25 , 2014 ),                        referred to as “ urban canyons” ), generally do not allow
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 proper operation ofGlobal Positioning System (GPS ), yet it        importantly , mapping for indoor facilities is essentially not
 is in these locations that the need is greatest .                  readily available to the general public or integrated into
     There is a clear need for a cost effective system that         Global Positioning System (GPS ) based applications. The
maintains performance indoors, in urban canyons and in city recent introduction of imagery services, such as GOOGLE
centers .                                                   5 EARTH and its competitors are offered as an enhancement
   Another important consideration is that the Global Posi - to Global Positioning System (GPS). Even with these , they
 tioning System (GPS ) is susceptible to jamming and other          are still present outdated information . The consequences of
man -made interference .                                            limited and outdated mapping are unsatisfactory results ,
   Description of a Global Positioning System (GPS ):               wherein users encounter road changes , and area develop
   The Global Positioning System (GPS ) is a satellite based 10 ment
                                                                  The
                                                                     changes that not shown on the maps and imagery.
                                                                       Proposed Solutions:
navigation and time identification system developed by the        In general  , the subject invention is based on applying
U .S . Department of Defense . The Global Positioning Sys machine -learning        techniques to the task of inferring aspects
tem (GPS) originally served marine , airborne and terrestrial of the user 's status from a stream of input from small RF tags
users in the military and has been later adapted to serve or beacons, which are installed in a local area , including
civilians as well. Specifically, Global Positioning System 15 indoor and/ or outdoor locations or in places designated as
(GPS ) includes the Standard Positioning Service ( SPS ) that Point Of Interest ( POI). Examples of areas of deployment of
provides civilian users with 100 meter accuracy as to the the RF tags or beacons can include a mall , a department
location or position of the user. For military users Global store , adjacent to a product inside a store, within a street
Positioning System (GPS ) provides the Precise Positioning      parking or garage parking area , and the like. In a broad
Service that is accurate to within 20 meters . Both of these 20 sense , the RF tags or beacons can be located indoors ,
services are available worldwide with no requirement for outdoors, in a public location , in a commercial location , and
any local equipment.                                                the like. The RF tags or beacons can employ Radio Fre
    View of Global Positioning System (GPS ) Limitations:           quency IDentification (RFID ) (long range type ) technology ,
    A first limitation of the Global Positioning System (GPS )      Bluetooth with the option to long range Bluetooth technol
 is that, upon activation , the Global Positioning System 25 ogy , Wi- Fi technology, or any other suitable RF technology .
 (GPS ) receiver scans for signals from the constellation of The RF tags or beacons are adapted to broadcast a unique
Global Positioning System (GPS ) satellites. A unit must            identification (ID ) using any suitable wireless broadcasting
 locate and receive signals from at least four (4 ) satellites in   technology that includes an identification portion in a uni
 order to be able to determine its location . This process of       directional pulsing signal. The identification portion in a
locating the minimum number of satellites , receiving the 30 unidirectional pulsing signal identifies a location of the RF
 data and achieving a position fix can take several minutes.    tag or beacon by including a unique identification ( ID ), such
 This delay is problematic for many Global Positioning as the address or location and type of facility, store , product,
System (GPS ) applications.                                     and the like. The RF tag or beacon broadcasts location
   A second limitation of the Global Positioning System         identification and any other desired information in the
(GPS ) is that the receiver needs a clear view of the sky to 35 identification portion in a unidirectional pulsing signal to be
successfully receive signals from the constellation of asso     picked up by a compatible receiver integrated into the
ciated satellites. Again , under unfriendly signal receiving mobile telephone . An association application would decode
conditions , such as inside buildings , in “ urban canyons ” , in the received identification portion in a unidirectional pulsing
the shadows of high buildings , and the like, the Global          signal and act accordingly .
Positioning System (GPS ) suffers from multi- path effects 40 The application is adapted for indoor guide navigation
and therefore shows poor performance , or, worse , none at        and Location Based Services (LBS) , or navigation in
all.                                                                crowded urban areas, where Global Positioning System
    A third limitation of the Global Positioning System (GPS )      (GPS ) based systems, due to lack of access to satellites or the
 is limited accuracy . The civilian version of the Global           Global Positioning System (GPS ) limitations detailed pre
Positioning System (GPS ) signal includes limited accuracy 45 viously , cannot achieve the required results .
by design . While knowing a position of an individual to         The disclosed applications focus on the task of interac
within an accuracy of 50 to 200 feet anywhere on the planet tively guiding the user to a desired indoor destination .
 is a major technological feat. This accuracy may not be        Examples of indoor applications:
 sufficient to provide a location and/ or navigation to a user in      The user may wish to locate a vacant or available parking
 a store, a mall, to a vacant or available parking space ( each 50 space in his /her vicinity , wherein the parking spaces can be
 space measures about 10 feet ), and the like . The use of the      located outdoors or within a covered parking area , such as
Global Positioning System (GPS ) is further limited in an           a parking garage .
indoor environment, such as most indoor stores and/ or               The user may wish to locate a specific store within a
malls , as the Global Positioning System (GPS ) cannot work       shopping mall, a particular aisle in a department store , or
effectively when the receiver is located in doors or a line of 55 even as detailed as a specific item on a shelf .
sight to the satellites is blocked by a roof or other object .       The user may wish to locate a specific conference room in
  Existing navigation systems, such as the new mandatory            a convention center, a Point Of Interest (POI) in an amuse
Global Positioning System (GPS ) equipped cellular tele             ment park , a Point Of Interest (POI) in a museum , and the
phones, are based on the Global Positioning System (GPS )           like.
and have the aforementioned limitations.                     60 The user may be looking for a train location in a train
  Another significant factor adding to the limitations of the station , train stops associated with a subway, or train stops
Global Positioning System (GPS ) based systems is the associated with any other underground train system .
 important role ofmap production . In an optimal scenario , a
 user would want a map to be as detailed and as up -to -date                                 PRIOR ART
 as possible. The existing maps used by the Global Position - 65
 ing System (GPS ) based applications provide limited detail     A t present, however , no prior art device utilizes the
and are not able to reflect changes on a real time basis.More       capabilities to display a real- time representation of navigat
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 ing directly from the sensors without a central system , and           Like the Proximity Detection (PD ) method, triangulation
without using a Global Positioning System (GPS ) based               is relatively simple to implement.
system directly to the user. Most systemsare designed for an             Time of Arrival (TOA )
 antiquated query type search , where interface to an Internet          Time of arrival (TOA ) is based on triggering the mobile
and / or a database to a central system is needed .               5 devices to respond , and measuring the time it takes for the
    The navigation system automatically detects a beacon             response to complete a transmission back to the antenna .
 signal transmitted directly from the RF beacon . The process        The elapsed time represents the distance between the two .
does not require any bi- directional communication , such as         By using distances from a few antennas, a position of the
 cellular communication , to determine the location of the           mobile device can be triangulated . Time of arrival ( TOA ) is
mobile device . Contrarily , other systems require bi-direc - 10 considered to be the most accurate method , because multi
tional communication and must have bandwidth available ,             path effects can be filtered out. Yet, Time of arrival ( TOA )
over which to send a request to a central system , or to a            is considerably more complex to implement, as it requires a
database , and then must wait for a response . This requires an      modification to the hardware on the mobile device side, as
operational, bi- directional communication infrastructure            well as special modifications on the antenna or beacon side .
and , additionally , takes time.                          15            Angle of Arrival (AOA )
  Even if the other systems have bandwidth available, the               Angle of Arrival (AOA ) is based on finding the direction
other systems are still based on the existing search concept         of maximal signal intensity for each antenna (beacon )
where the user submits a query , searches and waits for the          mobile device pairing. By finding an intersection of several
 response . This is impractical. The subject system provides         direction vectors, a position of the mobile device can be
 the information automatically , without submitting any 20 estimated using the Angle of Arrival (AOA ) . The use of the
 query, and the response is according to the user's location ,       Angle of Arrival (AOA ) technique is considerably less
wherein the user's location is determined by proximity to the accurate than using Time of arrival ( TOA ) technique, due to
beacon in the local area .                                      limited angular resolution and the fact that in an indoor
    Again , most of the existing prior arts are based either on environment, much of the signal can be reflected . Also ,
a Global Positioning System (GPS ) based system or an 25 Angle of Arrival (AOA ) antennas are more complex , as they
 integrated , in -car navigation system employing the Global require multi-section , highly directional antennas, and mul
Positioning System (GPS ). The existing mapping employed        tiple RF circuitries .
by these systems includes the same limitations described           Bluetooth is a newer wireless local networking standard
previously and is impractical.                                  that operates in the 2 .4 GHz ISM band , and the range is
    The present invention bridges the gap between the Global 30 normally shorter ( typically 10 - 15 m , although there are tags
Positioning System (GPS ) based navigation by providing an          with a range of over 300 feet). On the other hand, Bluetooth
 improved and complete solution .                                   is a " lighter ” standard , highly ubiquitous ( integrated into
    U .S . Pat . No. 7 ,031,875, issued to Ellenby et al. describes most cellular telephones , PDAs, Personal Computer ( PC )
 a pointing system for addressing objects, provide a system         peripherals, etc .) and supports, in addition to Internet Pro
and method based on Global Positioning System (GPS ) and 35 tocol (IP ), several other networking services . Notably , Blu
Internet and /or database communication . Ellenby '875 is not etooth supports serial port emulation , voice , and various
exactly a navigation system , but an information based sys -  types of object exchanges . Bluetooth RF tag or beacons are
tem that requires the Global Positioning System (GPS ) to            small, pocketsize transceivers .
locate the user location . Therefore , any indoor services are          Every Bluetooth enabled RF tag or beacon has a unique
 likely out of the question and the requirement for commu - 40 identification (ID ) . This identification (ID ) can be used for
nication with the Global Positioning System (GPS ) limits its        locating the RF tag or beacon and providing location infor
availability and accuracy.                                           mation of the mobile device in the proximity .
   The system , as provided by the present invention , deter            The relevant location scenario of the present invention is
mines the location using the beacon signal emitted by the RF         that of searching for a certain RF tag orbeacon . It is themost
 tag or beacon , the identification portion of the beacon signal 45 accurate and the faster response time and it is this method in
emitted by the RF tag or beacon , Proximity Detection (PD ),         indoor navigation and locating when and where each RF tag
and Received Signal Strength (RSSI), Time of Arrival                 or beacon identification (ID ) is a known address position
 (TOA ), and Angle of Arrival (AOA ).                                waypoint.
   Proximity Detection (PD )                                            Why use Bluetooth in indoor environments ?
    This method relies upon a dense grid of antennas, each 50           Bluetooth has some advantages in the context of indoor
having a well -known position . When a mobile device is              location . These include:
detected by a single antenna , it is considered to be co -located   Bluetooth uses a Radio Frequency (RF ) in a 2 .4 GHz ISM
with the single antenna . When more than one antenna band. In this frequency range , radio waves penetrate
detects the mobile , the closest antenna is the one that obstacles, such as walls and human bodies, albeit with a
receives the strongest signal, and is therefore determined to 55 substantial loss .
the antenna that is co - located with the mobile device .               This has two implications:
    This method is relatively simple to implement. It can be           The availability of a " hi-there ” application , as the Blu
 implemented over different types of physical media . In            etooth receiving device would receive some signal from the
 particular, Infra Red (IR ) and Radio Frequency IDentifica -       RF tags or beacons .
tion (RFID ) are based on this method .                           60 RF tags or beacons can be placed relatively far apart
    Triangulation                                                (typical range is 10 - 15 meters). This enables a deployment
   In case more than one RF tag or beacon signal is detected ,   where RF tags or beacons are not necessarily required to
the process can use triangulation , taking Proximity Detec - include one RF tag or beacon at each way point).
tion ( PD ) a step further. The location of the mobile device is    Bluetooth is ubiquitous: Bluetooth chipsets are being
determined by measuring the signal level measurements 65 integrated everywhere nowadays ( cellular telephones, por
 from each antenna , then applying a triangulation algorithm         table electronic accessories, computing devices, and the
to optimize the location .                                           like ). The RF tags or beacons can be implemented any
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where : inside buildings, along roadways, inside cars or other            Global Positioning System (GPS ) based system , wherein the
 transportation entities , inside buildings for triggering auto -         RF tags or beacons in conjunction with the respective
mation , or in any kind of business triggering application    software provide the user with the information and direc
and /or automatically creating a link to an existing system . tions needed to reach a desired destination .
   The fact that a Bluetooth location system can locate any 5 The proposed system has three major parts:
Bluetooth enabled device makes itmore cost-effective solu -      The detection and navigator, the software adapted to
tion . This means that an increasing fraction of humans and               provide a method used to display the data and the informa
mobile assets around would become locatable in a Bluetooth                tion from the area triggered as result of being in a close
covered site, with no additional hardware cost (no RF tags proximity to at least one RF tag or beacon in the area .
or beacons attached ). The only requirement is to pre - register 10 The disclosed method is not a location and tracking
 these devices .                                                          system as offered by other systems.
    Bluetooth devices are considered to operate using a low                  Small RF tags or beacons are installed in each place
 power technology , where battery powered Bluetooth
enabled tags or beacons need to be recharged , approximately designated      as a Point OfInterest (POI). The PointOfInterest
once a week (or longer , depending upon the usage scenario ). 15 inside a store,atalong
                                                                 (POI ) can be      a mall, in department store , near a product
Non tags (for example , Bluetooth enabled cellular tele indoor environment, ain street      an
                                                                                                , within a garage parking , in an
                                                                                               outdoor  environment, in a public
phones) are naturally recharged on a regular basis, so they do
not need any special recharging . If the Bluetooth enable area, in a commercial area , and the like. The RF tags or
portable devices ( non -tags ) are being used to determine a              beacons can be of configured to employ any suitable pro
 location of the device, the fraction of power consumption 20 tocol, including Radio Frequency IDentification (RFID )
 added to their usual (non Bluetooth operation ) power con    (long range type ), Bluetooth technology with the option to
sumption is relatively small .                                            use long range Bluetooth , Wi- Fi technology, or any other
  Bluetooth devices are considered to be a low cost tech -                suitable RF transmission protocols . The RF tags or beacons
nology, having expected high production volumes (hundreds                 broadcast a unique identification ( ID ) using the wireless
of millions annually ) lead to sub five dollar ($ 5 ) cost per 25 transmissions. The unique identification ( ID ) identifies the
 chip . It is noted that several Integrated Circuit ( IC ) manu -         location of the RF tag or beacon , such as the address of the
 facturers have already met this goal at the time of this                 RF tag or beacon , the type of facility, the store , the product,
disclosure . This would eventually result in a low price for              and the like . The RF tag or beacon broadcasts the informa
the Bluetooth tags or beacons , if and when Bluetooth                     tion , which is adapted to be picked up by the mobile
location systems would become sufficiently ubiquitous. Blu - 30 telephone and utilized by the navigator application , via the
 etooth protocol is a multi -functional communication stan -    cellular or mobile telephone or other Bluetooth enabled
dard , where location determination is only one of many device operating in accordance with the application , the
 services that can be supported by a Bluetooth enabled RF tag beacon identification ( ID ) trigger application and push infor
 or beacon infrastructure . The same RF tag or beacon infra - mation to the Bluetooth device or the Bluetooth enabled
 structure can be used to provide additional network services , 35 cellular or mobile telephone .
particularly remote monitoring and control or just trigger a                 The system can serve as an add on to the mall' s and/or
link to an existing system . In addition , Bluetooth provides             store 's current guide or mapping processes to provide extra
voice and Internet Protocol ( IP ) services ( although for the            assistance to user.
later, WLAN is typically more suitable ).                                    The navigator :
     In open spaces, relatively free of obstructions and walls 40 The navigator is a cellular telephone application Blu
 ( for example , a large warehouse , a public hotspot, and the   etooth application .
 like ), Bluetooth technology would suffice to provide a 2          The user 's mobile device would scan the local area for the
meter error range .                                                       identification ( ID ) broadcasted by the RF tags or beacons in
   Conclusions :                                                          the vicinity by way of the Bluetooth system integrated into
    The proposed RF tag or beacon technology offers unique 45 the cellular telephone . It is important to note that the
 advantages : one is the ability to locate ubiquitous " any tags ” .      disclosed solution does not require cellular communication ,
 Any Bluetooth enabled device (including newer mobile                     an Internet access, or a database access to determine the
telephones ) can be associated with and use the advantage of              location of themobile device and that any Bluetooth enabled
the Bluetooth beacons . The other advantage is the multiser -             device can operate the navigation application as a stand
 vice nature of the Bluetooth enabled RF tags or beacons 50 alone device . The beacon system can interface with existing
 infrastructure that enables using the Bluetooth enabled RF               in car system and /or car navigation system .
 tags or beacons for other purposes , such as : determining a                The display method :
location of the Bluetooth enabled device , navigation , remote        The display method is a unique way to bridge existing
monitoring and control, triggering an existence , triggering a     devices like cellular telephones, in - car systems, in - car navi
link to existing systems, triggering or initiating software and 55 gation , and other Bluetooth devices. The system provides an
for a variety of Location Based Services (LBS), and local overlay display method , which places an overlay over an
push messaging services.                                     existing navigation system mapping , a floor map , floor
                                                             images, and the like as a real- time floating display, or as a
            SUMMARY OF THE INVENTION                         waypoint to overcome the limitations of Global Positioning
                                                          60 System (GPS ) based systems and the existing mapping
  In accordance with the present invention , these are the systems. The indicator would be placed as an overlay onto
characteristics associated with locating and navigation .    the floor plan image. The display may further include
   The proposed system provides a method for locating and providing a visual indication a circle overlaid onto the floor
providing navigation based on the following unique char- plan image of the path , wherein the visual indication , the
acteristics :                                                          65 circle , indicates an area of the indoormap where the location
    In an indoor or outdoor navigation situation the RF tags              information identifies a particular location and the circle
 or beacons would replace the function of the satellites in a             provides the accuracy radius circle .
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   Mapping : A system and method for mapping an indoor                     The system allows easy interface or trigger application
environment is provided . A user ' s mobile device may                  with existing networks or existing systems.
receive an indication of a starting point on a floor plan .                The system saves gas, time, money and eases global
    The application on the user 's mobile device may prompt             warming by reducing the time spent searching for destina
 the user to travel in a particular direction , or the direction of 5 tion .
travel may be determined by the application on the user' s                 The navigation method is unique . The navigation system
mobile device in response to the user indicating a second               is based upon RF tags or beacons with interface to Bluetooth
 location after the user has traveled to the second location .          enabled devices . This feature allows detection and naviga
   As the user travels from the starting point in the desig -           tion in locations where Global Positioning System (GPS )
nated direction , the application on the user ' s mobile device 10 cannot work , as well as outside, with the ability to guide the
may gather information about the indoor environment. For                user to within 10 feet of the destination , significantly better
example , the user 's mobile device may gather wireless                 than any other navigation and Global Positioning System
signal strength data , from RF beacons Wi-Fi or Bluetooth in            (GPS ) based systems on the market.
the proximity of the mobile device while the user travels in               The Bluetooth RF tags or beacons are based on a long
the designated direction .                                    15 range version of the popular short distance communication .
   The application on the user 's mobile device may associate This unique feature affords the user the ability to plan ahead
the gathered information with the path the user traveled from    from a remote location, by obtaining identification (ID )
 the starting point to the ending point. The operation can be           about the destination directly from the RF tags or beacons
 done at the user 's mobile device ( the cellular handheld              and by accessing the indoor floor plan to be navigated at the
 device ). The association may also be performed by a remote 20 destination.
 server using data provided by the application on the user 's              A major problem with In -Car navigation and Global
mobile device . As the user travels from point to point, the            Positioning System (GPS ) mapping is that they cannot guide
 client device may indicate the area for which valid location           the user closer than 50 to 200 feet , and only in open places .
 information is available based on the path the user traveled           The navigation system can provide accurate directions to
and the information the user collected .                             25 within 10 feet.
   Mapping can be offered as an additional service for the                 The navigation system will be a challenge to navigation
 indoor environment based upon an area, a building floor                providers and Global Positioning System (GPS ) providers as
plan , or image mapping.                                                they cannot provide mapping or navigation inside a mall ,
   The navigation system will enable remote planning based              department store, a parking garage or lot, and anywhere the
 on downloaded local floor plans, the floor mapping, or floor 30 Global Positioning System (GPS )/Navigation map cannot
 images . The indoor view images of the local building                  accurately help navigate .
 facility , or local navigation , when the location ' s floor plan        Utilizing this innovation , the facilities in the vicinity
 can be triggered to downloaded at the destination . An                 around the user car are displayed on a floating overlay using
example of this would be at the entrance of a shopping mall ,           either a cellular telephone application , or a stand- alone
 a department store, an amusement park , a museum , a park - 35 device , or an existing installed navigation system with or
 ing garage , a downtown area of a city , and the like .        without any mapping .
    The navigation system is based on a network of RF tags                 The recent introduction of imagery services, such as
 or beacons that can be deployed anywhere . The system is               Google Earth and its competitors, that are offered as an
accurate to within 10 feet, significantly better than existing          enhancement to Global Positioning System (GPS ) at a fee ,
 navigation systems and Global Positioning System (GPS ). 40 still provide out of date information , with the unsatisfactory
 The system can work inside a building whereas Global                   result that users encounter road changes and area develop
Positioning System (GPS ) cannot.                                       ment not shown on the maps and imagery .
   Local detection is obtained via any suitable Bluetooth                 Navigation using the mapping or floor plan of a location
 interface .                                                       can be offered as a part of the system . The option of
    The system provides information about each facility and / 45 downloading a floor plan can be exercised either remotely or
 or store , including information about the type of facility , the locally.
 type of store, a product, and the like.                                  Each RF tag or beacon broadcasts a beacon signal con
   By providing the ability to locate the user in an area using         tinuously and any of the navigation devices will detect the
any suitable Bluetooth enabled device , such as a Bluetooth             beacon signal and display the identification ( ID ) and / or data
 enabled cellular telephone with the navigation application 50 on the user ' s mobile device in an easy to understand format .
and the RF tag and/or beacon method ,the system overcomes                 Using the applications described herein , the user enjoys
the anxiety of “ Where am I” . The system can also be adapted           having the information that they want, when they want it,
to facility finding a parked car later via the RTP (Return to           where they want it , and at an affordable price .
Parking ) feature .                                                       Once the user is in the vicinity of their destination and the
    The system has the capability to perform all the functions 55 user switches on their navigation device , by being in prox
of a search function and can become the “ Next generation               imity to installed RF tags or beacons in the area the user' s
search out of the box ” .                                       mobile device will automatically receive facility informa
    The navigation system can be attractive for places that tion along a waking route and in all directions around the
already deploy Wi- Fi and can be used for the existing Wi- Fi user.
devices as a RF tags or beacons.                              60 No further action is required ,more specifically, there is no
   In case of an emergency or security situation , the system   need to send a request or to access the Internet or the web ,
can provide authorities with information .                      or to log on and search a database or central system . Any
   The system eases and facilitates navigation within indoor access to the Internet is to provide a Location Based Service
locations, without requirement of a navigation map or        (LBS ) like push information , messages, offers, deals , adver
Global Positioning System (GPS ). Indoor mapping can be 65 tising , and the like to the mobile user.
 provided as part of the navigation system . The system                    Other systems are still based on the existing search
provides “ local” navigation as well as " remote” detection .           concept where the user submits a query , the provided server
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 searches and the user waits for a response . The process is            The mapping: As the Global Positioning System (GPS )
 impractical, particularly in a condition where the user needs       and the associated Global Positioning System (GPS ) map
the information immediately. The navigation system pro - ping are not available for indoor applications . The naviga
vides the information automatically , without submitting any tion system is based upon a floor plan mapping or floor
query, and the response takes into account the user 's location 5 images that can bemade available from each facility or other
determined by the proximity to the RF tags or beacons .           suitable source. For planning ahead, the floor plan or the
   The unique approach to detection of the mobile device floor images can be downloaded by the navigation applica
within the building does not require any Internet bandwidth tion operating on the user 's cellular telephone from a remote
or cellular communication to complete a desired procedure . source by way of the Internet prior to arriving at the desired
Communication links using the Internet or the cellular 10 destination . Alternatively , the information can be automati
network can provide Location Based Services (LBS ) and        cally provided or triggered when the mobile device arrives
any additional information that can be pushed to the user ' s at the desired destination .
device .                                                         The navigation application is adapted to be operable on
  As a result , the proposed processes don 't require any is the most commonly used device in the world today, any
delays or waiting for bi-directional communication and               cellular telephone having a Bluetooth interface .
access time. The information is provided to the user instan -             As a difference from other systems and other local based
taneous , triggered directly between the RF tags or beacons            systems, this solution offers a unique approach that can be
 identification (ID ) and the user's mobile device .                   described as the “ search out of the box ” as the application
    Additionally, each facility type can be coded to include an 20 does notrequire a query or a database search ; the application
 identifier ( ID ) to identify the type of facility, such as a store , only needs to know the identification (ID ) of the RF tag or
such as a restaurant, a men 's wear store , a women 's wear         beacon that is located proximate the Bluetooth enabled
store , and the like.                                              cellular telephone . The Bluetooth enabled cellular telephone
   Each facility identification (ID ) code can trigger or initiate automatically scans and recognizes any local area Bluetooth
access to information about the respective facility, such as 25 based RF tags or beacons and determines the user 's location
providing automatic waypoint information .                         using the received and decoded beacon signal, and provides
   The disclosed applications, such as the navigator , can         instant information to the user and to the business or
operate on a cellular or mobile telephone, without any need        businesses in the area .
 for a cellular connection to determine the current location .      A typical application is to guide and /or navigate a pedes
 The disclosed applications also do not need any information 30 tri
                                                                trian within an environment, such as a mall , a department
 from the Global Positioning System (GPS) .                         store , a specialty store , a conference , a trade show , an
   Moreover, the navigation system can solve a Return to            amusement park , a university , a hospital, a school, a munici
Parking (RTP ) problem , where the Return to Parking appli
cation can aid a user in a scenario where the user forget   pal building, amuseum , a subway, a train station, an airport,
                                                      no 35 a down town center, a finance facility, a cruise ship , any type
where he/she parked his/her car . The Return to Parking 35 ad
feature has an option to save the location on a " cellular of
telephone parking detector application that will make it
                                                                  parking facility , or any other place where Global Posi
                                                               tioning System (GPS ) is insufficient, provides less than
easy to locate the user' s parked car.                         required accuracy, or is inoperable in the environment of the
   The navigation solution is designed for global use and is user. For example , the system will be used for navigation by
not limited to malls, stores, amusement parks, museums, 40 first responders in an emergency or a disaster scenario .
sports stadiums, and the like. It can be implemented in           The navigation system can be part of a broad suite of
parking garages , metered parking spaces, or open , non        applications that includes a complete solution for employ
metered parking spaces. The RF tags or beacons can be mentby the user from the time that he/she begins looking for
installed anywhere , including in locations adapted to trigger a space to park his /her car, the time he/she parks, the time
 or initiate an existing and location based application , 45 that he/ she begins walking to the store, mall , or any other
adapted to link the mobile device to an existing system and          indoor facility, to the time that he/she wants to return to
 existing software .                                                 his/ her parked car by providing directions to the location of
   It is envisioned that, in the future , all new construction       the parking space where his /her car is parked .
will have the RF tags or beacons included in the design , even         The suite may include:
 place addresses, a building addresses can be replaced or used 50      Parking detector and navigation to any vacant or available
as an add -on with the implementation of a RF tags or                parking space .
beacons in the area to be recognized or scanned by any                 Automatic notification of the presence of the user within
suitable and enabled mobile device .                                the place , store , facility , and the like.
   The system integrates the navigation as part of an appli-   Nav4 mall and / or Nav4store , which is a navigation solu
cation referred to as NAV4 where the system will provide 55 tion for use within an interior of a mall , a store , and the like.
 complete solutions for local navigation in an area where the          Return to Parking (RTP ), which is a navigation solution to
Global Positioning System (GPS ) might not work .                    guide the user to the location of the parking space where
   The navigation system consists of the following parts:           his /her car is parked .
    An infrastructure of RF tags or beacons , wherein each RF           For example , a typical application could be:
 tag or beacon is installed in a known location within a 60             A pedestrian asks for directions to a specific store within
localized area .                                                     a mall .
   The navigation system or application is based on mapping            A pedestrian asks for directions to a specific aisle or
and navigation to and within the location . The aim of the          product located inside the store .
navigation system is to replace or supplement the guide or          shopper asks for directions to a specific department
map of the mall and/ or store guide /map . This is accom - 65 located within a department store .
plished by installing the RF tags or beacons in each store or    A pedestrian asks for directions to a specific Point Of
adjacent to each Point Of Interest (POI).                     Interest (POI).
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   In an emergency condition , the first response team can          tion determination and information related to the object or
utilize the system to obtain navigation about an interior of a       Point Of Interest (POI). This can be accomplished directly
 smoke filled building.                                              and automatically to the user 's application enabled cellular
   A store owner can use the notification and the knowledge          telephone or mobile device upon approaching or within a
of existence of a user (by way of an identifier associated with 5 close proximity to the RF tags or beacons installed in the
the user that is provided by the user ' s mobile device ) for     area .
loyalty and rewards programs.                                       Special operation mode (Shopping ): Shopping provides
   The RF tag or beacon identification ( ID ) can trigger a link navigation to a special, a sale item , and the like within a
to exiting software and aware the local system of the user department store .
existence, such as:                                             10 Special operating mode (Museums): Museums provides
   A traveler checking into a hotel or resort , the hotel or navigation about the museum ' s exhibits and interactive
     resort can provide automatic check -in and interface to         information from each of the museum 's exhibition to the
     the hotel or resort front desk system .                        user's cellular telephone or mobile device by way of a
   A traveler checking into a flight at an airport, wherein the     Bluetooth interface .
     airline provides the traveler with automatic check -in 15 Special operating mode (Parking ): Parking features are
     capability to automatically check in with the flight described within two ( 2 ) Patents (U . S . Pat. No. 7 ,899 ,583
     service personnel when the traveler reach a close and U . S . Pat. No. 8 , 941, 485 , both issued to the Inventor and
     proximity to a local, associated RF tag or beacon .             claimed to be parent applications hereto ) . Parking provides
   A customer checking into a restaurant or other food         detection and notification of vacant or available parking
     service provider , wherein the business will recognize 20 spaces within a parking area and navigation to the vacant or
     the identity of the customer when he /she is within a          available parking spaces as well as navigation or guidance to
     close proximity to the local, associated RF tag or              return to a parked car.
     beacon .                                                          Special operating mode: Nav store provides navigation
   A pedestrian approaching an advertising area or billboard         inside a store or department store . The navigation feature
     wherein the advertising area or billboard is adapted to 25 can guide the user to a specific department, a specific aisle ,
     recognize the user when the mobile device associated       or a specific product. The navigation feature can optionally
     with the user is determined to be in a close proximity          include advertising methods and notifications of special
     to the advertising area and the system provides the user       promotions. The navigation feature can also provide the
     with customized and/ or personalize advertising or other       business owner with ability to know , in a way of automatic
     offers .                                                       30 notification when the user ' s cellular telephone or mobile
   A customer entering a store , a bank , a facility , and the like    device is within a proximity to the local area . When the
     would be identified and /or recognized enabling the            user 's cellular telephone or mobile device is within a prox
     system additional information or services and /or the           imity to the local area , the system can be adapted to
     ability to inform the merchant of the presence of the          automatically deliver information related to the store or
     customer (the application user ) .                           35 business . The delivered information can be, but is not
   The RF tags or beacons can serve to track employee time,          limited to , deals, coupons, specials and even statistically
     including check -in and checkout times from any des             information about the user ' s habits .
     ignate area .                                                     Every Bluetooth device ' s RF tag or beacon has a unique
   The RF tags or beacons can serve as part of a payment      identification (ID ). This identification ( ID ) is adapted to be
     process where the user 's mobile device and the local 40 used for locating the RF tag or beacon and providing
     proximity of the RF tags or beacons can provide                 location information of any mobile device in the proximity
     increased security for a mobile payment system .                thereof.
   The local RF tags or beacons associated with the user 's             A relevant location scenario is that of searching for a
    mobile device can be part of a local dating system .        certain RF tag or beacon . The relevant location scenario is
   The local RF tags or beacons associated with the user 's 45 the most accurate and the faster response time and is one
    mobile device can create a virtual secure zone for a         solution for indoor navigation and locating when and where
     child , an elderly person , or any other care monitoring   each RF tag or beacon identification (ID ) is a known address
     condition .                                                position , such as a waypoint.
   The location of the user as associated with one or more RF      Why use Bluetooth technology for indoor locations ?
     tags or beacons located proximate thereto can be inter - 50 Bluetooth technology has some advantages in the context
     faced with social networking                               of indoor locations . These include:
   The RF tags or beacons can be employed as part of a                  Bluetooth technology uses a Radio Frequency (RF ) that is
     solution for parking problems where each parking                in a 2 .4 GHz ISM band . In this frequency range, radio waves
     location can employ an RF tag or beacon with at least penetrate obstacles , such as walls and human bodies, albeit
     one additional sensor to determine if the parking space 55 with a substantial loss .
     is vacant and provide parking information . This would            This has two implications:
     be provided in an application that is referred to as              Availability of a “ hi-there ” application based upon receipt
     nav4parking .                                                  of a signal from the RF tags or beacons.
   The RF tag or beacon can be installed into or integrated            The RF tags or beacons can be placed relatively far apart
     within a vehicle to provide car applications, such as 60 from one another . The typical range of the RF tag or beacon
     payments , security , car broadcasting, car tracking, car      is 10 - 15 meters . Therefore , it is not necessary to deploy one
     communications , automatically count cars to provide a         RF tag or beacon within or proximate to each way point .
     transportation management with statistically informa -      Bluetooth technology is ubiquitous. Bluetooth chipsets
     tion , and the like .                                    are being integrated everywhere nowadays (mobile tele
   A system and method to provide a user information which 65 phones, accessories, computing devices , and the like ). The
 is related to any Points Of Interest (POI). The navigation         RF tags or beacons can be implemented anywhere , such as
 system provides detection and navigation referencing, posi         within buildings , along roadways, inside cars , in use with
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transportation entities , inside a home for home automation         be on the nearest point on the possible routes. It is noted that
triggering , in any kind of business, and the like. The system      this is easier to predict in an indoor environment compared
can be used to trigger an application and /or link the device       to an outdoor environment.
 to an existing system .                                               The constraints of indoor construction similarly can be
    The fact that a Bluetooth location system can locate any 5 used to refine estimates of the position of a person or object
Bluetooth enabled device makes it more cost-effective solu - moving within a building, as people and objects do not pass
tion . This means that an increasing fraction of humans and through walls ; they travel along corridors and through
mobile assets around would become locatable in a Bluetooth        doorways. It is a best solution for a system in case of an
covered site , with no additional hardware cost ( no RF tags      emergency, for a system for homeland security , or a system
or beacons attached ). The only need is to pre -register these 10 to locate and inform in a subway environment. One good
devices . Bluetooth is a low power technology which can be        example is a hotel exit floor map .
deployed as tags , which need recharging of approximately      Configuration and Use
 once a week (or longer, depending upon the usage ). Non -     In the indoor application , instead of using the Global
tags (e. g. BT enabled telephones) are being recharged any- Positioning System (GPS ), the system uses beacon signals
way on a regular basis, so they do not need any special 15 from RF tags and beacons having known waypoint positions
recharging. If the mobile devices are being used for location       that are detected and identified as a demonstration of
and/ or navigation , the fraction added to their usual (non         the concept of using another sensing method . The beacon
 Bluetooth enabled operating mode ) power consumption is            signal( s ) received from one or more RF tags or beacons are
 relatively small.                                                  used to detect and identify the location of the receiving
   Bluetooth is a low cost technology anticipating high 20 device and determine the waypoints located proximate
production volumes ( hundreds ofmillions annually ) leading         thereto . Theoretically , it would be possible to convert the
to sub $ 5 per chip . Several Integrated Circuit (IC ) manu -       waypoint positions into Global Positioning System (GPS )
 facturers have already met this goal. This would eventually        coordinates and emulate an external Global Positioning
result in a low price for the Bluetooth tags or beacons , if and System (GPS ) data source .
when Bluetooth location systems would become sufficiently 25 This system can be useful for providing navigation to first
ubiquitous. Bluetooth is a multi- functional communication       responder personnel, where indoors waypoints have been
standard , whereby a location application is only one ofmany installed in a particular building in the form of RF tags or
Location Based Services (LBS ) that can be supported by a beacons, wherein the identifiers of each RF tag or beacon is
Bluetooth infrastructure . The same infrastructure can be           associated with the known location of the RF tag orbeacon .
used to provide additional network services , particularly 30 By using the identifier , it may be possible to associate
remote monitoring and control or just trigger a link to an          magnetic anomaly information with individual tags as well.
existing system . In addition , Bluetooth technology provides         One of the important features of the indoor navigation
voice and IP services (although for the later, WLAN is              techniques is that the technique will enhance the ability of a
 typically more suitable ).                                      tactical team ' s first response team to navigate within the
   In open spaces , relatively free of obstructions and walls 35 building in which the navigation system has been deployed .
 (e .g . a large warehouse or a public hotspot), Bluetooth alone    Bluetooth enabled RF tag or bacon tracking devices are
would suffice to provide a two (2 ) meter error range .             commonly attached to persons or to moveable objects , so
     Waypoint Navigation                                            that the objects can be tracked using fixed readers (special
     A waypoint is a fixed location with a known address            purpose radios) deployed at different locations. This is the
location , preferably using longitude and latitude coordi- 40 most common indoor navigation that exists today .
 nates . The navigation system is capable of storing a database        The navigation method is the “ flip side” of this practice
 of waypoints for the following purpose:                            and is based on the concept that the detection of a Bluetooth
    Waypoints mark a destination , a point along the way to a       enabled RF device , or RF tags or beacons , in a known , fixed
destination, or a point of reference . Normally , in navigating ,   location , by a moving reader, such as a Bluetooth enabled
 a “ route ” consists of one or more waypoints . To traverse a 45 cellular telephone or other Bluetooth enabled device , pro
route , the user navigates to the nearest waypoint, then to the     vides a precise location of a person or a moving object, by
next one in turn until the destination is reached . The system      the carrier of the cellular telephone or mobile device , who
has the ability to compute a great- circle route towards a          can supply indoor navigation without Global Positioning
waypoint, enabling them to find the shortest route even over        System (GPS ).
 long distances . The system enables users to locate a desti - 50      The navigation method provides a low - cost, reliable sys
nation on a map, an indoor floor plan , or an indoor image and      tem for firefighters and other first responders, enabling
define the center of the circle as the waypoint. The system         navigation within an interior of buildings , where a Global
 is intended for navigation . The system can generate a             Positioning System (GPS ) is not reliable . Under certain
suggested route between two waypoints, based on the car-            conditions, the Global Positioning System (GPS ) satellite
tographic database . The system indicates the user' s current 55 signals may have been temporarily disabled to prevent
location and gives advance notice of an upcoming point.             exploitation by terrorists. In a more likely condition , the
  Because the system knows the waypoint positions , and satellite signal can 't be received inside the building or other
the distance between them , it is easy to determine the user' s structure .
exact location (assumed to be the same location as the                The disclosed navigation system foresees this limitation
location of the mobile device ).                               60 of Global Positioning System (GPS ) based systems, and is
  Map Matching                                                    intended for an environment that is potentially much less
   The navigation solution is further enhanced , although it is friendly to Radio Frequency (RF ) signals .More specifically ,
not essential, when the system knows that the person or             the environment inside a building that first responders
object being located is traveling along known routes on a           encounter may contain smoke , dust, or flames , and is
map . For example , the system can assume that people might 65 intended to leverage advances in Bluetooth or other RF
only follow certain routes in a mall . This is priority infor-      enabled tag or beacon technology . The navigation system
mation that can be used to " force” the estimated position to       will exploit the capability of storing critical building infor
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mation , such as floor maps and emergency escape plans,             positioning technology . Subsequent to the events of Sep
available for retrieval and navigational assistance using any
                                                            tember 11th , the Federal government mandated that Global
Bluetooth enabled cellular telephone or other mobile device,Positioning System (GPS) capability be integrated into all
when and where it is needed .                              cellular telephones.
  Moreover the navigation system can serve as a navigator 5 However, the fact that uninterrupted satellite reception is
for the emergency exit route when and where needed . Each not possible in many locations is a major limitation of
user can load the emergency exit floor plan and escape with         Global Positioning System (GPS ) based systems. Densely
the knowledge of the user 's exact location along that route .      populated areas and other radio frequency signal shadowed
   Aspects of the scenarios to be included :                        locations, such as urban centers ( alternatively referred to as
    The system identifies and tracks the user ( a first response 10 " urban canyons” ) , generally do not allow proper operation
team member ), and can further include an option to use the         of Global Positioning System (GPS ) , yet it is in these
 cellular telephone as a beacon .                                   locations where the need is greatest.
    The system provides the user with navigation information           There is a clear need for a cost effective system that
 and directions for safely exiting the building.                    maintains performance indoors , in urban canyons, and in
   The system provides location information of all team 15 city centers.
members, by way of an ad hoc network of radio terminals       The disclosed application includes finding a solution to
that combine RF and Bluetooth and allow communication      this task by providing a system and method to automatically
chat and messaging between the team members without a          generate waypoints along the user ' s route either in an indoor
need for any Internet or cellular communication . Such an      environment or an outdoor environment.
option is not limited to the first response team but can be 20    The disclosed application addresses the task of interac
adapted for any user in an emergency and a non -emergency           tively guiding the user to a desired indoor destination and /or
 condition .                                                        a desired outdoor destination .
   From the outset, the navigation system was designed with            The method for mapping an indoor environment is pro
the capability to utilize existing technology so the system         vided . A user ' s mobile device may receive an indication of
 can be deployed as a standalone system or in tandem by a 25 a starting point on a floor plan . The application operating on
link with one or more existing systems. The navigation              the user 's mobile device may prompt the user to travel in a
system focuses on employing technology that is already in          particular direction, or the direction of travel may be deter
place that simply needs to be expanded .                           mined by the user 's mobile device in response to the user
  With the implementation of the navigation system , a first        indicating a second location after the user has traveled to the
response team will be empowered to navigate and find its 30 second location.
way in an emergency or a disaster condition . This capability As the user travels from the starting point in the desig
can be a critical life saving power in modern congested             nated direction , the user ' s mobile device may gather infor
urban living conditions ; a capability that was not available       mation about the indoor environment. For example , the
prior to this invention .                                           user ' s mobile device may gather wireless signal strength
   It is believed that the implementation of the navigation 35 data , from Wi-Fi or Bluetooth enabled RF beacons located
 system will assist counter -terrorism activities and , more        in the proximity of the user 's mobile device, while the user
 importantly , will help the first response teams to save lives     travels in the designated direction .
of people trapped inside buildings .                           The user ' s mobile device may associate the gathered
   Conclusion                                               information with the path the user traveled from the starting
   The applications of Bluetooth technology described 40 point to the ending point. The operation can be done at the
herein offers a number of unique advantages : The applica - user 's mobile device , such as a cellular handheld device. The
tion provides an ability to scan and determine a location           association may also be performed by a remote server using
using a small RF tag or beacon installed in an local area           data provided by the user ' s mobile device .
which emits a signal including the RF tags or beacons                  As the user travels from point to point, the user 's device
identification ( ID ). The Bluetooth technology provides a low 45 may indicate the area for which valid location information is
 cost and low battery consuming device . The applications of        available based on the path the user traveled and the infor
 Bluetooth technology can be activated on any Bluetooth             mation the user collected .
 enabled device .                                                      Themethod may include displaying a floor plan image , a
   The other advantage is the multiservice nature of the       floor mapping , or a floor indoor view . The floor images
Bluetooth infrastructure that adaptation of the RF tags or 50 correspond to an indoor location , receiving a first input to
beacons for other purposes , such as for navigating, remote   indicate a first location on the floor plan image, gathering
monitoring and control, a triggering mechanism to activate    initial location information at the first location , and gener
applications and /or systems, automatically establish a link to     ating an indoor map , using a processor, using the initial
one or more existing systems, provide a variety of messag       location information wherein the indoor map includes an
ing capabilities , provide a push for conveyance of informa- 55 association of the initial location information with the first
tion, enable Location Based Services (LBS ), and the like.      location .
   Location Based Services (LBS) are rapidly expanding .           The method may further include repeating the location
Outdoor location technologies are mainly based on Global            information gathering process at a new location to associate
Positioning System (GPS ) technologies . Global Positioning         new location information with the new location in the indoor
System (GPS ) are limited or inoperable indoors , and is 60 map .
therefore provide an inadequate solution . As a result, alter-         The method may include gathering additional location
native indoor location systems are appearing on the market.         information as the user travels from the first location to a
   The need for a system arises from various market seg -           second location , receiving a second input to indicate the
ments and applications. One example in the market is the            second location on the floor plan image , determining a path
Global Positioning System (GPS) based systems that use 65 from the first location to the second location , and associating
 integrated positioning and navigation systems based on             the additional location information with at least one location
Global Positioning System (GPS ) receivers as the primary           within the map corresponding to the path .
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    The method may include prompting the user to walk in a          mobile device to the provided location detection of the user
straight line when traveling from the first location to the         as well as statistical information about any possible traffic in
second location .                                                   the area . Such a method can be extremely helpful to manage
    The method may include providing instructions to the            and control a transportation system .
user to travel in a particular direction . The location infor - 5 The user will no longer need to enter his/her way points
mation may be included in wireless signal data associated manually and then wait for the provider of maps or Global
with one or more wireless RF tags or beacons installed in the Positioning System (GPS ) to update their maps with the
 local area . The first inputmay include performing a selection     information . The process of updating the maps can take
 operation with an indicator placed on the floor plan image .        about a year in some cases . This way the user will receive
    The method may also include providing a visual indica - 10 the information that the user needs when the user needs it
tion on the floor plan image of the path . The visual indication     and where the user needs it upon entering an area with RF
may indicate an area of the indoor map where the location           tags or beacons, providing an automatic check -in for the user
 information identifies a particular location . The building        and the facility business .
 floor plan may be received from a remote server by way of             Again , no communication is needed to be established
 the Internet or a cellular communication as part of the 15 between the RF tags or beacon and the user ' s mobile device
mapping and navigation application .                               to enable detection of the RF tags/ beacons. In the event that
   The method may also include a step of determining an more information is desired or required it may be necessary
approximate location determine by proximity to the RF              to connect to a website or other server by way of the Internet.
beacons , providing the approximate location to the remote            It is believed that sooner or later it will be a standard
server , receiving a list of floor plans associated with indoor 20 procedure to install an RF tag or sensor on every location of
environments proximate to the approximate location , and interest (waypoint) or any place along any road , in an indoor
selecting the building floor plan from the list. The method         environment, in an outdoor environment, or within any
may include identifying the user 's direction of travel by at       business . The RF tag or sensor will provide waypoint
least one of: (a ) determining a relative orientation using the information to each user. Most waypoints, such as stores or
first location and the second location , or (b ) using at least 25 other Points of Interest (POI) will be willing to pay for a RF
one of a user ' s mobile device built- in sensors , accelerom -      tag or beacon or pay a subscription fee to be included on the
eter, a gyroscope , or a compass .                               map on the local area . This can include payment for an
    The method may include a step of determining a degree        annual listing (similar to the telephone directory ) .
 of precision of the location for the data gathering operation ,    The system can interface with existing Global Positioning
 and using the degree of precision of the location to deter - 30 System (GPS ) outdoor mapping as well as indoor mapping.
mine a location resolution for the indoor map . The degree of        The system can automatically switch between an outdoor
precision of the location may be determined using a number           application which is adapted to employ an outdoor map and
of available RF tags for beacons for which signal strength          receive information based on Global Positioning System
data and the beacons identification (ID ) are available . The        (GPS ) and an indoor application which is adapted to receive
degree of precision of the location may determine at least 35 an indoor map and indoor navigation employing the RF tags
one of the sizes of an indicator for indicating the current         or beacons.
 location , the size of the accuracy radius circle , or the width      Presently Global Positioning System (GPS ) providers,
 of a stripe for indicating an area of the indoor map for which     map providers and search engines provide: City navigators
the location information has been gathered. The application          and metro guide maps that contain many thousands of
will display an appropriate overly on the floor map , the 40 attractions
imagemap , the building map or any other applicable display            These include: Food and Lodging , Attractions, Entertain
map image . The method may include determining a cover              ment, Shopping , Services, Transportation , Emergency, and
age level of the indoor map compared to the floor plan              Government offices . In most areas , the maps provided are
 images.                                                     not updated and sometimes provide misleading information .
   The navigation system and method automatically updates 45 Some of the waypoints listed appear to be very old and the
waypoints , when each Point Of Interest (POI) will have an           information associated with them is not update . Listed
RF tag or beacon that will broadcast an RF identification            Attractions include theme parks , museums, libraries,
 ( ID ) signal that will provide an instant detection . The         schools , parks and such . This feature is very useful when a
navigation system will execute the specified file or program user is located within an unfamiliar area .
that will automatically trigger execution of a waypoint 50 Waypoints will be located automatically in the local area
generation program .                                         and plotted on the map displayed upon the screen of the
   For some years , local governments , in cooperation with         mobile device . The waypoints can be stored on the localmap
various FM radio stations and recently a navigation system , at the handheld telephone or mobile device for future access .
have been putting together an automated way to get real time      The navigation system will revolutionize Global Position
traffic data into cars so drivers can avoid traffic related 55 ing System (GPS ) based systems and the mapping industry ,
 issues. Real time traffic information includes news such as :      from Global Positioning System (GPS ), mapping compa
congestion , construction , traffic accidents, recommended          nies ' communication providers , car manufacturers to tele
alternative routes, and the like . Currently available navigaa      phone directories and local guides . For the first time, the user
tion systems depend on fix sensors or cameras and some               of a Global Positioning System (GPS ) navigation system
navigation on manual information provided by the users or 60 will have an easy , reliable way to reach a destination inside
drivers .                                                    buildings facilities , which can be referred to as the indoor
   An RF tag or beacon will be installed at each desired ,          world .
 known location or at each Point Of Interest (POI). Each RF            The most common problem with today 's Global Position
tag or beacon will broadcast an RF signal containing an             i ng System (GPS ) based systems is that navigation and
identification (ID ) to be received and recognized by the 65 mapping is not existent in an indoor environment. The
mobile device and such information ( including the RF        disclosed navigation system provides the solution for this
beacon ID ) will automatically transfer by way of the user's        problem . Using the navigation system , the user will know
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where the user is , be able to accurately identify landmarks               Positioning System (GPS ) based systems and the existing
around the user,and receive automatic updates directly from               mapping systems; especially indoors where each waypoint
the Points Of Interest (POI) in the vicinity that get automatic           will be displayed over indoor maps or floor map images .
notifications about the user' s presence in the respective area .            The display method is one unique way to bridge existing
    The navigation system is based on RF tags or beacons, 5 devices like cellular telephones, as a real- time floating
 each RF tag orbeacon is associated with a waypoint and has      overlay on a directional circular display to overcome the
its own identification (ID ) ( identifying the waypointby type , limitations of Global Positioning System (GPS ) based sys
address, etc .). The RF tag or beacon will broadcast, using               tems and the existing mapping systems.
Radio Frequency (RF ), the identification ( ID ) to be scanned   The overlay add -up device/display works like a VOR and
and picked up by the Bluetooth enabled mobile device . The 10 provides add -up display which automatically shows the user
 identification (ID ) provides a detection method and triggers
 a location identifier presented as a floating information      their location in the immediate area in a circle , which
 image on the indoor map , wherein the location identifier      includes a radius representing an accuracy and proximity
references the user's location. The floating image or display 5 distance
                                                                   The
                                                                         from the locally detected RF tag or beacon .
                                                                       overlay displays over an existing navigation system ,
will provide automatic waypoint updates around the local 15
area and will allow the user to search local providers , such portable device or cellular telephone without Global Posi
as waypoints, stores and the like; without any connections , tioning System (GPS ) support providing a circle that shown
 communication , access to the Internet , or cellular commu               the location accuracy of the user on the local map .
nication . The signals received from the RF tags or beacons       The fact is , no digital maps are entirely accurate . A user
are the only information required to determine the location 20 needs to know which map makers are used by the product
of the mobile device , as well as an accuracy radius circle . that they are interested in and check the maps for the area
Access to the Internet or any other web communication                     that they are concerned about. In addition , some map
provides more information such as push notification and                   databases are created from vector data while others are just
messaging and Location Based Services (LBS ) such as                       scanned copies of paper maps. In addition to mapping data ,
deals , direct advertising, and the like , all of which can be 25 these samemap makers can often provide Points Of Interest
automatically conveyed to the user ' s mobile device .            (POI) data . However, a software company might use the
   Once the user is in the vicinity of their destination , a maps from one company and the Points Of Interest (POI)
notification is automatically sent to the Internet, a website , data from another company . Points Of Interest (POI) data
 or a business . The user will automatically receive the facility normally takes three forms. One is public buildings , parks,
 information along an associated waking route and in all 30 airports , and possibly geographic objects . A second is gov
 directions around you .                                                  ernment locations that include specialized points lists like
   No further action is required . There is no need to send a             marker buoys , and airplane markers. Finally , there are
 request or to access and search a database or a central                  commercial establishments that usually include some infor
system .                                                                  mation about their products and contact information . The
    Conversely , other systemsmust send a request to a central 35 location of commercial places is often derived from the
 system , or to a database , and then the user must wait for a    street address and is not based on the actual latitude and
response . This takes time and a communication link .                     longitude location information . Moreover there is the sky
   The disclosed unique approach provides results without                 high cost of digitizing and updating the Points Of Interest
any delay or waiting for communication or authentication                  (POI) and the waypoints .
and access time as there is no real communication between 40 The task is to provide a solution when the user will
the RF tags or beacons and the user 's mobile device . The receive real time Point Of Interest ( POI) or waypoints in the
result are instantaneous based upon the association , directly            area where the user is automatically associated with a
between the RF tags or beacons and the user' s mobile device              located proximity to RF tags or beacons in the area . The
or other navigation device                                                waypoint information can be information that is provided in
    The RF tags or beacons broadcast their identification (ID ) 45 real time, or essentially updates in real time and can be
 to be scanned and pickup by the user 's mobile device to          changed according to the waypoints and all according to a
 identify the location of the user using a proximity to the RF proximity detection of the RF tags or beacons identification
 tags or beacons.                                                  (ID ) in the area . The information can be used in these
    Additionally , the identification ( ID ) identifies the type of example applications:
 facility , the store , and the like . For example, the Identifica - 50 The user may wish to locate an empty available parking
tion (ID ) can state whether the facility is a restaurant, a              space in the vicinity of the user. Just think of the empty
men 's wear store , a women ' s wear store , and the like. The            parking spaces as waypoints . The system will determine if
Identification ( ID ) can include the location of the user                each parking space is vacant or occupied using the RF tag or
respective to the store , such as in the front of the store , in the      beacon and associated sensor . The RF beacon will broadcast
back of the store , and the like.                                      55 identification (ID ) only when the parking space is available .
   Each facility can provide information about the store . For             The user 's Bluetooth enabled mobile device will scan the
example, the automatic waypoint information of the user 's     area for the broadcasted signals from the beacons to find the
presence can trigger or initiate an automatically notification available parking , such method describe in more details with
to the business or other waypoint in the local area .          U . S . Pat . No. 7 ,899 ,583 (issued to the Applicant, claimed as
   Due to the limitations of the mapping system currently 60 a copending parent application , and incorporated herein by
used by the Global Positioning System GPS   ( ) navigation     reference ).
system , the associated display method provides a unique                     The user may wish to see and locate real estate property
 solution to bridge existing devices like cellular telephones,            available in the area proximate the user's location . An RF
 in - car navigation and other Bluetooth devices. The disclosed           tag or beacon can be installed in each real estate property to
 navigation system provides an associated overlay navigation 65 trigger a request for more information . The additional infor
 display method as a real-time floating display , or as a mation would be forwarded to the user or possible client
waypoint to overcome the limitations of current Global                    when the user reaches a proximity to the property.
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    The user may wish to locate a specific store in a shopping             to the advertising area and provides the user with custom
mall . Waypoints can be as broad as a store in a mall , a                  ized and /or personalize advertising or offers .
particular aisle in a department store , or as narrow as a                    A customer is entering a store, a bank , or any other a
 specific item on a shelf.                                                  facility , wherein the user is recognized accordingly and the
    The user may wish to locate a specific conference room in 5 facility provides additional information or services.
a convention center , a Point Of Interest ( POI) in an amuse                   The RF tags or beacons can serve to track an employee 's
ment park , or a Point Of Interest (POI) in a museum .                     work times , including a check in and checkout times from a
    The usermay wish to find the emergency exit route during designate     area .
                                                                    The RF tags or beacons can serve as part of a payment
an emergency or the first response team may need navigation 10 process  , where the user's cellular telephone and the local
within a facility in an emergency situation .
                                                                proximity   RF tags or beacons can provide additional secu
    The user may be looking for a train location at a station , rity for a payment
or a stop along a route of a subway or other underground                             process .
train system . All of this information would be updated ,           The infrastructure provided by local RF beacons can be
including the waypoints , in real-time.                         integrated into a local dating system .
                                                                      15      The local RF tags or beacons associated with the user
    It is believed that the automatic updates of waypoints                 mobile can create a virtual security zone for a child , an
revolutionizes the Global Positioning System (GPS) and                      elderly person , or any care monitoring .
Navigation Industry .                                                         The location of the user can be associated with the local
    For the first time the user will know the information the              beacons, which can be interfaced with social networking .
user wants and receive the information when the user wants 20 The RF beacons can be integrated into a solution for
or needs the information; all according to the location of the parking related issues where each parking location can be
user.                                                          identified by an RF beacon . The solution would include
   The local business owner can automatically introduce additional sensor to determine the occupancy status of the
 associated content in real time to the users in the area of the           parking space ( referred to by the Inventor as nav4parking ).
business when the user accesses or enters the respective 25 This process can determine whether a parking space is
 store . The content can include deals, coupons , and specials             occupied or vacant and provide this and other parking
 and provide more information to user about the business .                 information to the end user. The RF beacon will broadcast a
 The business , in turn , can benefit from statistical information         parking space identification only when the parking space is
 about the clients , such as habits, a client profile , loyalty and        available . The user ' s Bluetooth device will scan the area for
rewards.                                                              30 the signal from the broadcasting beacons to aid in locating
    The Global Positioning System (GPS ) and navigation                    the available or unoccupied parking space ( s ). This method is
industry can tap to the huge local advertising market, which               described in more details in U .S . Pat. No. 7 ,899 ,583 issued
 is estimated to be $ 134 Billion in the US alone .                        to the Inventor and claimed as priority herein .
   Automatic notification of user existence in the place , the   The RF tag or beacon can be installed into or integrated
store , the facility , and the like .                      35 within a vehicle to provide vehicle related applications, such
   Mall or store navigation solution inside the mall or the as payments , security , car broadcasting, car tracking, car
store .                                                                    communication , and automatic car counting . The proposed
    Return To Parking (RTP ) can assist the user in returning              system can automatically provide transportation manage
 to the location where the user parked their car.                          ment with statistically information .
   For example , a typical application could be :                     40      A system and method to provide a user with information
    A pedestrian asks for directions to a specific store within            which is related to the Point OfInterest (POI), the navigation
a mall.                                                                    system provides detection and navigation references, posi
    A pedestrian asks for directions to a specific aisle or                t ion determination and information related to the object or
 product inside the store .                                                 Point Of Interest (POI) directly and automatically to the user
  A shopper asks for a specific department within a depart- 45 interface , such as the mobile device , upon arriving to a close
ment store .                                                   proximity to the RF tags or beacons installed in the area .
    A pedestrian asks for directions to a Point Of Interest          Moreover the application provides more than simply an
 ( POI) .                                                          icon .
    In an emergency , the first response team requires naviga -       At present, no prior art utilizes the capabilities to display
 tion inside a smoke filled building .                          50 a real time representation of navigating and get an update
    A store owner can use the notification and the knowledge directly from the waypoints. Also most systems are designed
of existence of the user for loyalty and rewards.                           for the old query type search where interface to Internet and
    The identification (ID ) of the RF tag or beacon can trigger           or database central system is needed .
a link to existing software and notify the local system of the                The navigation system automatically detects a signal
presence of the user such as :                                        55 directly transmitted from the RF tags or beacons installed at
   A traveler is checking in into a hotel or resort. The hotel             the waypoints . No communication is required to be estab
or resort can provide with automatic check in and interface                lished between themobile device and the RF tag or beacon ,
to the hotel or resort guest receiving system .                             including cellular communication , and no pairing is
    A traveler is checking in to a flight in the airport. The               required . Other systems must have bandwidth available ,
airline provides the traveler with an automatic check in for 60 wherein the bandwidth is used to send a request to a central
the flight when the traveler reaches a close proximity to a                 system or to another remote database and then the system
localized RF tag or beacon .                                               must wait for a response. Alternatively , other systems
    A customer is checking in to a restaurant or food service .            require Internet connections. This takes time.
 The business will recognize the customer when the customer                   Even if other currently available systems have bandwidth ,
 is in the proximity of the local RF tag or beacon .         65 those systems are still based on the existing search concept
     The pedestrian reaches an advertising area or billboard where the user submits a query , searches and waits for the
 that can be recognized by the user located a close proximity response. This can be impractical. The navigation system
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provides the information automatically, without submitting         Interest (POI) will have an RF tag or beacon that will
any query , and the response is according to the user ' s          broadcast a wireless RF signal with identification (ID ) that
 location based on RF tags or beacons installed in the local       will provide an instant detection. The navigation software or
 area .                                                            other application for Location Based Services system will
    Again , most of the existing prior art is based either upon 5 execute the specified file or program that will automatically
a Global Positioning System (GPS ) based system or an               trigger waypoint generation program , and , at the same time,
 existing car navigation system , which coincidentally also         provide the business owner a notification of existence of the
 depends on a Global Positioning System (GPS ).                     user in the vicinity of the business to allow the business to
   The existing mapping used by these systems has the same provide           the user with relevant messages or offers , more
limitations as described previously , and is impractical . 10 information
   The disclosed navigation system bridges the gap between just by beingorinpush          message to the user cellular telephone
                                                                                      proximity  to the RF tag or beacon .
the Global Positioning System (GPS ) based navigation
systems and provides a complete solution .                             The user will no longer need to enter his waypoints
   U . S . Pat. No . 7 ,031, 875 to Ellenby et al. describes a manually and then wait for the providers ofmaps or Global
pointing system for addressing objectsobiects, and
                                               and provides
                                                   provides aa 1515 Posi
                                                                    Positioning System (GPS ) to update their maps with the
 system and method based on Global Positioning System              information (this can take about a year in some cases) . This
 (GPS ) and Internet or database communication The system          way the user will receive the information that the user needs
 taught by Ellenby , et al. is not exactly navigation but an      when the user needs it and where the user needs it .
 information based system that requires the Global Position         It provides a process that automatically triggers delivery
 ing System (GPS ) to locate the user 's location . Because of 20 of information according to the RF tag or beacon located in
the reliance upon the Global Positioning System (GPS ),            the proximity of the user . The information would be pro
indoor services is likely out of the questions and the need for    vided directly from the local area business waypoints and to
bi- directional communication as well with Global Position         the user 's display device . The detection of the user can be
 ing System (GPS ) limits its availability and accuracy . The      accomplished without any bi -directional communication . In
system taught by Ellenby, et al. does not provide real time 25 the event that more information is required and / or the
updates of the waypoints and needs access to the Internet      business needs to provide more information , it may be
and or a central database .                                    necessary to connect to the Internet. The connection to the
  One common problem with today ' s Global Positioning             Internet allows an interaction or engagement based upon a
System (GPS ) based systems is that the mapping and the            proximity to the Bluetooth enabled RF tag or beacon . This
waypoints are not updated on a timely basis . In most areas, 30 can trigger specific application functionality and provide
the maps provided are not updated and sometimes provide         automatic notification of “ I am here ” to the business owner.
misleading information . Some of the waypoints listed                 It is believed that sooner or later it will be commonplace
appear to be about two ( 2 ) years old . The new service like      to install a RF tag or beacon on every location of interest
GOOGLE EARTH provides satellite images that are almost             (waypoint) or within any business will provide waypoint
two ( 2 ) years old and for sure can 't provide an on - line and 35 information as a method to provide each user with the
real time accurate picture of the existing area and the information . Most stores, Point Of Interest (POI) or other
associated waypoints.                                               waypoints will be willing to pay for a RF tag or beacon or
    The disclosed technology offers a solution to this task by     pay a subscription fee to be on the Global Positioning
 providing a system and method to automatically generate           System (GPS) system providers that are able to show their
waypoints along the user 's route either in an indoor envi- 40 location and information on a map . Alternatively , the mer
ronment or an outdoor environment. The updates are based       chants would pay for an annual listing ( similar to the
 on the determined location of the mobile device in proximity      telephone directory ) .
 to installed RF tags or beacons and the updated information          The disclosed system can interface with the existing
 can be triggered by the determined location . Such a method       Global Positioning System (GPS ).
does not exist in today 's navigation or mapping, especially 45      Present Global Positioning System (GPS ) providers , map
 in an indoor environment .                                        providers, and search engine providers, such as City Navi
    The disclosed technology offers a solution that interac -      gator and Metro Guide Maps , contain thousands of attrac
 tively guides the user to a desired destination , independent     tions .
 of the location being indoors or outdoors.                    Other waypoints that can be included : food and drink
    The disclosed navigation system and method automati - 50 locations, lodging, attractions , entertainment, shopping , ser
cally updates waypoints, by using an interface to an existing vice providers, transportation , emergency facilities and gov
Global Positioning System (GPS ) based system , when each       ernment offices .
Point Of Interest (POI) will have an RF tag or sensor that         In most areas, the maps provided are not updated and
will broadcast an RF signal that can be converted to a Global   sometimes provide misleading information . Some of the
Positioning System (GPS) waypoint, In response to the RF 55 waypoints listed appear to be about two ( 2 ) years old . Listed
signal ( from the RF tags or sensors) , the navigation system   attractions can include theme parks , museums, libraries ,
will execute the specified file or program that will automati - schools , parks and the like. This feature is very usefulwhen
cally trigger a waypoint generation program .                   a user is located in an unfamiliar area . Waypoints will be
    For some years , local governments , in cooperation with       automatically included in the local area and plotted on the
various FM radio stations, have been putting together an 60 map screen . The waypoints can be stored in the Global
 automated method to provide real-time traffic data to             Positioning System (GPS ) database for future access or
vehicles so drivers can avoid traffic . Real time traffic infor-   stored on the user ' s mobile device .
mation includes traffic conditions , such as : congestion , con       The navigation system will revolutionize GlobalPosition
struction , traffic accidents , and recommended alternative    ing System (GPS ) based systems and the mapping industry ,
routes .                                                    65 from Global Positioning System (GPS ) , communication
   A Bluetooth and /or Wi- Fi enabled RF tag or beacon will providers for the mapping companies, car manufacturers to
be installed at each Point Of Interest (POI). Each Point Of        telephone directories and local guides; for the first time the
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 user of a Global Positioning System (GPS ) navigation                                                  - continued
 system will have an easy , reliable way to reach a destination .
  One common problem with today 's Global Positioning                                                      Waypoint
System (GPS ) based systems is that the mapping and the                  ID Code POI Type                                    Cat. Type
waypoints are not updated on a timely basis. The disclosed 5
navigation system provides a solution for this problem .                   46
                                                                                   Computers
                                                                                   Hairstyle /Cosmetics
                                                                                                                             Store /Service
                                                                                                                             Store /Service
Using the disclosed navigation system , the user will know                 47      Office                                    Office
where the user is , be able to identify landmarks around the                       Security /Police                          Service/ Emergency
 user accurately , and receive automatic updates directly from
the Points Of Interest (POI) located in the vicinity of the 10
user.
    The navigation system is based on RF tags or beacons
installed in the local area . Each tag or waypoint has its own
identification (ID ) ( identifying the waypoint by type ,
address, etc .). The RF tag or beacon identification (ID ) and 13
proximity to the RF tags or beacons will allow localized
detection and interface with existing or indoor application
                                                                           ?QU1X   Children's program
                                                                                   Social Affairs
                                                                                   Religion
                                                                                   Phone
                                                                                   Travel
                                                                                   Parking Transportation
                                                                                   Guest service
                                                                                   Library
                                                                                   Transportation Management
                                                                                   Municipal
                                                                                   Post Office
                                                                                   Government
                                                                                                                             Service
                                                                                                                             Religious/Service
                                                                                                                             Religious
                                                                                                                             Service
                                                                                                                             Transportation Service
                                                                                                                             Service
                                                                                                                             Service
                                                                                                                             Service
                                                                                                                             Service
                                                                                                                             Service
 and navigation , Global Positioning System (GPS ) based                   61      Market                                    Store /Service
systems, as a floating information display on the Global                   62      Alarm                                     Emergency
Positioning System (GPS ) map referenced to the user 's 2                  63      Emergency
location . The floating display will provide automatic updates             64
                                                                           65
                                                                                   Hotel resort and cruise ship
                                                                                   Education facility , school, university
of waypoints and will allow the user to search local provid                66      Sport facility , sports arena , stadium
ers (waypoints and/ or stores and more information about the               67      Conference and show
store or business . The localized detection allows the local                       Amusement park
businesses to have an automatic notification when the user 25              69      Implements as mail and address
approaches or is within the proximity to the business and                   70     Implements in a road as road sign
                                                                                   or transportation entity
allow him to provide the user with more information about
the store, the business , any deals , and the like .
   The task is to provide a solution where the user will           The identification ( ID ) described above is only are sug
receive real timePoint Of Interest (POI) or waypoints in the 30 gested examples . The fact is that part of the beacon identi
 area automatically to the user 's existing navigation system          fication (ID ) will be to recognize the facility , the store type,
or to the user's cellular telephone. The waypoint information or the location to provide instantdetection and determine the
can be a real time information update in real time and can be user' s location by just being in a close proximity to the RF
changed according to the waypoints.                            as tag or beacon in the localized area .
   A cellular telephone application , which the user will scan       The navigation system enables remote and local update of
the area for exiting Bluetooth or Wi- Fi enabled RF tags or            the local floor plans and the information about the local area
beacons will receive data and more information utilizing the           and waypoints business in the area , when the location 's
cellular telephone's Bluetooth capability .                            indoor application can be triggered to download at the
   The system can trigger an application as well as a link to
 any existing system and software . A notification can be sent 4040 destination . One example of this would be at the entrance of
                                                                    a shopping mall , a department store , an amusement park , a
to a web , email a web -based application or even interact             museum , a parking garage , or a downtown area of a city,
with a social network . The navigation system will interface
with existing in -car media system and in - car navigation   where a sign or a shopping mall information sign would
systems.                                                     provide direct information which would trigger a download
  It is understood that the waypoint or Point of Interest 45 of the local application .
 ( POI) will be represented by the following suggested iden                The system can work inside a building whereas theGlobal
 tification (ID ) examples as part of the beacon identification        Positioning System (GPS ) cannot. Local detection is
 (ID ) to be recognized by the user Bluetooth mobile device            obtained by way of the Bluetooth interface .
 (cellular telephone), according to the type of the Point Of              The disclosed system provides information about each
 Interest (POI) :                                                      facility or store , including information about the type of the
                                                                       facility. For example, the type of store, a product, and the
                                   Waypoint
                                                                       like. The identification ( ID ) of the RF tag or beacon triggers
                                                                       delivery of information based upon the proximity of the
  ID Code POI Type                            Cat. Type             55 user 's mobile device to the RF tag or beacon .
                                                                          The navigation system can be an attractive addition to
     32     Food/Restaurants                  Food                     existing deployments of Wi- Fi and Wi-Fi hotspots and a
            Gas Station                       Information
            ATM /Banks                        Finance                  feature for business and cities that deploy Wi-Fi.
    .
    ?
     AOWN
    ??

     39
            Department Store
            Apparel Store
            Sports Store/
            Books video
            Jewelry
                                              Information
                                              Store
                                              Store
                                                                          In case of an emergency or security situation , the system
                                                                    60 can provide authorities with information .
                                                                          Utilizing the navigation system , the facilities (waypoints )
                                                                        in the vicinity around the user car are displayed on a floating
     40     Toys /Photo / Elect.              Store                    overlay using either a cellular telephone application , a
    41      Music                             Store                    standalone device, or an existing installed navigation system
    42      Gifts                             Store
    43      Furnishing                        Store                 65 (with or without any mapping ). The information can be
    44      Service                           Service                  pushed to the user 's mobile device when the user is in the
                                                                       proximity of the area .
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   The recent introduction of imagery services , such as                when the user begins looking for a space to park the user ' s
GOOGLE EARTH or other similar services, that are offered                car, when the user parks their car, when the user walks
as an enhancement to Global Positioning System (GPS ) at a              towards a store or a mall, and/ or when the user wants to
 fee , still provide out of date information , with the unsatis         return to his parked car, looking for the place that the user 's
 factory result. For example , users can encounter road 5 car is parked in .
 changes and area development not shown on the maps and        The suite may include :
 imagery.                                                      A parking detector and navigation to the empty , vacant or
    The option of downloading a floor plan can be exercised available parking space .
either remotely or locally as part ofmapping or navigation             Nav4 mall or store navigation solution, which provides
application .
   With the navigation system , the user will have the infor      navigation within an interior of a mall or a store.
mation that the user wants , when the user wants it, where the         Return to Parking (RTP), which locates the parking space
user is located , and at an affordable price . Once the user is   that    the user parked their car.
in the vicinity of their destination and the user switches on           A system and method to provide user information which
their navigation device, the user will automatically receiveve 15 18is related to the Point Of Interest (POI)
facility information along the walking route and in all reference      The navigation system provides detection and navigation
directions around them .                                                       , a method for determining a position or location of
   Additionally , each facility type can be identification ( ID )       the user, and a method for providing information related to
 coded (apart of the beacon identification ( ID )) to identify the      the object- or Point Of Interest (POI) directly and automati
 type of the store , and the like For example , the type of 20 cally to the user through the user's cellular telephone or
waypoint can be a restaurant, a men 's wear store , a women ' sother mobile device without any bi-directional communica
wear store , real estate property, a garage sale location , a           tion through the Internet or other method of accessing the
special sale . The information is provided as being up to date ,        web , such as a cellular connection .
real time information ; information which can 't be displayed              Special operation mode ( Shopping) ( referred to as
 and located using today 's navigation system . The disclosed 25 NAV4SALE ) provides navigation to one or more special
 system can tap into the local business industry , providing            sale items within a department store . This is a unique new
 localized advertising .                                                tool for the business owner as well the customers, wherein
   Each identification ( ID ) code can be included as part of           the process enables navigation to help the user locate an item
the beacon identification (ID ), which can trigger a process to         within a store or a mall . In one example , the item can be an
access and obtain complete information about the store .             30 item that is on a special sale . The application will provide the
   The system can be operate on a cellular telephone or any             user with a way to navigate to the waypoint representative
othernavigation system and would notbe limited to a Global              of the special sale, a coupon , a special event, a promotion ,
Positioning System (GPS) navigation system .                            and the like . The navigation can be provided in an indoor
  Moreover, the navigation system can solve the Return to environment or an outdoor environment. This would be an
Parking (RTP ) problem , where many users might forget 35 enhancement to local advertising .
where they parked their car. The system has an option to                   The local advertising market is estimated to be $ 134
 save the location on the cellular telephone, which would               Billion in the US alone. The mapping capability is at the
 employ a parking detector application . The parking detector           forefront of a local strategy . Due to the lack of availability
 application provides directions to the user to the location of         of the Global Positioning System (GPS ) within an indoor
 their parked car , which will make it easy to locate their 40 environment, as well with the limitation of its accuracy in an
parked car.                                                             outdoor environment and the delays in updating the associ
    The navigation system is designed for global use and is             ated maps that is provided by the current mapping and
not limited to malls , stores, amusement parks, museums,                Global Positioning System (GPS ) industry , there is no real
 sports stadiums etc . It can be implemented in parking                 method for tapping into this huge market.
 garages, metered or non -metered parking spaces; almost 45 The navigation system can vitalize the navigation and
 anywhere and in any place ; even in any infrastructure .      mapping industry by providing a unique innovation that
   It is envisioned that in the future all new construction or  combines the Global Positioning System (GPS ) and the
 infrastructure will have the RF tags or beacons included in            existing navigation as well as the cellular telephone users
 the design or built in the structure .                                 with an indoor navigation process based upon the local map
   One feature of the proposed invention integrates the 50 that will provide the user navigation to a desired location
 navigation as part of the NAV4 concepts where the system               within a mall or a store , to the right store or product within
will provide complete solutions for local navigation in an              the store, or even an isle inside the store. This technology
area where theGlobal Positioning System (GPS ) and Global               provides a new marketing tool to the store , mall , or business
Positioning System (GPS) mapping just can 't provide accu -             owner to acquire the customer by using this new service . A
rate and updated information that is so essential to the user. 55 new unique way to bring the customers to the product in
    A typical application is navigating a pedestrian in an              sale , direct the customer directly to the isle , and more
environment like a mall, a department store , a specialty               specifically , to the product that you want to move . The store
store , a conference , a trade show , an amusement park , a             will also have an option to deliver more content (advertising,
university , a hospital, a school, a municipal building, a              sale , coupons, promotions, and the like) to the user when the
museum , a subway , a train station , an airport, a down town 60 user approaches or enters the store using push technology to
center, any type of parking facility , or any place when and            the user 's Bluetooth enabled cellular telephone .
where the Global Positioning System (GPS ) cannot be                      Special operating mode (Museums) ( referred to as
 provided or is not accurate or precise enough . The system             NAY4Museums, NAV SHOW , and NAV CONFERENCE),
 can be used for navigation by first responders during an       which provides navigation and interactive information from
 emergency or a disaster.                                    65 the museum ' s show , conference exhibition , and the like to
    The navigation system is part of a broad suite of appli - the user 's cellular telephone device by way of the integrated
 cations that include a complete solution to the user including         Bluetooth interface .
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   The application enables the user to explore themuseum or             specifically , knowing where to park .More precisely, finding
 the conference show exhibits in a new unique and easy way .           and navigating to the vacant or empty parking spaces located
 The application provides the user with an ability to navigate         near the driver. The process will also provide the answer to
about a floor map of the museum or the conference center,               " where did I park my car ?” , when the user is returning to the
 indoor navigation , navigate to exhibits , restaurants , cafes, 5 parked car. In our society where time, convenience and
 lavatories , and the like , by using the software on the user 's       comfort are precious, commodities parking is a major head
navigation or cellular telephone                                       ache .
   Any museum , conference , or show provides the attended               Parking detection system is the next generation of urban
 a map to the exhibits , some also provide additional audio             parking and the answer to the most demanding need of any
device (headset ) to get more information on the exhibits .         10 driver , Where to park ?
   The navigation system will provide a unique indoor tool                The navigation system provides a method of self orga
that will navigate the attendee about the museum , the                 nizing a parking system that will enable municipalities and
conference center, or the show in an easy manner. The                  other parking authorities to easily identify , exploit and
navigation system operates to the user ' s Bluetooth enabled           manage revenue opportunities , while at the same time,
 cellular telephone . When the user reaches a desired exhibit 15 provide better service at a lower operating cost . With the
the user will be allowed to download information about the              implementation of the navigation system , detecting vacant
 exhibits directly to the user's cellular telephone , a mobile          or available parking spaces and navigating the driver to the
 device, or a Bluetooth enabled headset. The system provides            available parking spaces will becomepart of an information
 indoor navigation to the exhibits as well navigation to                revolution .
restaurants , cafes , lavatories , and the like . The process can 20      With the parking space identification and navigation sys
be accomplished on the user' s navigation device or cellular           tem , drivers will save time and reduce the frustration of
telephone and would be based upon the facility map .                   hunting for available parking spaces, and will also save the
   Special operating Mode (Mass Transportation ) (Referred             user money on fuel consumption and car maintenance costs .
 to as Navtrain ) For all the users of a mass transportation              By using and modifying existing technology , the dis
 system , the navigation system can allow , locate and point the 25 closed system will integrate easily with other transportation
user to the exact station or location along a route , an easy           and communication systems. The RF tag or beacon can be
way to navigate in the train , subway, underground system , a           attached to existing parking meters, and in the future will
new way of subway or bus mapping in either an indoor or                 interface with them and can eventually replace them .
an outdoor environment and directly to the user 's navigation    Municipalities will have better control and centralized
device or cellular telephone. Every day, millions of people 30 monitoring of their parking space inventory , resulting from
are using the mass transportation system , including trains, the new generation of urban parking.
subways, buses, and the like . Each passenger depends upon       Special operating mode (Real Estate ) (Referred to as
the transportation map for route information , schedules, and NAVRealty ): A new unique tool to accommodate the real
additional services provided by the transportation system . estate industry by providing a seller, a real estate agent,
Most of the passengers today carry with them a cellular 35 and / or a real estate buyer a process to locate and navigate to
telephone .                                                   available real estate property in the user 's area, according to
   The navigation system will provide the passenger with                the user 's location and directly to his navigation device
navigation inside the transportation system , preferably by             and /or cellular telephone . The user may wish to see and
way of the passenger' s Bluetooth enabled telephone . The               locate the real estate property available in his area according
passenger will know the exact location or station along the 40 to his location . An RF tag or beacon can be installed in each
route as well any additional optional information such as listed real estate property . When approaching or within the
schedules , and the like. This adaptation of the navigation    real estate property, the association with the RF tag or
system provides a new add on service to the transportation             beacon can trigger a request for and receipt of more infor
providers as well to the passengers , utilizes the indoor              m ation about the available property to the user or client.
navigation method and the ability of the transportation entity 45 According to the Newspaper Association of America , the
to use the RF tag or beacon installed in transportation          real estate advertising market is estimated at $ 11 .5 Billion .
 facilities to have add on to transportation management                Recently MYNEWPLACE .COM joined apartments .com
control system .                                                       and rent. com in the $ 3 Billion on - line apartment listing.
   Special operating mode (Parking ) (referred to as                    ZILLOW , a new startup company just raised $ 32 M in
NAV4PARKING ) is previously described in two (2 ) parent 50 founding with the basic idea to put your house on GOOGLE
patent applications. This feature provides a process for                EARTH ( a satellite mapping service ). GOOGLE , YAHOO ,
determining an empty or vacant parking space and naviga                 AOL , ASK and MICROSOFT are looking to develop real
tion directing the driver to the vacant parking space. This is          estate services.
one example of a solution using the RF tags or beacons to                  The navigation system brings the listings to the user's
become part of a solution to parking problems where each 55 hand, by combining the navigation system and/ or the cel
parking location can be associated with an RF tag or beacon lular telephone or other mobile device ; the user will be
and a respective sensor to determine if the parking space is            allowed to obtain information associated with the real estate
 vacant or empty and provide parking information to the user .          property in the area proximate to the user , wherein the
 The RF beacon will broadcast identification ( ID ) only when           information is updated according to the user ' s location in
the parking space is available . The user 's Bluetooth enabled 60 real time.
mobile device will scan the area for the broadcasting RF tags          The user will have the option to search out of the box for
or beacons to identify one or more available parking spaces. property in his area . The navigation system will serve as a
Details pertaining to this method are described in more new tool for the real estate industry as well providing a
detail in U . S . Pat. No. 7 ,899 ,583 issued to the Inventor and search engine for the benefit of the seller, the real estate
claimed as priority herewith .                                   65 agent, and/ or the real estate client.
   A new generation of urban parking innovation that                      Special operating mode (merchant navigation ) ( referred
answers the most demanding need of any driver , more                    to as NAV4STORE and NAVMALL ) The merchant navi
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gation provides navigation inside a store or a department          when and where the information is needed . Moreover, the
store to a specific department, aisle , or specific product, and   navigation system can serve as a navigator describing the
can include an option for presenting advertising and special       emergency exit route when and where it is needed . Each user
promotions. The merchant navigation provides a method to           can download the emergency exit floor plan and escape from
 explore an indoor mall , inside a department store , and the 5 the building with the knowledge of the user 's exact location
like, providing navigation to the store , the department, or to along the emergency exit route .
any other right place that the user needs.                        Aspects of the scenarios to be included :
    The system provides navigation on the mall map or the          Identifies and tracks each user (a first response team
store map enabling the user to find their way around usingsing  member   ).
their cellular telephone , navigation system , or othermobile 10 Provides    the user with navigation information and direc
device without use of the Global Positioning System (GPS ). tions for safely     exiting the building.
The disclosed navigation system will provide a new kind of
service and a new marketing strategy for the malls, the           Provides location information of all team members using
                                                              an ad hoc network of radio terminals that combine RF and
 stores, and the business owners . The disclosed navigation - Bluetooth
 system can enhance local advertising.                                  technology and allows communication chat and
   Special operating mode ( Amusement parks or theme               messaging between team members without any need for
parks) — (referred to as NAV4Amusement Park ,                       Internet access or cellular communications. This application
NAV4ThemePark , and NAV4Amusement Parks . The                      is not limit to the first response team and can be employed
NAV4Amusement Parks provides the user with navigation              by any user in an emergency and a non - emergency condi
to desired attractions as well as a new way to register in a 20 tion .
 virtual queuing system , all in an easy way using the user 's        From the outset, the navigation system was been designed
cellular telephone without a need for the Global Positioning with the capability to utilize existing technology so the
System (GPS ). Provides a new media add -on service .        navigation system can be deployed as a stand - alone system
   Ever wonder what it will be like to navigate inside the or in tandem with existing systems.
amusements park to the desired attraction , to know the 25 With the implementation of the navigation system , a first
schedules of shows or events at the attractions, utilize a   response team can be empowered to navigate and find its
virtual queuing system from a remote device instead of way in a case of emergency or a disaster. This capability can
standing in line ? With the navigation system , all this can be a critical life saving power in modern congested urban
become a reality and go directly to the user's cellular             living conditions that was not available before now .
telephone without any need for Global Positioning System 30           It is believed that implementation of the navigation sys
 (GPS) . It is understood that the present invention can            tem will assist counter terrorism activities , and more impor
provide a new tool and service which would benefit of the           tantly , can help first response teams to save lives of people
amusement parks and the user alike.                                 trapped inside buildings .
   Special operating mode (roadway support) (referred to as            In all, the unique disclosed method can be summarized as
NAVSIGN ): The roadway support function can provide the 35 follows:
user with automatically generated waypoints associated with            Provides direct communication between the area (way
road signs,wherein the waypoints would be displayed on the          points ) and the user ( the beacon navigation application
user' s navigation device , the user' s cellular telephone , and    and /or the Global Positioning System (GPS ))
or the car navigation system as a way for secure driving. The         Automatic waypoint generation in real time according to
 information can communicate with the car computer to 40 the location of the user .
provide automated support. For example, the system can               Use in an indoor environment and /or an outdoor environ
automatically slow down the car when the car enters a              ment, excluding a requirement for use of the Global Posi
school zone .                                             tioning System (GPS )
   Special operating mode ( emergency ( referred to as       A business model where the business, store, or store
NAV EMERGENCY ) : One of the important features of the 45 owner can subscribe to a service for including a listing in the
disclosed indoor navigation applications is to provide navigation /Global Positioning System (GPS ) mapping
enhanced navigation to the first response team within the           application .
buildings in which the team has been deployed .                       Providing an overlay floatingmodel, which can work with
    The navigation system provides a low - cost, reliable solu - or withoutmapping
tion for firefighters and other first responders to navigate 50 Exclusive of any requirement for Internet access or cel
 inside buildings where theGlobalPositioning System (GPS ) lular communication in order to detect and determine a
is not reliable , as the Global Positioning System (GPS ) user 's location for use in conjunction with additional Loca
signal can 't be received within the interior of the building or   tion Based Services (LBS ) information.
the Global Positioning System (GPS ) satellite network may            Capability to interface with the existing system and create
have been disabled temporarily to prevent exploitation by 55 and support a link to an existing software and hardware
terrorists.                                                  system .
   The disclosed navigation system anticipated these limi-             The option of searching is completed locally on the user's
tations of the Global Positioning System (GPS ) based sys - mobile device , without a requirement of a central database
tems, and is intended for an environment that is potentially    or an Internet search .
much less friendly , such as the environment first responders 60 Any Bluetooth enabled cellular telephone is capable of
encounter inside a building may contain smoke, dust, and/or     running the Navigation or other Location Based Services
flames, and is intended to leverage advances in ubiquitous      (LBS ) application .
Bluetooth or other RF tag or beacon technology.                   Provides indoor navigation using an indoor facility map
   The navigation system will exploit the capability of and /or floor images for guidance and navigation .
storing critical building information , such as the floor maps 65 All Global Positioning System (GPS ) navigation systems
and emergency escape plans , for retrieval and navigational lack of real time displays of the waypoints around the
assistance by way of a Bluetooth enabled cellular telephone , driver's or user 's route . Therefore, it is inherently probable
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 that the information provided by the Global Positioning
System (GPS ) maps are old or outdated and are therefore                Factors in Local Mapping
 inaccurate .                                                           Local maps can be of either indoor locations or outdoor
   The navigation system provides a system and method for locations.
automatically generating and updating navigation waypoints 5 Local maps are available on paper, on the web , and in
along a route in real time. The process can be based upon a some cases on a kiosk in the facility .
proximity of the user based upon the detection of localized usable    A high degree of accuracy is needed in order to provide
RF tags or beacons installed in the area . The recognition of would be     maps for navigation indoors . The desired accuracy
                                                                             less than 10 meters . This accuracy is to adequately
the user within an area can automatically trigger delivery of 10 support navigation
real time waypoint information along the user 's route . The                            to a store , a parking space , and the like .
information would be transmitted directly to the user ' s
                                                                       The Global  Positioning    System (GPS ) cannot provide
                                                                   acceptable accurate mapping as it is only accurate to within
navigation device and /or cellular telephone .                      100 to 200 feet. This is the reason why the Global Position
   The navigation system can present a circular omni -direc
tional display on the map or floor images as a floating            m System. The(GPS
                                                                   ing
                                                       bating 1515 mapping
                                                                                      ) industry does not provide this type of
                                                                                  same is true for cellular network providers , as
overlay shown on an existing navigation map, floor map , or the accuracy is also within 100 to 300 feet, and that is only
indoor floor images.                                               when the cellular network is available or accessible . Cellular
   The waypoint data trigger is generated directly from the network signal availability is often a problem in an indoor
waypoint beacon 's identification (ID ). Again , the process   environment and also problematic when it is most needed :
can be accomplished without the need for Internet access or 20 during an emergency condition . In most emergency condi
 cellular communication to determine the location of the              tions, the cellular networks fail due to power outages ,
 user 's navigation device .                                          communication issues, and high bandwidth demands. Again ,
    The navigation system will bridge the existing navigation         this is the reason that there is no localmapping available for
 system and Global Positioning System (GPS ) mapping to               cellular users . (Localmapping equates to accuracy in finding
 new real time information according to the user 's location . 25 a store , a room , or a parking level within 5 m .)
    The navigation system will allow for the first time, the        At this time there is no indoor navigation solution . The
navigation and Global Positioning System (GPS ) industry to       most recent technology provides access to a user 's location
tap into the local advertising market estimated to be $ 134 buddy  through a combination of group social networking and a
Billion in the US alone. The proposed mapping processes                   list.
                                                          k of 30    Most
are at the forefront of local strategy. Due to the lack of 30 moving user   technology available today attempts to locate a
availability of the Global Positioning System (GPS ) in an that idea andwithin   lets
                                                                                        an area . The present invention reverses
                                                                                      the user navigate the local area on local
indoor environment, the limitation of the accuracy of the maps , using indoor navigation
Global Positioning System (GPS ) in an outdoor environ gation . Pedestrian navigation iscompared                to outdoor navi
ment, and the non -updated mapping that is currently pro0 - ,35 navigating.Most likely the user is at or near theirlocating
                                                                                                       more   than           and
                                                                                                                     destination
vided by the mapping and Global Positioning System (GPS ) already . There are two possibilities : either the user is unfa
industry, there is no real tapping to this huge market.           miliar with the surroundings and their task will be to explore
    It is believed that the navigation system can bring a new the surroundings or the user is looking for a specific product .
life to the navigation and mapping industry as well to the The user 's defined goal can be as simple as buying a new
 cellular providers by providing a unique innovation that 40 pair of shoes, getting a book, or just going to shop around ,
combine the Global Positioning System (GPS ) and the                  exploring a new location , new deals , specials sales, or
 existing navigation to the real time information directly from       simply sightseeing .
the waypoints , which can be referred to as a COOLSPOT.                   The theory is based on the belief that " you are what you
   The disclosed invention is directed generally to the field         do ” , meaning , services, specials, sales, coupons, discounts,
of navigation and , more particularly , to a method for pro - 45 and the like are one key element.
viding navigation to a user, wherein the navigation is                  One main task of indoor navigation is to show the user
adapted for use in an indoor environment or an outdoor                where specials, sales , and coupons are and directly navigate
environment. Examples of locations include within a mall , a          the user to them . At the same time, the indoor navigation
 store , a building , a department store . Additionally , the dis -   program provides the business owner or operator with a
closed invention provides Location Based Services directly 50 marketing tool that currently is non- existent. The integration
to the user 's navigation device or cellular telephone.       of multimodal journey planning and guidance to dynamic
    The proposed applications have identified and resolved a waypoints , sales, specials, and complex public interchange
 great deficiency in the technology available for local busi-  facilities , and the like are not adequately addressed by
nesses. Location Based Services (LBS) represent a huge existing systems.
advertising and mapping market, estimated at over $ 150 55 In some aspects, indoor navigation looks simpler than
billion a year. Location Based Services (LBS ) represent a    outdoor navigation . For instance , the geographical area
big opportunity in the navigation market that has not been covered is much smaller and the expected speed of travel is
explored yet.                                                 much lower , as the user would be walking. However, other
    Existing System and Industry Trends :                     aspects make indoor navigation much more challenging .
  Local mapping today is mostly paper. Mall maps , store 60 Initially , among these is the unsuitability of Global Posi
maps, mapping of department stores , commercial buildings, tioning System (GPS ) and related technologies within an
 hospitals, schools , campuses, municipalities, shopping cen -        indoor environment. Additionally , in a complex indoor envi
ters, downtown districts , indoor facilities , building maps ,   ronment, the requirements are more stringent. For example ,
parking areas , parking garages, amusements parks, subway        vertical positioning of the topology and the need for accu
systems, transit maps , museum maps , area attractions maps , 65 racy less than 10 meters to the store, the product, to the aisle
hotel and resort maps and even more importantly the emer-        containing a desired product, or the parking space cannot be
 gency maps and procedures posted in buildings                        achieved with today ' s existing systems.
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   Navigation within the indoor market represents much                   The RF tags or beacons portion of the navigation system
greater potential than the outdoor market, as on average ,            are Bluetooth enabled RF tags or beacons installed in known
people spend more than 90 % of the time indoors.                      locations within the area or facility. The Bluetooth enabled
   The Objectives and Goals behind This Concept: The                  RF tags or beacons represent waypoints , where the beacon
 technology behind the navigation system is quite simple . 5 identification (ID ) can identify a facility type, a store , a
 The technology employs a direct communication between special sale , a place , a location in the facility location , and
the user 's mobile device, cellular telephone , or a Bluetooth        the like.
enabled device in conjunction with Bluetooth enabled tags,               The scanner detection part of the application employs a
 sensors , or beacons installed in a known locations within an       Bluetooth enabled cellular telephone or mobile device .
area , a building , a store, or a facility without relying on the 10 When   the Bluetooth feature and the application are active ,
Global Positioning System (GPS ), centralized servers, Inter         the application will periodically scan the area for any
net access or bandwidth , or cellular communication . It is Bluetooth enabled RF tag or beacon that is located in the
noted , that although these functions are not required , they proximity . The scanner obtains the beacon signal and deter
can be supportive when available .
   The main concept is to use existing off-the- shelf technol- 15 mines the identification ( ID ) of the RF tags or beacons as
ogy, such as Bluetooth technology or Wi- Fi technology , with     well with signal strength . The application will use the
small modifications and devices with a minimal cost of identification (ID ) of the RF tags or beacons as well with
 deployment and to provide a simple indoor technology                 signal strength to determine the location of the user . The
which can deliver accuracy with an integrated suite of                location of the user would be displayed on the area map or
 applications . The concept is especially designed for the user 20 facility map and will automatically trigger a notification , an
 or shopper in an indoor environment. The system is based automatic check -in to the business owner or operator, and /or
upon RF tags or beacons, such as Bluetooth or Wi- Fi                  establish a link to an existing system to provide the user and
enabled RF tags or beacons installed in the local area . The          the business owner additional information . All of this would
RF tags or beacons would be scan by the user ' s mobile               automatically be accomplished when the user is located in
device or cellular telephone and use the proximity of the 25 the proximity of the Bluetooth enabled RF tag or beacon .
scanned beacon identification ( ID ) and signal strength to              The navigation can be plotted between waypoints , stores,
provide an instant detection of a user within the area and            or other places on the map .
would automatically notify the business owner of the pres               In regards to the sale sense or other marketing tools, the
ence of the user . The system can also trigger delivery of            system works by passively observing the initial part of the
updated location based information to the user ; all without 30 scanning of movement. The proposed system does not
exchanging any paired communication with the RF tags or monitor or listen to conversations or text messages. Nor do
beacons in the vicinity of the user.                               the proposed applications transmit or intercept any informa
   The System Includes :                                           tion or interfere with the mobile network operators in any
   Local mapping or local floor images : The indoor view of way. The navigation system is a scanning detector (not a
the facility is a feature of the application . The facility can 35 receiver or transmitter ) which can observe the unique Blu
offer a download from participating merchants. The down            etooth identification ( ID ) or key set of the mobile device .
load would provide a local map from a proximity informa-         This is not a telephone number or name of the device . The
tion sign , a store information center, a mall information       unique Bluetooth identification ( ID ) or key set of the mobile
center , a building information center, or a respective server. device in association to the identification (ID ) of the Blu
 The downloading can be triggered by the application accord - 40 etooth enabled RF tag or beacon in a proximity of can
ing to the user ' s location as determined by the proximity to   provide aggregate resultant data to a server to collect and
the RF tag or beacon or preloaded as part of navigation          maintain information for habits and/ or preferences for trig
 feature or mapping application before the user reaches the           gering content delivery.
area .                                                                   Sales sense represents a method to use dynamic user input
   An ability to include special navigation software either as 45 profiling with proximity beacon identification (ID ) installed
 an add -on to existing navigation on the user 's cellular            in the known location in an indoor environment and /or an
telephone or the existing navigation system ( car, mobile     outdoor environment for empowered presence and trigger
device ) using the Bluetooth enabled RF tags or beacons to    ing content delivery for a real life interaction . All of the
determine the exact location and trigger applications .       functions would be under the user' s complete control, with
   An ability to deploy Bluetooth enabled RF tags or bea - 50 out compromising the user' s privacy . The paradigm of
cons in the local area , where each RF tag or beacon will proximity -based discovery and communication enabled by
broadcast the identification (ID ), wherein the identification        Bluetooth technology can be very relevant in ambient intel
 ( ID ) includes the known location waypoint and triggers             ligence as an enabler for a situated interaction .
 additional information and/ or Location Based Applications              The navigation system explores the use of predefined user
(LBS ) . The Bluetooth enabled RF tags or beacons provide 55 input ( user profile or preferences ) as a key driver for situated
the infrastructure needed to guide or navigate each user in  interaction and triggering of content delivery according to
the area . This solution provides a very low cost and fast            the user profile or preferences. The approach is to use of
deployment RF tag or beacon system .                                  Bluetooth enabled RF tags or beacons installed in known
    The ability to use a log of the user ' s Bluetooth identifi -     locations within a local area to trigger action which associate
 cation ( ID ) or the Bluetooth identification ( ID ) as a key (not 60 the identification (ID ) and or profile /preferences provided by
 the cellular telephone number associated with the user) for          the user 's cellular telephone or mobile device beyond self
 future marketing purposes or for emergency use . This aggre -        exposure and introduces a method that can trigger actions.
 gation of data in conjunction with an association to a                 The approach to the use of Bluetooth identification (ID ) of
proximity of a Bluetooth enabled RF tag or beacon identi -            the Bluetooth enabled RF tags or beacons beyond self
fication (ID ) will be invaluable to retailers, businesses , and 65 exposure introduces a technique in which the system can
the like. Bluetooth enabled cellular telephones can be also be recognize the Bluetooth identification (ID ) as explicit
used as Bluetooth enabled RF tags or beacons.                       instructions to trigger actions and /or processes.
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    Initially , because the disclosed system has an extremely       again . The question is how can the system transfer the
 low entry barrier, as Bluetooth devices are based upon a           success of the Internet marketing tool and the easy search for
 widely available technology . More importantly, all newer          real life ?
 cellular telephones or other mobile devices include Blu -       That is the main idea behind the navigation system . What
 etooth technology , and setting Bluetooth identification (ID ) 5 if a system can take a profile , user statistics, and/ or user
of a Bluetooth enabled device is normally a relatively simple input with them anywhere and provide one or more intelli
task that can be accomplished with the base functionality of gence marketing tools . Moreover, the user is in complete
any mobile telephone . The easy availability is of huge shut  control over their privacy, as the user can simply turn off or
importance in enabling social practices around the technol 10 In down
                                                                    the
                                                                           the application .
                                                                         disclosed  navigation system , the user establishes
ogy and represents a major difference to other sensing and their profile and/or sales    preferences, which are encoded into
interaction approaches that, albeit more sophisticated , may the user 's cellular telephone      to be associated with the
require specific hardware or software in personal devices.          proximity beacon identification (ID ) installed in the local
Secondly , the use of Bluetooth presence for situated inter    area . There are 3 key configurations : A . A set key segment,
action combines very well implicit and explicit forms of 15 where      segment keys are not unique and help to setup a user
interaction , in fact, blurring the distinction between them . segment only . In this case the key is not unique . B . A unique
Simply by scanning for Bluetooth devices within the prox key , wherein a unique key would be a unique identifier ,
imity of the mobile device , people are already part of the which can be analogous to an Internet Protocol ( IP ) address.
situation and implicitly engaging with the system .            C . A dynamic key and multiple profiles according to a
    This continuous, flow of presence information can be 20 location and /or user preferences.
fundamental in the aggregation of situated content and may        The profile can include gender, age, and sales preferences
act as an important catalyst for more explicit forms of              interest ), and does not include any personal profile . It may
 interaction . This is what differentiates interactions based on
                                                              be the sameas seeing the user and recognizing their gender,
 Bluetooth presence from other interactions.                  age , and other preferences just by looking at the user. The
    The chosen methodology combines a user defined profile 25 user is not revealing any kind of information that most sites
 encoded into the Bluetooth enabled device by setting up a ask for in a registration process. More specifically, the
 user, such as a Vehicle Identification Number (VIN ). With a profile excludes any personal information like name,
focus or priority on user privacy, the profile is encoded into address      , or telephone number.
                                                                      As part of the suite of Location Based Services (LBS )
 the user 's Bluetooth enabled mobile device with an algo
rithm sequence protecting the user's privacy.                   30 applications, the user 's cellular telephone or mobile device
   The disclosed system provides an important and practical by     will scan the area for the RF tags or beacons. For example ,
implementation of the technique and on its usability within system    being proximity close to the directory stand in a mall , the
the complex set of social phenomena that characterizes utilize the          will receive and a decode the user' s key in order to
situated interactions in public places without compromising     a               user preference segments to trigger delivery of
                                                            111 35 ads , specials
the user 's privacy. The effectiveness and simplicity of the the user' s profile  , and incentives to the user in accordance with
                                                                                       . The disclosed system also provides the
disclosed system makes it easily adoptable for applications business owner or operator with the best marketing tool,
like localized social networking interactions , Near Field knowing their customers , the customers ' profiles and habits.
Communication (NFC ) like secure transactions , payment This is accomplished using a very low cost Bluetooth
methods, secure recognized methods and triggers secure 40 enabled RF tags or beacons installed in the area and an
processes and delivery of direct content according to the          association between the Bluetooth enabled RF tags or bea
user profile or preferences. All of these functions are accom - cons with the user's Bluetooth enabled device, such as the
plished without compromising the user ' s privacy and pro -         user ' s cellular telephone or mobile device .
 vides the user with complete control all the time. The                The disclosed system provides a solution to : “ Your cus
method can be integrated and provide privacy and secure 45 tomer is telling you what they want, are you listening ? ”
transaction to empower applications that may otherwise                 The main idea behind the disclosed system is to provide
exploit the user 's identification (ID ), the user 's profile and   the user with pinpoint content according to their desired
the user ' s privacy, such as a method to provide secure            preferences at the location determined by the identification
payments transactions.                                              (ID ) of the RF tag or beacon in the proximity of the user and
   Every day ,millions ofpeople access the Internet and enter 50 provide directions or navigation to the desired location to the
their profile, personal information , or answer questions user for such items as the store, sales, specials , coupons , or
about their preferences in order to access a service and /or a      any other information that the user may be looking for. The
site , to obtain incentives , coupons, specials , and the like. The disclosed system enables providers to receive meaningful
 sites use the information for marketing and in some cases          data around shopper habits and store layouts statistics, as
share or sell the acquired information . Recent research has 55 well as to help them partner up to offer better loyalty
 found that most people are willing to give information for         incentives to their customers through programs that extend
 incentives.                                                        beyond single storefronts . The disclosed system provides
   Using the profile and records , collection of Internet surf -    sensing of second -by -second updates of a shoppers interest
 ing habits of the user is one way that search engine com -         about specific product, place and can provide the business
panies make money on the Internet. At the same time, search 60 owner or operator with a complete set of marketing tools
engine companies try to direct content to the user according        which were previously unavailable , and at the same time,
to their profile and/or habits .                                    provides the user with offers directly from the business
   But what about real life ? People spend more and more            according to the user's habits and /or preferences profile .
time indoors . According to recent research , people spend         The sales sense is a user preference module , which can be
more than 90 % of their time indoors .                       65 an add -on to the sales sense marketing where the sales sense
   A scenario of searching for stores , items, special sales, joins the user behaviors module to create a very unique
and coupons according to our desire is repeated again and           Location Based Services (LBS ) business and marketing
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model . Imagine a potential customer standing in a crowded               Provide shoppers with incentives and /or advertising ,
 store aisle , feeling overwhelmed by all the choices. What if           Increase security,
 a business associate could just reach out and give the user             And in an emergency, provides the shoppers with alarm
something to help with the decision , such as a coupon ,                    and notification , and
product information , discounts , and the like in real time? 5           Allows shopper engagement with the store. The RF tags
 Content marketers will soon have the ability to do this and               or beacons can become the small neighborhood store
a whole lot more just by implementing the disclosed system .               by recognizing the shopper. This is missing from online
   Sales sense or shopping behavior: How consumers decide                   shopping
what to buy and when is going to drastically change .                 The disclosed technology would be the only system on the
Winning marketing needs to provide and will require getting 10 market
exactly the right content, in the right place , at the right time, mation onthata shopper
                                                                                   can continuously and accurately gather infor
                                                                                          paths based on locally installed RF tags
with even more precision . Shoppers will have the ability to
 collect real time information , comparison pricing, discounts, or beacons without any need to establish any communication
                                                                relationship between the user ' s cellular telephone or other
 and other helpful, highly tailored data as the shoppers walk
 through a store or browse near particular items. It will be 15 mobile device and the RF tag or beacon . This is accom
                                                                plished without
 imperative to produce well -timed , compelling content that is plished         any paring
                                                                        without any paring oror any
                                                                                                any other
                                                                                                    other bi
                                                                                                          bi--directional
                                                                                                              directional com
                                                                                                                          com
useful in those crucial moments before a choice is made .             munication to determine the location , and all without com
Sales sense can become a next generation marketing tools,      promising the shopper 's identification (ID ) or their privacy .
 from coupons and giveaways in stores , to tours ofmuseums,       The various methods disclosed can also provide a way of
to airports that provide real time flight information . The 20 surveying the behavior and preferences of the user 's shopper
possibilities are endless.                                     habits simply by observing the signals (encoding a Blu
   Consumers will start engaging with content in a whole etooth naming key) transmitted by the user's mobile tele
host of new ways. Rather than just providing information              phone and associate the Bluetooth naming key with the
 suitable for a web browser or even a mobile user,marketers           identification (ID ) of an RF tag or beacon located proximate
will need to think about ways to provide content that will be 25 the user and , at the same time, provides the shopper with a
 of value to users as they live their lives. From businesses to       unique special application for indoor navigation which can
 city parks , the disclosed system provides a user with tools to      trigger Location Based Services (LBS ) applications .
 access helpful, real time data like never before . As recently          The present invention provides a next generation
published research showed that on average people spend                approach to the Location Based Services (LBS ) market ,
 90 % of our time indoors . The proposed invention allows an 30 especially respective to indoor applications and to areas
effective integration of on - line and off-line shopping .       where a Global Positioning System (GPS ) cannot provide
  Moreover , according to research , indoor navigation may       accurate navigation .
be more important than outdoor navigation and may repre             The data collected using the disclosed technology can be
sent a huge new market.                                          used to provide trend reports showing which shops are most
   The disclosed technology allows shopping centers, malls , 35 visited and at what times , whether there are sufficient public
department stores , buildings, airports, train stations, exhibi- facilities to serve the visiting shoppers or whether more
tion centers , museums, and amusement parks to understand              security staff are needed to name only a few of the potential
 the way that customers or passengers flow through the                benefits . Ultimately , the collected data can provide assis
premises. At the same time, the disclosed technology pro              tance to shopping centers to becomemore in - tune with their
 vides the user or shopper with a unique indoor navigation 40 customers so that the shopping centers can create better,
capability without compromising user privacy.                       more pleasant places to visit.
   The disclosed technology will allow , for the first time, the       The proposed analytics can turn shopping centers , depart
navigation and the Global Positioning System (GPS ) indus - ment stores, or other stores into finely tuned sites , enabling
try to tap into the local advertising market, estimated to be operators of the mall or store to direct the flow of traffic
$ 134 Billion in the US alone.                                   45 efficiently around the information coming from the user to
    The disclosed technology provides a reliable method for the benefit of the user and the business owner or operator to
identifying the path habits and the behavior that people take provide services such as VIP personalize services , and the
through an area . There are a number of advantages to The like .
disclosed technology including :                                       In contrast to alternative techniques , there is no device
   Extremely large sample size as mobile penetration is 50 that tracks the user's cellular telephone or other mobile
      above 90 % ,                                                    device . In the disclosed methods , the user 's mobile device or
   Shoppers remain anonymous,                                         cellular telephone is the one that scans and tracks RF tags or
   Accurate to within 2 meters , and                                  beacons along the route . Each scan includes the beacon ' s
   Based on a Bluetooth technology .                                  identification ( ID ) and the user' s mobile device or cellular
   For retail areas , malls in particular, the advantages of 55 telephone identification (ID ), and while these keys help
understanding shopper behavior are significant. Such infor -          track the movement of the signal and the user, the disclosed
mation can assist the mall to :                                       technology doesn 't reveal the identity of the user. This is a
  Evaluate and improve their retail tenancy mix by identi-            more precise method than what GOOGLE MAPS uses to
      fying which stores shoppers consider complementary              detect a general location on a mobile device or cellular
      to one another ,                                             60 telephone by cell towers which are accurate between 300
   Identify under -utilized areas in the mall ,                        1000 meters compared to the disclosed technology , wherein
   Understand the impact of anchor stores on the mall,                accuracy which is below 10 meters. The disclosed technol
   Measure the implications of particular promotions or               ogy allows the business owner or operator to be notified
      center events,                                                  about the existence of a user in the vicinity of the store and
   Assist with planning day - to -day mall operations,             65 allows sending the user offers , deals , or more information ,
   Provide add - on features for shoppers ,                           and, at the same time, collects information that could be very
   Provide shoppers with a web - like shopping experience,             important to the business owner, such as habits, profile , or
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preference of the user. This enables an ability to provide         The available local advertising marketing is huge, with
precise content directly to the user 's cellular telephone or over $ 150 billion in revenue in the US alone .
other mobile device .                                              Indoor Location Based Services (LBS ) Applications
   Example of Scenarios :                                          The disclosed concept offers a complete suite of applica
   A user in a mall can use a local guide which could suggest 5 tions including, finding available parking spaces , providing
that the user download the navigation application at the mall , navigation of indoor malls or stores, and a capacity to
the building, or the facility . Alternatively, the navigation navigate to emergency exits, all using a low cost solution
application can already include a mapping application .         and with a business model that can be used to attract
   As part of the application the Bluetooth feature on the      customers .
user 's mobile device will scan for signals from known 10 The applications represent a big opportunity in the navi
                                                                  gation market and will open up new avenues for companies
locations or Bluetooth enabled tags or beacons and will           from telephone operators to malls , stores , department stores,
determine the user 's location on the local mall map (the         merchants , owners to navigation and mapping companies .
same way as a Global Positioning System (GPS )) with                 The disclosed technology presents a low cost and easily
accuracy of less than 5 meters. More beaconsicons with
                                                   with less
                                                        less 1515 deployed infrastructure for location based navigation in both
signal range equals more accuracy .                               an indoor environment and an outdoor environment, without
   For example , the Bluetooth enabled tag or beacon can the need for use of the Global Positioning System (GPS ) or
broadcast an RF or beacon signal that includes the position access to a cellular network . Moreover, the concept is
coordinates (for example latitude and longitude coordinates) especially suitable for local area services (both indoors and
of the RF tag or beacon, which can be detected by a mobile 20 outdoors ) when and where the Global Positioning System
device . The position coordinates can provide a third location    (GPS ) and the cellular network can 't provide a suitable
accuracy for the current location of the mobile device by         solution or the degree of accuracy needed to provide such
 virtue of the mobile device adopting the position coordinates    navigation ( 10 meters or less ).
of the beacon as its own position coordinates.                    The disclosed technology provides a system based upon
    The known locations of a number of RF tags or beacons 25 existing Bluetooth protocols, wherein the Bluetooth tech
 in a geographic region ( referred to as a beacon infrastruc - nology is proven to be stable , simple , inexpensive and
 ture ) can define a geofence that encompasses the geographic     mature in the market. Moreover, it is a common communi
region .                                                           cation tool and is available on more than 85 % of all new
   In some implementations , the beacon can also advertise        mobile telephones at the time of the original disclosure .
Location Based Services (LBS) provided by the beacon 30              System Architecture :
 infrastructure . Upon determining that the mobile device            The infrastructure consists of Bluetooth enabled RF tags
 crossed the geofence defined by the beacon infrastructure .      or beacons installed in known locations in a local area . The
 The application can monitor for RF tag or beacon signals         Bluetooth enabled RF tags or beacons will respond to
and continuously update the location of the mobile device to      Bluetooth device scanning inquiries made by a user 's Blu
be the location of the RF tag or beacon currently in prox - 35 etooth enabled cellular telephone or other Bluetooth enabled
 imity with the mobile device .                                   device using the special, associated application .
   When the mobile device looses contact with the RF tag or          Each of the RF tags or beacons encodes information into
beacon for a defined period of time ( for example, 5 to 10        the naming portion of the beacon signal, wherein the
minutes ) or when the mobile device exits the geofence            encoded information includes the identification (ID ) repre
boundary defined by the beacon infrastructure , the applica - 40 senting the Location as well as the facility or product type.
tion can transfer the monitoring back to the application         A mobile device as well as any other Bluetooth enabled
subsystem , so that the location of the mobile device can be device , such as a desktop computer, a laptop computer, a
 determined using Wi- Fi and /or Cellular identification (ID ).   portable computing tablet , cars , and the like , can also
   In some implementations, the disclosed application can         become an RF tag or beacon providing a new echo system ,
 distinguish between RF tags or beacons within the beacon 45 where an infrastructure can include static and dynamic
infrastructure and mobile tags or beacons that may be             deployments of RF tags or beacons which interact with one
detected during a scanning step , such as other Bluetooth         another.
 enabled mobile telephones operating within the beacon               The local area map , such as a mall map , a store map , a
infrastructure .                                                 building map , an area map , and the like, will be available to
   For example , each beacon in the beacon infrastructure can 50 be downloaded as part of a mapping system that can
provide data in its broadcast signal that indicates that the automatically trigger a request to download the associate
beacon is part of a beacon infrastructure .                       map when a user approaches or passes an entrance of the
    Alternatively , or in addition , when a mobile device makes   building , the mall, any other designated area , or the associ
 first contact with an RF tag or beacon within the beacon ated directory to provide the mapping for the navigation
 infrastructure , that RF tag or beacon can transmit to the 55 application or as part of a mapping and navigation applica
mobile device a list of unique identifiers, such as an iden tion .
tification (ID ) of the RF tag or beacon of other identifiers     A user 's Bluetooth enabled cellular telephone will scan
 (ID ) of other RF tags or beacons within the beacon infra - the local area for the location ofRF tags or beacons located
 structure and other information about the beacon infrastruc-     proximate thereto . When a user is within 5 to 10 meters, the
ture , such as a name, geofence data , and / or one or more 60 location beacons respond , providing room level navigation
websites associated with the beacon infrastructure .           accuracy. The beacon identification ( ID ) in conjunction with
    The beacon infrastructure can be located in any geo -         an associated signal strength will provide instant determi
 graphic region , including within businesses, such as shop -     nation of the location of the receiving mobile device. With
ping malls, retail stores, restaurants ; landmarks such as        multiple RF tags or beacons installed and possibly receiving
museums, airports , parks, entertainment venues ; and any 65 more than one beacon signal, a simple triangulation calcu
other environment where Location Based Services (LBS )       lation and options for signal strength will determine the
 are desired .                                                    exact location of the user on the downloaded map of the
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 local area . It is noted that the process can be completed                 Sales Sense User Preference Module :
without establishing any communication or pairing between                   Recent research has found that most people :
the beacons and the mobile device . The process does not                    Measure the implications of particular promotions or
require any connectivity to the Internet . It is recognized that          center events.
 access to the Internet enables access to additional informa- 5             Assist with planning day - to - day mall operations.
 tion when additional information is desired .                              Provide add - on features for shoppers .
   When including a list of associated RF tags or beacons,                  Provide shoppers with a web - like shopping experience .
other signals not on the list will be ignored . There is a mixed            Provide shoppers with incentives or other advertising .
use of RF tags or beacons and delivery option depending on                  Provides an automatic check -in method .
the application . For example , in a mall application , the stores          Provide shoppers with an automatic check in capability.
can have a Wireless Application Protocol (WAP) or use the                   Increase security .
 Internet to automatically deliver more content by way of a                 In an emergency, provide shoppers with alarm and other
                                                                          associated notifications.
push to a user's mobile device where the RF tags or beacons           The disclosed technology is the only system known today
 serve as navigation “ antennae ” as well as triggering mecha
nism to provide application exploit, waypoints , and content travelcanpaths
                                  as well as triggering mecha - 15 that     continuously and accurately gather information on
                                                                                 of shopper using Bluetooth and/or Wi-Fi
to help the user navigate in the respective area . The appli enabled RF tag or beacon technology and all without com
cations can include a Sales Sense providing next generation        promising the shopper 's identity (ID ) or his/her privacy .
marketing tools , a Behavioral Module , Nav4Parking.                  The disclosed unique and innovative system and method
Nav4Realty,      Nav4Mall , Nav4Sale ,           Nav4Museum , 20 can also provide a way of surveying the behavior and
Nav4Show , Nav4Train , Nav4Sign , Nav4Emergency,                          preferences of the shopper simply by observing the emitted
Return2Parking, Nav4Store , Nav4Conference, Nav4Disney,                   Bluetooth signals , such as the Bluetooth beacon identifica
Nav4Events, and the like.                                                 tion ( ID ) associated with the user 's mobile device , and at the
  Moreover, according to research , indoor navigation may                 same time, provide the shopper with a unique special
be more important than outdoor navigation and may repre - 25 application for indoor navigation as well as Location Based
sent a huge new market .                                     Services (LBS) for the benefit of both the shopper and the
   The disclosed technology disclosed herein enables shop                 business owner or operator.
ping centers, malls, department stores, buildings, airports ,                The data collected using the disclosed technology can be
train stations, exhibition centers , museums, and amusement               used to provide trend reports showing which stores are most
parks to understand the flow of their customers or passen - 30 visited , what times the locations are visited , whether there
gers through their premises . At the same time, the disclosed  are sufficient public facilities to serve the visiting shoppers ,
technology provides the user or shopper with a unique      or whether more security staff is needed , to name only a few
indoor navigation capability without compromising user     of the potential benefits. Ultimately, the data made available
privacy .                                                  by the disclosed invention helps shopping centers become
   The technology disclosed herein provides a reliable 35 more in tune with their customers so the shopping centers
method for identifying the travel paths , habits , and the can create a better, more pleasant place to visit by providing
behavior that people take through an area .                a loyalty and reward program .
   There are a number of advantages to the technology         Analytics provided by the disclosed applications can turn
disclosed herein , including :                             shopping centers, department stores , or other stores into
   Extremely large sample size as mobile device penetration 40 finely tuned locations , enabling the mall, the store , or the
     is above 90 % ,                                           store owners or operators to direct the flow of traffic effi
   Shoppers remain anonymous accurate to within 5 meters,                 ciently .
     and                                                                    In contrast to alternative techniques , there is no device
   The solutions are based upon Bluetooth technology                      that tracks the user' s cellular telephone. In the disclosed
   For retail areas , malls in particular, the advantages of 45 method , the user is willing to give information for incen
 understanding behavior of shoppers is significant. Such                  tives.
 information can assist the mall in a number of areas.                      Using the profile and records, the surfing habits of the
    The disclosed applications enable evaluation and                      user, such as by tracing activities of the associated Internet
improvement of the retail tenancy mix by identifying which   Protocol (IP ) address is the way that the search engine
stores shoppers consider to be complementary . The mobile 50 companies make money on the Internet. At the same time
device or cellular telephone scans and tracks RF tags or        they try to direct content to the user according to the user' s
beacons along the route . Each scan includes the cellular profile or habits . But what about real life ? People spend
telephone' s unique Bluetooth identification (ID ). While more and more time indoors (according to recent research ,
these identifications ( ID ' s ) help track the movement of the people spend more than 90 % of their time indoors ).
 signal and its owner, they don 't reveal the identity of the 55 As part of the suite of Location Based Services (LBS )
user. This is a more precise method than what GOOGLE            applications, the user 's cellular telephone or mobile device
MAPS uses to detect a general location on a mobile tele -                 will scan the area for RF tags or beacons in the proximity
phone using cellular infrastructure towers , which is accurate
                                                            thereof. For example , by being in a close proximity to the
between 300 - 1000 meters compared to accuracy of the       directory stand in a mali, a decoding of the user 's key will
 disclosed technology, which is below 10 meters.         60 be processed in order to acquire the user' s identity ( ID )
    Some reports about shoppers show how valuable behav - and /or preference profile . The server will then provide the
 ioral information actually is and the profit opportunities that          user with ads, specials, and incentives according to the
 come along with this:                                                    user 's profile, essentially responding to the question : “ Your
   Where they go ? Where they go next ? Where they do                     customer is telling you what they want, are you listening ?”
what ? When they do what ? Who does what ?                           65      The main idea behind this is to provide the user with
   Understand behavioral patterns across demographics.                    pinpoint content according to the user 's desired preferences
 Similarities , differences and much more .                               at the location and also direct or navigate the user to the
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desired location where the user can find the store, sales ,           and surfing habits (with permission from the user ). Also as
special, coupons, or other information that they are looking         part of the encoding key into the Bluetooth device, such as
for. At the same time there is also a benefit to the mall or         the user 's profile , as described above can be included to
store owner or operator by getting the next generation ' s             enhance privacy and security to the level where viewing the
sales tools , getting costumers ' habits and their sale 's profile , 5 key broadcasted by the Bluetooth device doesn ' t reveal any
resulting in an ability to better serve better and meet the user identification unless the user requests to be registered to
customer' s needs .                                                    receive incentives , specials, sales, and the like. Even then ,
   The sales sense , user preference module is an add on to            the users name or other personal information is secure and
the sales sense marketing where the sales sense joins the user         only the Bluetooth device key or identification (ID ) is
behaviors module to create a very unique Location Based 10
Services (LBS ) business and marketing model. The analysis recorded .
of this spatiotemporal data can supply high level human                 By directly targeting the consumer standing adjacent to or
behavior information valuable to urban planners, local busi within        a business , an event, or approaching a kiosk or
                                                                  restaurant, merchants can maximize their marketing budget
nesses , and the Location Based Services (LBS ) marketing  .
                                                      ations 15is while incorporating this new , inexpensive and effective form
  Malls, department stores, and store indoor applications     of advertising .
are part of NAV4MALL or NAV4STORE .
   The indoor applications and navigation takes a further        The user is in complete control . The user can disable their
step to give the user or the shopper next generation shopping Bluetooth application at any time or just reject content. The
tools by providing them with the following indoor applica     system avoids spam and the user is attracted by incentives
tions that could be included in the NAV4MALL or 20 rather than generic promotions. In a mall-like environment
NAV4STORE .                                                          an incentive to a user to use the disclosed technology can be
   Map and indoor navigation brings the localmall mapping            further enhanced with the use of the associated key advan
 or store mapping to the digital age. This function allows the       tages and packages.
user to navigate from waypoint to waypoint on the map             Isn 't this all a bit like big brother ? Not at all, and it isn 't
directory . The function brings the store directory or mall 25 even little brother ! The system simply logs the movement of
directory to the cellular telephone.                           a cellular telephone around an area and aggregates this to
   Search and Find provides a capability to locate a store a         provide trend data for businesses. The process is much less
place an item , or a product that would be on the directory          intrusive or invasive than existing methods that are already
 represented by waypoints, represented by RF tags or bea             in widespread use . For instance , Closed -circuit television
cons on the loading maps .
                                                                     ( CCTV ) cameras and number plate monitoring collect per
   Sales or specials provides a process for informing the user sonal information such as your image or car number plate .
of discounts , sales , and coupons. This feature can be an       The disclosed technology represents the next generation
add - on or a replacement for the mall or store printed flyers shopping    experience in shopping centers, malls, or stores
that provide the information to the shoppers at points in the
mall or store . The feature can even direct the user or the 3526 and fits very well with today ' s business model. Such a
                                                                 service can be offered for free to the users and would be
shopper to the aisle containing the products, to coupons, and backed
to other items that the shopper is looking for.                          by advertising and the use of the data by the stores .
   Parking and Return2Parking provides a process which          Who benefits from the disclosed technology ? Everyone
assists the user in finding parking spaces and the location of
                                                             benefits from the trend data collected . The process enables
their parked car. It is noted that this function does not 40 a way to collect instant feedback from shoppers without
directly use the same beacons, as the parking the infrastruc -       having to bother them for information . In the old days ,
ture employs long range beacons , where in a store or a mall ,       centers would have used researchers to survey consumers ,
 the beacons can be a shorter range version .                        but this information takes time to collate and response rates
   Info or information is a function where the system pro -          are very low these days , as shoppers have increasingly
 vides information about events , restrooms, ATM locations , a 45 become reluctant to stop and share their feedback . Hence the
seating area, a kid 's playground , a fountain , public tele -       disclosed innovation provides a very effectivemethod in the
phones , and the like .                                              same way that television ( TV networks know how many
   Emergency is a very important component of the dis -              people watched particular programs and use that information
 closed innovation . The emergency function provides a               to discern what programs to produce and how to calculate
unique alarm and notification to the user without depending 50 the costs advertisers must pay to promote their products
on other communication links, such as cellular telephones            during different timeslots . The system provides the equiva
that are prone to failure in an emergency condition . The            lent for shopping center operators and their resident retailers .
present invention provides the user with an associated               It is believed that introducing the proposed system and
emergency procedure within the building, themall, the store , marketing tools described above can help users and mer
or any other place during an emergency condition , where the 55 chants upgrade the real shopping experience of today with
 information will help navigate the user to safety .                 the advantage of the web like tools.
  Panic portion of NAV4emergency allows the user to                     The disclosed innovation represents the next generation
transmit a signal requesting to be located in an emergency.          shopping experience in shopping centers and malls and fits
The signal would include information pertaining to the               very well within today 's business model. Such a service can
user ' s location .                                       60 be offered for free to the users and backed by advertising and
  Regarding privacy, the system does not collect personal    the use of the data by the stores . Such service , applications
information , such as user ' s name or telephone number. It          and the ability to include, the emergency functions will also
does, however, record the cellular telephone 's Bluetooth            ease the fear of locating a user or any privacy issue.
identification number or other identifier to build a profile of        For the first time the shopper will experience Internet type
the user or the use of the cellular telephone in the area . It is 65 marketing in the traditional sales and advertising venue .
analogous to surfing the web where a user 's Internet Proto -           Here are the benefits consumers could see from a shop
 col (IP ) address is recorded for future marketing statistics       ping center using the disclosed technology :
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   Better in -mall events. The system can monitor how suc -             that is where the disclosed applications come in . The infor
      cessful previous events were by monitoring the sheer              mation can assists malls at all levels; from the very mundane
      volumes of people attending and for how long each                 to the more strategic questions that they face , such as
     person attends the event.                               whether or not the shopping mall has the right mix of
   Provides shoppers with next generation sales tools, 5 retailers.
     including navigation within the mall , the store , or     Similarly the disclosed technology could help museums
     another facility, wherein the navigation can include identify their most popular exhibits and help exhibition
     instructions to guide the user directly to sales or spe companies plan their venues more carefully around visitor
      cials that the merchant want the user to go to .                  traffic flows.
    A supplement or replacement to the store or mall directory 10           The disclosed technology is able to provide a solution
      as well as the in -store or mall marketing flyer.                 with quantitative feedback on whether the changes manage
    Take the guessing away from understanding what the                  ment makes in the mall are successful. One of the ways to
      customer wants , and then send them directly to the               do this is by simply looking at how long shoppers tend to
      location containing the products, the coupons , or the            stay within a mall.
     specials the customer might want.               15 Don 't retailers already measure shopper numbers ? Yes
   Improves public transport links by monitoring how   they have infrared cameras and counting machines , which
      people traveled to a center. With the government 's               monitor and count the numbers of visitors to their stores.
      current emphasis on helping people to use public                   This measure is known as footfall and has been used by
      transport more effectively, having this kind of informa-          retailers for many years. The disclosed system provides
      tion can have a very positive, local environmental 20 another level of data by looking at the aggregate paths that
      impact. Busy shopping centers can otherwise create                mobile telephone carrying visitors take and the length of
     large volumes of extra road traffic , also with the time they spend in each location , which is commonly known
     Search4Parking and Return2Parking applications            as dwell time.
     improves traffic and reduces time and gas consumption .      In the past, malls have focused solely on looking at the
   Eliminates congestion within the shopping center, as the 25 numbers of shoppers that they are drawing through the doors
     disclosed innovation can help the shopping center         (footfall ) but when combined with dwell time they can get
     management understand whether opening hours need          a much more accurate predictor of their performance .
     to be extended or whether the center layout needs to be      The system has no idea who the user is an individual. The
     improved to avoid congestion .                            system only looks at the path the user 's cellular telephone or
   Improves shopping center and public facilities efficiently , 30 other mobile device takes. Essentially , it 's like looking at a
      as the disclosed innovation ' s data helps managers               dot moving around a screen . In isolation this information
      understand which parts of their facility are very busy .          isn 't too interesting until you look at the wider patterns and
      This knowledge can provide guidance so the managers               trends and see lots of dots taking the same route or visiting
      know when to deploy extra employees, cleaners, secu -    the same areas of the mall.
     rity personnel, and the like to ensure proper service . 35 What is the Bluetooth identification (ID ) number ? A
   Better security , where overcrowding within a shopping Bluetooth identification (ID ) is like the Internet Protocol (IP )
      facility leaves shoppers vulnerable to pickpockets and            number in a computer network or the Internet which does
      other security risks. The disclosed system can identify           not contain or reveal the user ' s telephone number that the
      congested areas and ensure security personnel are                 cellular network operator uses to identify your telephone.
      deployed appropriately .                                       40 The disclosed system utilized the identification ( ID ) infor
    In an emergency , the disclosed system can provide instant          mation as one key to find and detect the user.
       alarms and notification , even if the cellular communi-            The linkage between this identifier and your personal
       cation network or other system is not available .                information is very critical to the business owner as it can
   Improved mix of stores and center layout can result from             provides a user 's habits , preferences, and when available, a
      the system helping identify which stores are popular 45 user 's profile . The disclosed system provides a new breed of
      and which are not; making sure that the best possible   tools to the business owner or operator just by getting to
      layout and mixture of shops is provided for visiting know where the user is , and at the same time the system
      shoppers . If some shops are unpopular they can be                provides the user with the best VIP - like personalize shop
      replaced with brands that customers
                                   oma Sacactually want. ping services.
   It is believed that shopping should be an enjoyable 50 The disclosed applications do not detect or acquire any
 pastime. Who wants to go to shopping center that are personal information and have absolutely no idea who the
 congested , poorly laid out, have dirty toilets, are badly             user is as an individual. Although the applications include an
positioned for transport links and which pose a security                option for users to register as mall or store customers to
threat to visitors ? All together, this makes for a much better provide more details about the user (still no real ID ), the
shopping experience .                                          55 process would be analogous to a membership card that will
   How do shopping center owners and retailers benefit ? The            provide the user with incentives , coupons, or special dis
benefits for shopping center owners of using the disclosed              counts if the user participates . Moreover recent emergency
technology are huge , as there are many possible uses for the           events prove the need for emergency and notification to the
information gathered . The disclosed applications can help              right people at the right time, by keeping the key identifi
 shopping center owners or operators get a better understand - 60 ?ation (ID ) of the Bluetooth devices that are in the area or
 ing of how people use their center, such as the order of stores        facility . For example , the disclosed NAV4emergency feature
 the shoppers visit and the time the shoppers spend in                  can provide instant alarming and notification and navigation
 different areas of the shopping center.                                to the exit route and to safety . Again , all of this can be
    These days , visits to shopping malls are falling with      accomplished without revealing the user 's identity (ID ) or
 increased competition from supermarkets , retail parks, and 65 breaching privacy of the users .
 the Internet. With a decrease in visit frequency , it is critical         The business model referred to as Next Generation Mar
 that the shopper's experience at the mall is exceptional and           keting is analogous to web advertising and the main focus of
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 search engine success, which is based on technology that                tance from the Global Positioning System (GPS). A new
tracks the web user 's habits and provides the user with ads kind of service and new marketing way for the malls or store
related to the user ' s interests .                           business owners, an add -on to local advertising .
   Using the disclosed infrastructure of Bluetooth enabled       With an indoor navigation based on the localmap or mall
RF tags or beacons, wherein the beacons are deployed about 5 layout thatwill provide the user with navigation to the user' s
in a mall , a store or a shopping center environment. The desired location in the mall or store and receives content
disclosed invention represents a very unique ability to bring according to the user's preferences or habits . The user can be
 a web like shopping experience by its ability to acquire and    directed to a store , the product , the isle inside the store
 store the user 's surfing or shopping habits in the shopping    containing the desired product, and the like . The disclosed
center, the mall, or the store . The disclosed invention will 10 system   provides a new marketing tool to the store or mall
provide a better shopping experience (coupons, specials owner
sales, according to the user 's shopping habits ) and service to service .orTheoperator  to provide the customer with a new
                                                                                 store can have also an option to deliver more
the shopper.
   It is believed that introducing the disclosed system and the content, including advertising, sale information , coupons,
associated marketing tools above can help the users and the 15 promotions, and the like to the user when the user
sellers to enhance the current shopping experience by intro approaches          the store or already is inside the store. The
                                                                 information would be provided by way of Bluetooth or an
ducing an advantage of the web like tools .
    The disclosed innovation provides valuable solutions that Internet push to the user 's Bluetooth enabled cellular tele
enhance the effectiveness of advertising campaigns. The          phone or mobile device . In an emergency, the
ability to optimize performance in real time has a positive 20 NAV4emergency will kick in . The NAV4store or NAV4mall
 effect on advertiser 's satisfaction . The fact that this service       module is the one that is described in more detail above .
 is well integrated into the disclosed system is a tremendous              NAV4Museum , NAV4Conference , NAV4Show explore
advantage.                                                          museums, conferences, shows, or exhibits in a new unique
   The disclosed innovation is a performance enhancing and easy way for the user to find their way around when
technology , providing great data and allowing improved 25 navigating on the floor map of the museum , the conference ,
customer service .                                                  or the show . The indoor navigation provides navigation to
   The disclosed innovation can provide an extremely effec          exhibits, restaurants , cafes, lavatories, and the like within the
tive way to optimize the performance of offline or online venues . Any museum , conference , or show provides map
advertising campaigns in the mall or store environment. For ping of the exhibits to the attending user. Some provide
excellence in client services , the idea is a clear win -win for 30 venues can also provide an audio device , such as a headset,
everyone.                                                           to get more information on the exhibits . The disclosed
   Helping to understand where users are going in the mall               innovation will provide a unique indoor tool that will allow
 or store in real life and the shoppers ' buying behavior
patterns will allow the merchants to continually adjust the attending user to navigate the museum , the conference ,
offers, placements and creative content to improve buyingving 35350or the show in an easy way directly to the user 's Bluetooth
through and maximize sales.                                        enabled cellular telephone . When the user reaches their
   The disclosed technology will evolve mobile content into        desired exhibit , the user will be allowed to download infor
a bonfire revenue center that will benefit the shopping mall mation about the exhibits directly to their cellular telephone
 operator and merchants alike .                                          and /or Bluetooth headset. The NAV4emergency feature
    The user is in complete control. The user can disable their 40 would also be adapted for use in these venues .
 Bluetooth application at any time or just reject content.                 For users of a mass transportation system , the disclosed
 There is no spam and the user is attracted by incentives                innovation can allow , locate , and point the user to the exact
 rather than generic promotions . Probably the best technical            station or location on a route , providing an easy way to
 analogy would be to compare the disclosed technology with               navigate the user to or within the train , about the subway,
 existing web -based systems that measure viewers of web 45 and about any other underground kind of system . The
sites , for example GOOGLE ANALYTICS .                                   disclosed system provides a new way of subway or bus
   For example , the Bluetooth enabled RF tag or beacon can              mapping, including indoor and / or outdoor environments ;
broadcast an RF signal that includes its position coordinates,           directly to the user' s navigation device or cellular telephone .
such as latitude, longitude , which can be detected by a       Every day millions of people are using the mass transpor
Bluetooth enabled mobile device . The position coordinates 50 tation system , trains, subways , buses, and the like. Each of
can provide a third location accuracy for the current location the passengers depends on the transportation map for the
of the mobile device by virtue of the mobile device adopting route information , schedules, and additional services pro
the position coordinates of the beacon as its own position     vided by the transportation system . Most of today ' s passen
coordinates.                                                   gers carry a cellular telephone with them .
    The system use and costs should scale well with its ability 55          The disclosed methods can be used by the management of
 for multi -use in an emergency and in a non - emergency to              the transportation system , train , buses, taxi and road man
provide local navigation on malls , stores , campuses, build             agement where the RF tags or beacons can be installed in
 ings, hospitals, hotels , and the like , using the Bluetooth            any transportation facility or entity . The disclosed method
 enabled RF tag or beacon for navigation . Some of the key               can provide traffic and on -demand transportation requests.
applications are :                                                    60 The disclosed method can provide online, real time traffic
   NAV4Mall, NAV4Store, NAV4Sale , or just University or                 and transportation head count of the mobile devices existing
Building Navigator, explore the indoor environment. These                in the local area according to an association with a proximity
 features navigate the user to the right place , the store , or the      to the RF tags or beacons installed in the transportation
department the user is looking for. These features provide       entity , in association with transportation infrastructure . The
navigation using the mall map or store mapping to find the 65 disclosed method can provide information pertaining to
user ' s way around . This is accomplished by using the user ' s parking, traffic conditions, signs, schedules and time to
 cellular telephone or other navigation system without assis -           station . The disclosed method can determine how many
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 people are at the station , the bus stop , or at any other           sensors. In an alternative solution used today, traffic moni
 congregating area to create an on -demand service for taxi           toring relies upon manually collect information from users ,
 and/ or public services.                                            which employ the Global Positioning System (GPS) to
   Aside from such data gathering and the importance of              acquire their locations and movements . It is noted that the
such statistically information to manage the flow of trans- 5 Global Positioning System (GPS) is not available for indoor
portation in a local area , the RF tags or beacons serve as      environments or provides accurate information . In a simple
sensors to detect the traffic in a specific area. The status can      explanation , the user mobile telephone automatically trans
be monitored by collecting how many mobile devices are in            mits their beacon identification (ID ). More of the same
the specific area . In event of emergency, the disclosed beacon identification (ID ) reported in the same area is
system can provide emergency notification and alarming the 10 understood to be a traffic condition or slow moving head
local mobile devices .
   The disclosed method can be used to manage transporta count of cars, travelers, or the like in the transportation
tion and provide automatic awareness to transportation          facility or the entity area . In a way, the disclosed method
management and/ or operators as well as the user on the road .  provides   an automatic waze system . Such a system can
 The user can automatically get information about traffic in 15 replace exiting sensors and provides the user and/ or the
their area generated from other associates . The user ' s cel   transportation management with the ability to know exactly
                                     and /or the car using the where the bus, the train , the subway are at any point in time.
lular telephone identification (ID ) and
VIN broadcasting method can be employed as an RF tag or The data can used for the schedule or on -demand public
beacon . RF tags or beacons can be installed along a roadway, transportation , like sending a bus or taxito an area according
automatically generating traffic information by tracking the 20 to the demand in the area . Such a method can provide the
 existence of users in the area and proximity to the RF tags          user traffic and transportation information where the user
 or beacons installed along the road , within a transportation        plays a big part of the process and the process is not
facility , at an intersection , and the like . Infrastructure of dependent upon a manual transfer of information , which has
wireless RF tags or beacons benefit transportation industry      been proven to be not accurate enough .
managements by providing automatic crowd sourcing data 25 One application creates an echo system where the drivers
from users along the road by acquiring the user ' s identifi-    of cars and the transportation entity are all integrated for an
cation (ID ) and determining their proximity to fixed RF tags    intelligent transportation system of tomorrow and all based
or beacons. This collected data can be presented as a                 on the same concept of infrastructure on RF tags or beacons
statistically view as data guttering for events like traffic on       used to collect information to generate statics. Alternatively
the road automatically . Adding such technology and infra - 30 or in addition to the infrastructure, the system can employ
structure into the roads may take time, so the use of the      dynamic beacons where the user 's mobile device or cellular
driver and passenger or the pedestrian cellular telephone as telephone as well as the navigation components within the
a beacon and as automatic traffic notification can provide car are integrated part of such system . It is understood that
instant infrastructure , providing an immediate dynamic a mobile device or any other Bluetooth enabled device , such
 deployment for the benefit of the transportation network and 35 as a desktop computer , a laptop computer, a portable com
the drivers . Mobile devices of the driver, the passenger,            puting tablet, cars, and the like can become a beacon
 and/ or the car can be utilized as a , RF tag or beacon and          providing a new echo system , where an infrastructure can
become a part of the automatic transportation system to alert         include both static ( fixed ) and dynamic (moving ) deploy
for traffic and road safety conditions. The process can ments of beacons which interact with each other. Again ,
provide automatic car to car notification of traffic conditions 40 deploying such technology and fixed infrastructure into the
and road information .                                             roads may take time, so the use of the driver, the passenger,
    The disclosed innovation provides a passenger with the            or the pedestrian cellular telephones or mobile devices as an
navigation inside the transportation system directly to the          RF tag or beacon and as automatic traffic notification can
passenger 's Bluetooth enabled cellular telephone or mobile           provide instant infrastructure . This would provide an imme
device . The passenger will know the exact location or station 45 diate dynamic deployment for the benefit of the transporta
along the transportation route as well as additional informa-         tion as well as the drivers .
tion , such as transportation schedules . The disclosed process          The disclosed system provides the next cellular telephone
provides a new add - on service to for transportation provid -        or mobile device killer application . Emerging technology
ers and passengers alike , utilizing the disclosed indoor  markets are always on the lookout for that elusive killer
navigation methods. In an emergency, the NAV 4emergency 50 application , the precious, irrefutable application that makes
would also be available .                                  adopters stand up , take notice , and open their wallets . Once
    The disclosed idea of implementing RF tags or beacons             it 's found , and as soon as adopters realize firsthand , the
along the roads and within transportation facilities is               value to be achieved , that killer application eventually
designed to reduce the growing congestion on the roads . By           expands into other, more advanced areas of adoption and
providing tools to create an intelligent transportation system , 55 innovation .
the implementation of beacons can be part of a car, installed         Hotel resort and cruise ship : A good example of use can
 in red lights, along the road or within the transportation          be referred to as Nav4Hotel, Nav4Resort, or Nav4Cruise
 facility , such a system can be installed along a bus route , in     ship . The proposed system and infrastructure can include a
 a bus station , in a subway , or in any other transportation         series of installed RF tags or beacons in such places as cruise
 entity , wherein the system provides real time, online reports , 60 ships , hotels, resorts , and other hospitality facilities to ben
 including a status if the transportation systems are empty or        efit the hospitality business and the guest .
 filled with travelers. The system can provide an automatic               The subject invention creates infrastructure of RF tags or
response from the user' s or car' s mobile device associated         beacons in the facility , the hotel, the resort, and the cruise
with the RF tags or beacons installed in the bus station or ship areas . The infrastructure of RF tags or beacons would
train station . The information will allow transportation con - 65 be integrated with an existing hospitality system and provide
trol that can replace what is currently being used , which         a trigger mechanism when the existence of the traveler or
 requires installation and support of high cost camera and /or        guest is detected .
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   The association between the guest's mobile device or               etooth and/or Wi- Fi enabled RF tags or beacons in conjunc
 cellular telephone or the hospitality employee mobile device         tion with Bluetooth enabled devices , especially the cellular
 or cellular telephone and the RF tags or beacons will allow          telephone.
the example option below . As such , there are two parts for          It is another object of the present invention to provide a
the system to work : (a ) the infrastructure of the RF tags or 5 method using a special application for local business, malls,
beacons installed in the hotel, the resort or the cruise ship , departments stores , regular stores, buildings, downtown
and (b ) the guest 's or employee 's Bluetooth and /or Wi-Fi centers        , or any other facility area; especially, but not limited
                                                                  to , indoor environments . The application triggers activities
enabled mobile device or cellular telephone in conjunction based
with the associated application . Again , it is noted that the 10 beaconsupon      the identification ( ID ) of detected RF tags or
                                                                               located in the area .
system can work without Internet access and /or cellular                 It is another object of the present invention to provide a
 communication and can utilize an existing Wi- Fi based               marketing method , especially , but not limited for, the Loca
 system in conjunction with local servers .                           tion Based Services (LBS ) market.
   Example of some of the benefits and functionality to the       The foregoing and other objects of the present invention
hospitality system are :                                    15 are achieved by providing an infrastructure of Bluetooth
   Automatic check -in .                                               enabled tags or beacons installed in known locations within
   Automatic or manual interface to the front office system .         the area or facility . Each RF tag or beacon is assigned its
   Automatic or manual interaction with a billing folio .             own unique identification ( ID ) to identify the location in the
   Link to a key system or replacing a room key .                      area . The RF tags or beacons broadcast the identification
   Recognize when a guest is within the room , enabling 20 (ID ) to be pickup by the Bluetooth enabled cellular tele
     automatic actions, such as turning on an air condition            phone or mobile device .
     ing and /or a light as well as recognizing when a guest              An indoor mapping or mapping images of the area or
     leaves the room and automatically turns off the air               facility will be part of the application and can be down
     conditioning and /or lights to save electricity .                 loaded before arriving to the area or facility or triggered to
   Hotel resort cruise ship navigation .                     25 be automatically download when the user approaches or is
   Allow local messaging without Internet and /or cellular within the area .
     communication based on local chat. This is particularly       The application on the cellular telephone or other Blu
     applicable for cruise ships .                              etooth enabled device will scan the area or facility for the
   Allow push messaging to the guests using the Location beacon signal emitted from the RF tags or beacons, wherein
     Based Services (LBS ) or by remote , when Internetof 3030 the beacon signal includes the identification (ID ) or name.
                                                                      When a Bluetooth enabled tag or beacon identification ( ID )
     access is available .                                            matches one on a list, the user ' s mobile device responds to
   Replace and provide an add -on service to a guest in -room         the proximity detection and determines a signal strength that
     package , which can include an area guide , deals , and          may be used to calculate a distance. When more than one
      coupons.                                                     35 beacon signal is received , the application can complete a
   Option of VIP services where the guest can be recognized           simple triangulation algorithm to determine the current
     automatically around the hotel, the resort, and the               location of the mobile device. Other Bluetooth devices that
     cruise ship using their profile preferences just by being are not on the list would be filtered out .
     detected as being in the area . The hospitality service      One the location of the mobile device is established , the
     organization can provide personal treatment and ser - 40 location can be displayed on the map . And because the
     vices based upon the detection of the user within the location of the other RF tags or beacons are known , navi
     area .                                                           gation between the current location and a desired RF tag or
   A guest's room can be identified as being occupied or              beacon that represents a waypoint is easy to achieve . In
     vacant, wherein housekeeping can be notified to clean            reality , no communication is established between the RF
      the room when the room is vacant.                            45 tags or beacons and the cellular telephone or other mobile
   Housekeeping management room status attended work                  device .
      sheet and productivity report.                                     The disclosed innovation reverses the current idea of
   Increase security to the guest and to the hotel resort.            locating the user by letting the user navigate according to the
   Allow the creation of a profile preference of the guest's          beacon signals transmitted by the Bluetooth enabled tags or
      group .                                                      50 beacons, wherein the beacon signals are sent by way points
   Provide a check -in capability to a restaurant interface , to      directly to the user 's mobile device. This will enable Loca
      a POS system bar system , and acquire menu selections.          tion Based Services (LBS ) navigation , even indoors without
   Provide automatic ticketing and seat selection .                   use of the Global Positioning System (GPS ) or the cellular
   Support guest loyalty and membership program incen                 communication network . The disclosed invention can also
      tives.                                                       55 be adapted to enable triggering of applications and /or create
   Increase security and provide add on to the security plan          a link to an existing system and software .
     of the hotel, resort, and cruise ship to be part of the             The RF tags or beacons can reach from long distance
     emergency evacuation and emergency procedure .                   depending on the application and the antenna used by the RF
   It is believed that the disclosed invention will meet the tag or beacon . To get more accuracy , less range and more
desire of hospitality service providers to increase their 60 beacons may needed to achieve an accuracy of 10 meter or
average revenue per user.                                             less , which provides a more than sufficient accuracy for
   The main object of the present invention is to provide the         navigation within a building, a room , or any other indoor
indoor guide navigation and a special application for indoor          environment. Getting more range to the “ box ” is as simple
 use without the need for any Global Positioning System               as attaching a bigger antenna or including a power buster to
 (GPS ) communication .                                            65 increase the signal.
   It another object of the present invention to provide a               The user can choose to be registered , which would
method of providing special indoor application using Blu -            provide membership privileges, identify the registrant as a
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student in a university , a school, or an employee in a               The disclosed methods represent a very unique way of
business . This provides advantages , especially for receiving     locating the exact location of the user (through the mobile
direct incentives, specials , coupons, and the like . Addition     device ). In the disclosed method , the user scans the area for
ally, the registration would provide benefits associated with      a known list of RF tags or beacons. The user controls the
a full NAV4emergency protection .                                5 scanning of the area for the known identification (ID ) types
   The disclosed applications lets the user choose to partici of RF tags or beacons. In reality , bi-directional communi
pate and receive incentives , specials , sales, coupons and        cation or pairing does not need to be established between the
local content tailored towards the user ' s preferences , all for user
free . Alternatively , the user can choose not to participate and scansand    the RF tags or beacons. The user 's mobile device
pay a small fee for the service and the software . In any case 10 process of area
                                                                          the         for a known RF tags or beacons and the
                                                                                determining the location of the mobile device is
the user 's privacy remains protected to the highest level          accomplished using the identification ( ID ) of the RF tag or
compared to any normal daily use of the Internet.
   There is also a great benefit to the user participating , as the beacon and signal strength thereof to determine a the prox
user can have full emergency notification directly to the imity to the RF tag or beacon . This process provides an
user ' s telephone. In an emergency the user can be directed 15 accuracy of less than 5 meter .
within the area, building , mall , or store and provide navi          Added to the navigation feature is a special indoor appli
 gation to the user along an exit route in accordance with the     cation designed especially for indoor environments, stores ,
 emergency procedure . This feature will be available to the       mall shoppers including features , such as finding where the
 user even if the cellular network fails due to power outages      user parked their car, finding or search of directory , or
or the high volume of network traffic which commonly 20 receiving an emergency alarming and notification .
occurs during an emergency situation .                               Moreover this innovation is not dependant upon cellular
    In the disclosed method, there is no detector or tracking   communications or the Internet for the method of detecting
 for the user, the user themselves engages the scanning and     the RF tags or beacons and there is no need for a central
 detecting method to find the RF tags or beacons in the area    system or expensive infrastructure . In fact, the user ' s mobile
 using the user ' s mobile device with the proximity scan of 25 device or cellular telephone as well as deployed RF tags or
 local RF tags or beacons providing the triggering mecha - beacons creating the infrastructure each has at least one
nism .                                                             battery built in and can work even if the electricity in the
    In summary, the proposed solutions provide a full suite of     area is out, which is very important in emergency situations .
 applications for the benefit of the user , from parking, to         Moreover the sale sense marketing method comprises a
sales, specials , indoor navigation , general informed , and 30 unique way of delivering local content, advertising , cou
notification in an emergency condition and directed to the pons, special sales etc . pin point according to the user 's
exit route to safety .
    The disclosed method can be attractive not only for ofidentity           ( ID ) and or profile preference that can be a record
                                                                       behavioral    activity and will provide simple and secure
shopping malls, department stores, or downtown strips, but
also to high -rise buildings, commercial buildings, universi- 3535 method
                                                                   m(LBS) andforother
                                                                                    targeting user for Location Based Services
ties , schools, museums, amusements parks , trains, subways , munication (NFC )services    for
                                                                                                   replacing like Near Field Com
                                                                                               marketing  and even payments trans
and hotels. It can also be attractive to search engines, actions.
advertising companies, cellular telephone operators, manu
factures , Global Positioning System (GPS ) companies ,map .           The disclosed innovation provides a full line of indoor
ping, local businesses, local advertising , Location Based 40 navigation application especially to places or areas that are
Services (LBS ), and the like. The disclosed method can give        either indoors or outdoors .
the Location Based Services (LBS ) a new meaning; a                    An indoor navigation system may include a navigation
business model that's made easy .                                  computer and an arrival detection system . The navigation
   A facet of behavioral targeting has been around for a            computer may be configured to receive a destination to
while but mostly online but it 's been gaining traction among 45 which a user of the mobile navigation system wishes to
advertising agencies retargeting program , which is now a        travel and to provide guidance to the user about how to
key planning consideration for advertisers .                     navigate to the destination . The arrival detection system may
   Why ? The primary reason is because retargeting is a            be configured to automatically detect when the mobile
 powerful means to bring lift to advertising campaign results ,    navigation system has arrived at the destination by being in
 generating higher conversion rates and lowering acquisition 50 a proximity to an RF tag or beacon identification ( ID ) in the
costs. You can 't be much more effective advertising than          local area . The detection system is based on a sense or scan
advertising that targets a person who has shown an interest        of the existence of RF tags or beacons installed in the local
 in a product but didn ' t buy with a related advertising that     area and would be configured to wirelessly automatically
then gets him to buy, right? It generally fails to tap the transmit an arrival notice indicating when the user detects
unique opportunities of local advertising market estimates to 55 the existence of an RF tag or beacon in the proximity
be over $ 150 Billion in US alone, although people are thereof, thus determining that the user has arrived at the
spending more than 90 % of their time indoors, there is no destination in response to a detection of the user in the area
clear technology to provide indoor navigation and not a clear      by the detection system based upon the arrival of the mobile
business model. Advertisers and the business are disillu - navigation system at the destination .
sioned with the promise of Location Based Services (LBS ), 60 The mobile navigation system may be part of a cellular
but are still longing for a solution that properly addresses the telephone or any navigation device using a Bluetooth func
significant audience represented by the explosion of cellular    tion . Part of the detection application is a notification system
telephones use and the availability of content.                  configured to wirelessly transmit the RF tag or beacon
   It is understood that the disclosed innovation technology     identification ( ID ) of the RF tag or beacon in the vicinity and
 and business model can provide the next generation method 65 to associate the mobile device 's identification (ID ) of the
 for the Location Based Services (LBS ) market to tap into the     user to determine the exact location of the user. This enables
huge market opportunities.                                         any of a variety of functions.
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   In one example, the check in process provides an arrival        required to complete one communication transaction . So the
notice to a representative of an airline. The arrival notice       Bluetooth enabled devices can join and leave a local piconet
may be configured to automatically check the user into a           frequently , effectively overcoming the eight (8 ) device limit.
flight of the airline .                                            It is noted , even without the option to use a long range
   In a second example , the system may be configured to 5 Bluetooth antenna ; the configuration can effectively reach an
wirelessly transmit the arrival notice to a representative of a    unlimited distance.
hotel. The arrival notice may be configured to automatically          The proposed invention provides an ability to form a
check the user into the hotel.                                     wireless ad hoc Bluetooth network or networks based on a
   In another example, the system may be configured to            collection of Bluetooth enabled mobile devices that dynami
wirelessly transmit the arrivalnotice to a representative of a 10 cally form a temporary network , as long as these device are
 food service .                                                   within a sufficient range of one another, such as inside a
    In yet another example , the arrival notice may be config -    room , inside a building, along a road , inside a store or inside
ured to trigger payment for merchandise or a service .             mall. The flexibility of the ad hoc network is what makes it
    In yet another example , the arrival notice may be config -    a suitable choice for emergency deployment scenarios,
ured to trigger the delivery of merchandise or a service to a 15 where multiple devices would be deployed in a proximity
 vehicle in which the user is traveling. The arrival notice may    area that is designated as an emergency . The ad hoc network
 include information about the location of the vehicle .           provides a new way of distributing emergency and alert
   In yet another example , the arrival notice may be config -     information directly to those in the needed area .
ured to trigger delivery of promotional items to the user ,          Moreover, based upon normal human behavior, there is no
wherein the promotional items can be relating to an estab - 20 need to inform everyone in a full room , or requiring all of
lishment at or near the destination .                              the proximity devices participating in the network to be
   In yet another example, the system may be configured to         informed (for example in emergency ). If only a few people
wirelessly transmit the arrival notice to a representative of a    within the occupied room are informed or receive the
 conference that has been scheduled to take place at the           emergency information on their portable cell telephone, they
destination.                                                  25 will convey the information to others located in the area .
   In yet another example, the system may be configured to          The same method and idea is mimicked by the concept of
wirelessly transmit the arrival notice to multiple recipients. dynamic deployment. The concept can be paralleled as a
 The multiple recipients may include attendees of a confer- new way to deliver critical emergency alarming and notifi
ence that has been scheduled to take place at the destination . cation without infrastructure in the localized area .
   In yet another example , the system may be configured to 30 Moreover, the limitation of Bluetooth coverage can be
wirelessly transmit the arrival notice to a localized social    overcome by utilizing the capabilities of the Bluetooth
networking site in a fashion that causes notice of the arrival     protocol in the methods described above . For example , in a
of the user to be published by the localized social network   very large conference location , the localized Bluetooth net
ing site.                                                     work (piconet) can join each other and form a larger network
   To ensure privacy , the system may be configured to ask 35 that covers the entire facility, which is much larger than the
the user for permission to transmit the arrival notice .           limited coverage of a single Bluetooth device . Portable
   In yet another example , the system may be configured to        cellular telephones located at one end of the facility can
automatically transmit the arrival notice upon detection by        communicate with a second Bluetooth enabled device
 the arrival detection system of the arrival of the mobile         located at the opposite end , where the communication traffic
 navigation system at the destination .                     40 is relayed by one or more intermediary , bridging devices .
    At the time the navigation computer receives the desti - Any Bluetooth enabled device , such as the exemplary Blu
nation to which the user wishes to travel, the system may be       etooth enabled cellular telephones , can become the bridging
configured to ask the user whether the user wants the arrival      device ( s ). The cellular telephone user does not need to know
notice to be transmitted in response to detection by the           whether their device is acting as a bridging device , as the
arrival detection system of the arrival of the mobile navi- 45 process is established and functions automatically as part of
gation system at the destination .                             the Bluetooth protocol stack routine. In effect, the process
    The system may include a global user setting which a user      does not change any internal behavior of the Bluetooth .
may set to automatically transmit or not transmit arrival             And again , there is no need to reach all the people with an
notices in response to detection by the arrival detection   emergency or other message . If themessage were conveyed
system of the arrival of the mobile navigation system at 50 to only a few in a room , at least a portion of those would
destinations .                                              inform the remaining people of the emergency message.
   The system may be configured to ask the user to where it    Moreover , the present innovation will allow the user to
should transmit the arrival notice, to receive information  use a local, instant emergency messaging system . The
indicative of this requested location from the user, and to dynamic deployment configuration provides the ability for
 transmit the arrival notice to this location .           55 people to communicate with one another in the same local
    The system can create and utilize a network , which is   proximity using Bluetooth enabled devices, where the
referred to as dynamic deployment. The system will use the people can chat and exchange important messaging for free .
built in , Bluetooth protocol stack module that is able to This would be accomplished exclusive of a need for a
 simultaneously interconnect with other local devices, such        cellular network . Just think , what can be done in an emer
as portable cellular telephones in a " piconet ” , over the local 60 gency or in an army deployment as other communication
area . The simultaneous connectivity limit of eight (8 )           method .
devices at a time is overturned by the ability of creating a         From the old days in history , humans used messengers to
plurality of piconets which operate in a close proximity . It is   deliver news and information . The disclosed invention uses
understood that the Bluetooth enabled devices , such as     applies these older concepts to a device that will make it
portable cellular telephones , can rapidly move from one 65 easy to distribute and broadcast the information around ,
piconet to another. In fact, the Bluetooth devices only need       using the messengers as the mobile ( emergency ) notifica
 to remain a member of one piconet for the period of time          tion , as referred to as dynamic deployment.
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   These , as well as other components , steps, features ,              Like reference numerals refer to like parts throughout the
objects , benefits , and advantages , will now become clear           several views of the drawings .
from a review of the following detailed description of
 illustrative embodiments, the accompanying drawings, and                  DETAILED DESCRIPTION OF THE PRESENT
the claims.                                                                                     INVENTION
        BRIEF DESCRIPTION OF THE DRAWINGS                                In all the figures of the drawings , subfeatures and integral
                                                              parts that correspond to one another bear the same reference
    The preferred embodiments of the invention will herein    symbol.
 after be described in conjunction with the appended draw - 10 Referring now to the drawings in detail and first particu
 ings provided to illustrate and not to limit the invention , in     l arly to FIGS. 1 - 13 thereof.
which :                                                                 An exemplary flowchart illustrating a use of Radio Fre
   FIG . 1 presents a schematic diagram representative of an          quency (RF ) tags or beacons 102 is presented in FIG . 1 . The
exemplary infrastructure deploying a series of Radio Fre -            Radio Frequency (RF) tags or beacons 102 can utilize at
quency (RF ) tags or beacons;                                         least one of Bluetooth and Wi-Fi signal protocols. The
  FIG . 2 presents a schematic diagram representative of an           exemplary system utilizes a mobile cellular telephone or
exemplary indoor mapping system utilizing the Radio Fre               other suitable mobile device 101 to scan and detect a
quency (RF ) tags or beacons, wherein the diagram depicts an proximity of an installed Radio Frequency (RF ) tag or
exemplary application within a shopping mall environment; 20 beacon 102 in themost part for determining a location of the
   FIG . 3 presents a schematic diagram illustrating basic            user, assumed to be the same location as the user' s cellular
 exemplary functions of an indoor mapping application as              telephone 101 in an indoor environment or an outdoor
used on a mobile device or cellular telephone ;               environment. The location in determined by identifying the
  FIG . 4 presents an exemplary flow diagram representative installed Radio Frequency (RF) tag or beacon 102 in the
of an indoor Radio Frequency (RF ) tag or beacon detection 25 vicinity of the user 's cellular telephone 101 , and then using
and an associated navigation process;                         the known location of the respective Radio Frequency (RF )
    FIG . 5 presents an exemplary series a gradient concentric tag or beacon 102 thereby . The proximity of the Radio
 circles indicative of a location ;                                Frequency (RF ) tag or beacon 102 can be used for initiating
    FIG . 6 presents an exemplary flow diagram representative or triggering a notification of an existence to an indoor
 of a business based application utilizing a series of deployed 30 and /or outdoor navigation process as well as delivery of
Radio Frequency (RF ) tags or beacons;                                local content. All of this would be accomplished according
   FIG . 7 presents an exemplary flow diagram representative          to the determined location . The samemethod can be used by
of a marketing based application utilizing a series of                fixed computers or portable computers 103, portable devices
deployed Radio Frequency (RF ) tags or beacons , wherein          104 , pedestrians carrying a portable device 105 ( such as a
                                                                      cellular telephone ), or a vehicle / car 106 that can be equipped
the marketing based application utilizes a profile, prefer with RF Bluetooth or Wi- Fi technology. It is noted that the
ences, and other information for sales and marketing pur          static beacons 102 can be assisted by including other por
poses ;
    FIG . 8 presents an exemplary schematic diagram repre network table RF Bluetooth or Wi-Fi enabled devices within the
                                                                           , thus creating a dynamic network . It is understood
 sentative of a series of functions or applications associated 40 that a number of applications can be provided utilizing the
with a series of deployed Radio Frequency (RF ) tags or infrastructure created by the series of deployed beacons.
beacons , wherein the series of functions or applications are         Additionally , the applications can utilize a precise location
 generally directed for use with an Radio Frequency (RF ) tag         of the user, wherein the location is determined by informa
 or beacon infrastructure deployed within an indoor environ -         tion provided by beacons signals emitted from each of the
ment.                                                              45 deployed RF beacons 102 .
   FIG . 9 presents an exemplary schematic diagram illus -               An exemplary use of the Bluetooth and /or Wi- Fi enabled
 trating an infrastructure employing Radio Frequency (RF )            RF beacon infrastructure deployed in a mall environment is
 tags or beacons deployed within the indoor environment;              illustrated in FIG . 2 . An indoor map 200 of the mall interior
   FIG . 10 presents an exemplary schematic diagram repre - is downloaded and saved or installed on the cellular tele
sentative of a series of functions or applications associated 50 phone 101. The indoor map 200 includes building structure
with transportation and / or telematics applications, wherein    layout, business locations and descriptions, and known RF
the series of functions or applications are generally directed   tag or beacon 102 locations throughout the associated mall,
for use with a static and/or dynamic Radio Frequency (RF) building , or other facility . The RF tags or beacons 102 can
tag or beacon infrastructure ;                                   be deployed inside stores or at any other Points of Interest
   FIG . 11 presents an exemplary schematic diagram repre - 55 (POI) located throughout or around the mall. Information
sentative of a series of functions or applications associated    associated with an RF tag or beacon 102 located proximate
with hospitality based applications, wherein the series of            the cellular telephone 101 can be forwarded to the cellular
functions or applications are generally directed for use with  telephone 101 by the beacon signal. The associated infor
hospitality related businesses and environments ;              mation 109 can be displayed upon the cellular telephone 101
   FIG . 12 presents an exemplary flow diagram representa - 60 as illustrated . A location of the beacon signal receiving
 tive of a next generation marketing tools employing Radio            device , such as a cellular telephone 101 ), can be determined
 Frequency (RF ) tag or beacon technology ; and                       based upon a close proximity to one ormore of the RF tags
   FIG . 13 presents a schematic diagram illustrating an              or beacons 102 of the series of deployed RF tags or beacons
 exemplary dynamic deployment of an RF based network for              102 , which create the beacon infrastructure . The precise
use in a variety of applications, including mobile to mobile 65 location of the receiving device 101 can be determined
communications, car to car communications , and emergency             based upon an identified beacon identification ( ID ) and a
or local communications .                                             signal strength from the detected RF tag or beacon 102102
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or RF tags orbeacons 102102. The precise location can then            refined by using a signal strength of the beacon signal of the
be displayed upon an indoormap 200 , as shown in FIG . 9 .            identified RF tag or beacon 102 102 enabling determination
   An exemplary operational process completed by the cel              of a more precise indoor location of the cellular telephone
lular telephone 101 is presented in FIG . 3. The mobile               101 . The location is then identified and displayed on an
device 101 activates an application program for indoor 5 associated indoor map 200 . In a condition where the cellular
mapping of the facility, building, structure , and the like 200       telephone 101 fails to receive a beacon signal, the cellular
and scans a local area for RF tags or beacons 102 to                  telephone 101 continues to scan the area (407 ) . An optional
determine the precise location 302 of the mobile telephone            feature includes a step of transmitting a notification of
 101. The location of the mobile telephone 101 is determined          existence upon identification of a location ; essentially hav
by scanning the infrastructure of RF tags or beacons 102 , 10 ing the cellular telephone 101 transmit a message stating “ I
wherein each RF tag or beacon 102 is installed in a known             am here ” to the local area as a way of automatically check -in
location within the structure , wherein the structure can be a        and /or a method of notifying a system that the user is within
mall , a building, any facility , or any other enclosed structure .   a local region . For example , the system can notify a local
 The RF tags or beacons 102 102 can be installed inside          area business that a user is within the vicinity . In another
 stores or at any specific Point of Information (POI), around 15 example , the system can convey local contents to the cellular
the mall. The location of the cellular telephone 101 can be           telephone 101 based upon receipt of the notification that the
determined by using information from any RF tag or beacon             user is within the area . The system can provide the user with
102102 located in a close proximity to the cellular telephone         a navigation heading 305 to waypoints based upon the
101. The application would recognize the identification (ID )         current location of the cellular telephone 101 . In yet another
of the RF tag or beacon 102 , wherein the identification ( ID ) 20 example , the system can transmit Points Of Interest (POI) to
 is embedded within a beacon signal emitted by the proxi-             the cellular telephone 101 as illustrated in FIG . 2 .
mate RF tag or beacon 102. The application would calculate          Continuing to refer to FIG . 4 , as the user with mobile
the location of the cellular telephone 101 by utilizing a cellular telephone 101 approaches a facility or area where
signal strength of the emitted and received beacon signal. the user can download the facility or area map 200 associ
 This process provides a solution for a user to determine the 25 ated with the Bluetooth and /or Wi-Fi enabled RF tags or
user ' s location exclusive of the Global Positioning System          beacons 102 installed in the facility area in known locations .
(GPS ), access to the Internet, or any other bi -directional          The application operating on the user 's mobile cellular
communication . The location of the cellular telephone 101 is         telephone 101 will scan the area or facility for RF tags or
 then displayed upon an indoor map 200 on a display on the            beacons 102 that are included on the list of known RF tags
cellular telephone 101 . Should the cellular telephone 101 be 30 or beacons 102 . 102 If any RF tags or beacons 102 on the list
 located in a suitable area and comprise the ability to estab -       were found , then a location determination process 303 is
 lish bi-directional communication , the cellular telephone           used to determine the location of the user using a proximity
 101 can transmit a notification signal or message indicating         to the found and matched identification ( ID ) of the associ
that the cellular telephone 101 is in a region proximate the          ated RF tag or beacon ( 102 ). The system uses the close
RF tag or beacon 102102 , such as by transmitting an “ I am 35 proximity to the RF tag or beacon 102 and recognizes the
here” message to a predetermined recipient. This can pro -            beacon identification ( ID ) as well as calculating the beacon
 vide an automatic check - in process , where the user notifies       signal strength from the detect RF tags or beacons 102 to
 others of the user's local existence to the local area business      102 allow a process for determining the precise location of
 to establish his local location . In turn ; the system can           the mobile device 101 in an indoor environment and
 forward local contents to the cellular telephone 101, wherein 40 includes an ability to show the location over the indoor
the local content would be information associated with the            mapping ( 200) . The scanning continues if RF tags or bea
current position or location of the cellular telephone or other       cons 102 are not found 407 . When a RF tag or beacon 102
mobile device 101. The system can be enhanced to utilize a            on the list is found , the location is displayed on the map
direction of travel of the cellular telephone 101 and antici-         loaded onto the mobile cellular telephone 101 or any other
pate approaching RF tags or beacons 102 . The system would 45 Bluetooth device ( 103, 104 , 105 , 106 ) . Part of the detection
then determine and transmit information associated with RF            process can include a step to notify a recipient of the
tags or beacons 102 located along the current projected path          existence of the user, essentially stating : “ I am here ” ( 304 )
of travel of the cellular telephone 101.                              to the local area as a way of automatically checking in . The
  An exemplary flowchart illustrating an indoor detection       automatic check in method enables the user to automatically
and navigation procedure is presented in FIG . 4 . A user of 50 notify others of their local existence . The automatic check in
the mobile cellular telephone 101 approaches a facility or            method informs the local area business of the presence of the
area where the user can download the facility or area map             user 's local location 303 . In return , the system would
 200 having a series of Bluetooth and / or Wi-Fi enabled RF           provide local content to the user, according to the user' s
tags or beacons 102 installed in known locations throughout location or a navigation heading 305 between Points Of
the facility or area . The application installed on the cellular 55 Interest (POI).
 telephone 101 will scan the area or facility for broadcasted           An exemplary RF beacon accuracy radius circle 501,
beacon signals. Upon receiving a broadcasted beacon signal,           introduced in FIG . 5 , is utilized in at least two distinct
 the application will determine if the received beacon signal         manners : ( a ) the RF beacon accuracy radius circle 501 is
 is associated with any RF tags or beacons 102 included in a          used for the application , and (b ) the RF beacon accuracy
 list of known RF tags or beacons 102102 . If the signal is 60 radius circle 501 is used to identify when the user 's cellular
 determined to be associated with any RF tags or beacons 102 telephone 101 enters and/ or exits the area around and in a
 included in the list of known RF tags or beacons 102102, proximity to an RF tag or beacon 102 of the series of RF tags
then the application proceeds with a location determination or beacons 102 . A central circle 502 and an inner circle 503
process 303 . The location of the user , assumed to be the illustrate different radii from the respective RF tag or beacon
location of the cellular telephone 101 ), is determined to be 65 102 presenting an accuracy of the location of the cellular
in a proximity of the identified RF tag or beacon 102102         telephone 101. The radius circle 501 would be illustrated as
transmitting the received beacon signal. The location is a circle overlaid on a portion of the local indoor map 200 .
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 This displayed configuration would identify an accurate                like, wherein the Parking and Return to Parking 801 pro
location of the cellular telephone 101 respective to the                vides the user with direct navigation to empty parking spots
proximity of the beacon signal received from the Bluetooth              and / or to provide the user guidance to return to the location
 and/ or Wi- Fi RF beacon 102 located in the vicinity of the
                                                           where the car was previously parked .
cellular telephone 101 .                                  5 In another application , Nav realty 802 , information asso
   Ann exemplary flow diagram of a business application    ciated with real estate is provided to a user using RF tags or
utilizing the series of RF beacons 102 deployed throughout beacons 102 installed at each real estate property . Each RF
 a facility , one or more buildings , a mall , a store , and the like   tag or beacon 102 would provide local information about the
 is presented in FIG . 6 . Each RF tag or beacon 102 can be             associated real estate property and can include navigation
 installed by the facility owner, a business owner or operator 10 information respective to real estate located within the local
601, an advertising company, and the like. In one applica               area directly to the user's cellular telephone 101 .
tion , a business owner or operator 601 would install an RF                In yet another application Navmall or store 803 , infor
 tag or beacon 102 in their business. When the user of the              mation can be provided to business operators and subse
cellular telephone 101 approaches the RF tag or beacon 102,             quently , business related information can be provided to the
the cellular telephone 101 detects a beacon signal transmit- 15 application user.
ted by RF tag or beacon 102 in the proximity thereof. The        I n yet another application , Naysale marketing 804 , sales ,
cellular telephone 101 receives the beacon signal and deter -           specials , coupons , and the like can be transmitted to the
mines the identification of the RF tag or beacon 102 asso -             cellular telephone 101 . This feature can provide directionsor
 ciated with the received signal. Once the location and/ or             navigation to the user to guide the user to areas displaying
identity of the RF tag or beacon 102 is known, the appli - 20 items associated with the sales, specials, coupons and the
cation initiates a procedure to obtain local content delivery like .
604 from the business and /or business owner. In one option ,    In yet another series of applications , Nav museum , Nav
the system can provide business or location content 604 to              conference , Nav show 805 , the RF tags or beacons 102
the cellular telephone 101. In a second option , the cellular           would be installed in known locations within a museum , a
telephone 101 can transmit a signal that will directly or 25 conference center, a show (respectively ) and any other
indirectly notify the business owner that the cellular tele -           related location , whereby the RF tags or beacons 102
phone 101 is located proximate a specific beacon 102,                   directly or indirectly provide information and /or navigation
wherein the specific beacon 102 is associated with the                  associated with the location to the user of the associated
business owner' s store, located either proximate to or within          application .
the business owners store, and the like. In turn , the business 30         In yet another application , Car Telematics, VIN broad
owner can provide local content 604 to the cellular tele -              casting , Automatic " waze ” 807 , mobile communication
 phone 101. The application can display the location in any             devices, such as the cellular telephone 101, the vehicle
suitable format, such as the floating circle 501 , upon themap   communication system , and the like , can be employed to
605.                                                             create an ad hoc network , enable vehicle to vehicle com
   A flow diagram illustrating an exemplary target marketing 35 munications, and the like. The RF tags or beacons 102 can
feature is presented in FIG . 7 . The application uses a profile be deployed along a side of a road , a cellular telephone 101
preference provided by the user 's cellular telephone 101 residing within a vehicle, integrated into a vehicle, and the
wherein the mobile device or the user's cellular telephone like. When the cellular telephone 101 is mobile, the cellular
101 scans the local area and determines the location of the telephone 101 can provide wireless vehicle -to - vehicle com
cellular telephone 101 using information obtain from a 40 munication . One optional feature of this application would
beacon signal broadcasted by the RF tag or beacon 102 in                be an inclusion of automatic traffic notifications , what can be
the vicinity of the mobile device 101, such as a beacon                 referred to as automatic " waze ” , whereby the cellular tele
identifier 302 . The profile preference is associated with the          phone 101 can provide automatic traffic and road notifica
user of the cellular telephone 101 . The profile preference is          tions. In an alternate embodiment, a Bluetooth enabled
provided to the local business in conjunction with a notifi- 45 device can be located within a vehicle 106 ( as either a fixed
cation 702 that the cellular telephone 101 is located in the    or a portable device ), on a driver 105 , on a pedestrian , and
proximity to the specific RF tag or beacon 102 . The process            the like. The cellular telephone 101 can be included as an
can filter information to determine Location Based Services             integral element in gathering traffic information . The system
(LBS ) content 704 , wherein the Location Based Services                can monitor movement of the samemobile device to deter
(LBS ) content 704 is based upon the profile preferences of 50 mine traffic flows. Vehicle telematics can be collected and
the Location Based Services (LBS ) , and the user 's behavior conveyed to receiving parties .
703 . The system can determine Location Based Services                    In yet another application , Indoor Navigation 808, the RF
 (LBS ) content 704 such as deals , offers, coupons and spe-            tags or beacons 102 can be employed to provide an infra
 cials , and the like , as well as store or business information,       structure enabling the application to determine a precise
 and provide the information accordingly to the user through 55 location of the receiving device. The application would
 the user' s cellular telephone 101 .                           additionally include a capability of providing navigation
    A series of Local Based Service (LBS ) applications that            between various deployed RF tags or beacons 102 . This
can be utilized in conjunction with infrastructure provided             application provides a solution in areas where the Global
by the series of deployed RF beacons 102 and the methods Positioning System (GPS ) is ineffective , such as indoors .
describes according to various embodiments of the present 60 The system also eliminates a need for bidirectional commu
invention is illustrated in FIG . 8 . One application , referred nication .
to as Parking and Return to Parking 801, provides a method          In yet another application , Transportation 810 , the RF tags
for searching for available parking spaces and / or a process or beacons 102 would be deployed in a subway , on a train ,
for assisting a user to return to the parking location of the    on a bus, and/or in any other mass transit system . This
user 's car. The Parking and Return to Parking 801 applica - 65 infrastructure would provide the user with information
tion can provide parking information within a parking directly to their cellular telephone 101 from the deployed RF
 garage , in a mall parking area , for street parking , and the         tags or beacons 102 installed at stations and /or along the
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 routes. This gives the user a complete navigation on a map         hospitality environment. The Nav Hotel, Nav Resort, Nav
of the train or subway mass transit directly to the user's  Cruise Ship 816 application can also automatically initiate a
cellular telephone 101.                                     link to services associated with the hospitality environment.
   In an alternative mode of the Transportation Application  The Location Based Services (LBS ) and the links can be
810 , the RF tags or beacons 102 can be deployed along a 5 automated based upon the determined location of the receiv
 side of a road , a cellular telephone 101 residing within a         ing device, such as a mobile device or a cellular telephone
 vehicle, integrated into a vehicle , and the like . When the        101. The location of the receiving device can be determined
 cellular telephone 101 is mobile , the cellular telephone 101      by the identification (ID ) of the beacon signal from the RF
 can provide wireless vehicle - to - vehicle communication .        tag or beacon 102 located proximate the receiving device .
                                                                    In yet another application , Scanning For Life 817 , the
 One optional feature of this application would be an inclu - 10 cellular
sion of automatic traffic notifications, what can be referred             telephone 101 converts into a beacon in a condition
to as automatic " waze” , whereby the cellular telephone 101        where two direction communication networks are unavail
can provide automatic traffic and road notifications. In an         able by either lack of installation or an outage . The cellular
alternate embodiment, a Bluetooth enabled device can be             telephone 101, acting as a beacon , repetitiously transmits a
located within a vehicle 106 (as either a fixed or a portable 15    beacon  signal using at least one of a cellular transmission , a
device ), on a driver 105 , on a pedestrian , and the like . The 15 Bluetooth transmission , and a Wi- Fi transmission . Search
cellular telephone 101 can be included as an integral element and        rescue parties would utilize a portable receiver to scan
                                                                    for and locate the Scanning for Life beacon signal. The
 in gathering traffic information .                          Scanning For Life 817 application can include location
   In yet another application , Naysign 811 , the RF tags or
beacons 102 can be installed along a roadway at locations 20 beacon functions
                                                             based            , wherein the location is determined from
                                                                      signals received from RF tags or beacons 102
either proximate traffic signs or at locations exclusive of         deployed in the area. The beacon signal would include a
traffic signs, but would be appropriate for conveying traffic
 related information to a driver . Each RF beacon 102 would         beacon identification ( ID ), which includes information per
be installed at a location enabling passing vehicles to receive     taining to the known location of the respective RF tag or
beacon signals from the deployed series of RF tags or               beacon 102 . The beacon signal can optionally include
beacons 102. The related infrastructure would provide a 2525 phone
                                                             embedded information associated with the cellular tele
telematics system to the driver 's cellular telephone 101, a ated with101the
                                                                         , which can include specific information associ
                                                                             user of the cellular telephone 101 , location
system integrated into a vehicle, and the like.              information , and the like .
    In yet another application , NAV Dating / Social Network           In yet another application , Nav emergency 818 , the RF
 ing Link 812 , a precise location of the cellular telephone 101
is determined using information associated with the beacon 30 tags    or beacons 102 provide critical information and/or
                                                                navigation to the user during an emergency event including
signal from the RF tag or beacon 102 that is located in a
proximity of the cellular telephone or mobile device 101 . instructions
                                                                gency
                                                                              pertaining to an emergency procedure , an emer
                                                                        evacuation   map and directions for evacuating the
The location information is then utilized to assist the user in facility to a safe location .
regards to social networking as well as indoor navigation .
   In yet another application , Dynamic Deployment/Local 335: theAdditionally
                                                                   RF  tags or
                                                                              , the Nav Emergency 818 application utilizes
                                                                                beacons 102 to provide navigation to the
Communication 813 , the application establishes an ad hoc     cellular telephone 101 from the current location of the
network between a series of mobile Bluetooth enabled RF     cellular telephone 101 to an exit location in accordance with
beacons, such as Bluetooth transceivers of cellular tele    a predetermined , optimal emergency exit route . The location
phones 101 to provide localmessaging between a message
transmitting user and a message receiving user, wherein the and routing would be based upon the initial location , which
message is conveyed through at least one intermediary 40 is determined by a proximity to an RF tag or beacon 102 of
Bluetooth enabled RF beacon .                               the localized RF beacon infrastructure . The application can
                                                            additionally provide an emergency procedure and any other
   In yet another application , Payments 814 , a payment necessary
transaction method can utilize a location determined by the            notifications to the user through the user ' s cellular
proximity of the cellular telephone 101 to an RF tag or             telephone 101 .
beacon 102 of the series of RF tags or beacons 102 . The 45 819In, the
                                                                     yet another application , Nav amusement or Nav park
location , the identification of the RF beacon 102 and /or the locationsRFabout
                                                                            tags or beacons 102 would be installed in known
                                                                                 any amusement park , theme park , or other
user profile can be associated with the payment.               entertainment   venue , whereby the RF tags or beacons 102
   In yet another application , Notification or Automatic      directly or indirectly provide information and/ or navigation
Check -In 815 , the cellular telephone 101 is directed to
automatically transmit an arrival message, which notifies a 50 associated  with the respective venue to the user of the
                                                               application . The application can be enhanced by including
recipient that the cellular telephone 101 has received a       an optional feature to assist a user in reducing wait times,
beacon signal from an RF tag or beacon 102 included within          such as a virtual queuing process, for access to rides , events ,
 the infrastructure of beacons and that the cellular telephone  shows, and the like .
101 is in proximity of the RF tag or beacon 102 . The
application can additionally consider elements of the user 's se It is noted that the RF beacon infrastructure enables
profile when determining whether to send the arrival mes 55 cellular
                                                                execution of the above -described application exclusive of
                                                                        communications and/ or access to the Internet.
sage and /or what is included in the arrival message.
   In yet another application , Nav Hotel, Nav Resort , Nav            An exemplary indoor infrastructure of RF beacons 102,
Cruise Ship 816 , the RF tags or beacons 102 can be deployed        wherein the RF tags or beacons 102 are installed in known
within a hospitality environment to provide an infrastructure       locations throughout a local area , as presented in FIG . 9 .
enabling the application to determine a precise location of 60 Each RF tag or beacon 102 broadcasts at least one of a
the receiving device within the hospitality environment or Bluetooth signal and a Wi- Fi signal. The RF tags or beacons
venue . Since most of the environments of the hospitality      102 enable an application to determine a precise location of
venues are located indoors, this application provides a        the cellular telephone 101 on a local map 200 . Once the
solution in areas where the Global Positioning System               application determines the location of the cellular telephone
(GPS ) is ineffective . Additionally, the Nav Hotel, Nav 65 101 respective to a proximate RF tag or beacon 102 , the
Resort, Nav Cruise Ship 816 application can automatically   application can utilize a user ' s profile or profile preferences
initiate Location Based Services (LBS ) associated with the         to obtain marketing information . The user' s profile or profile
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preferences can be used to filter information provided to the           beacon 102 . In one example , the system would transmit a
cellular telephone 101. The application can provide infor-              signal to open the gate when the vehicle approaches the gate .
mation to a remote recipient using Application Programming                 In yet another application , referred to as Saving Fuel
 Interface (API ) 901 which would trigger or initiate content           1108 , the application or series of applications can reduce
delivery 604 . When triggering content delivery 604 , a 3rd 5 fuel consumption by optimize navigation , reducing time
party application 903 would respond to the transmission       finding parking spaces, provide telematics associated with
directed by the application by conveying or pushing local traffic , provide management support of transportation sys
content or other associated information 902 to the cellular             tems, and the like .
telephone 101 . The bi -directional communication can be                  In yet another application , referred to as Theft Prevention
accomplished using cellular communication , an ad hoc 10 1109 , the RF tag or beacon 102 would recognize the vehicle
 network , an Internet based communication , and the like. In           and prevent theft .
 another embodiment, the remote recipient can include a                   In yet another application , referred to as Transportation
local business owner or operator, thus notifying the business           Management 1110, the RF tags or beacons 102 provide
owner or operator that the specific cellular telephone 101 is           assistance for management of transportation systems.
 in a vicinity of the business .                                   15     In yet another application , referred to as Accident Pre
   A series of transportation based applications, introduced            vention 1111 , the cellular telephones are employed asmobile
in FIG . 10 , can be utilized in conjunction with infrastructure        RF beacons 101 provide assistance for prevention of acci
provided by the series of fixed or dynamically deployed RF              dents . In one example , the beacons can be used to notify a
beacons 102 and the methods describes according to various              user when two mobile RF beacons 101 become too close to
embodiments of the present invention . A portion of the 20 one another .
applications introduce telematics therewith .                  In yet another application , referred to as Nav Sign 1112 ,
  In one application , referred to as a Trigger Application the RF tags or beacons 102 can convey information asso
 1102 , the system identifies an RF tag or beacon 102 , which           ciated with road signs . The RF tags or beacons 102 would be
 subsequently triggers or initiates an application . The trig -         deployed along a roadway, located proximate to signs. The
gering can be based upon the location of the cellular 25 RF tags or beacons 102 would transmit beacon signals
telephone 101 . The location can be determined by the    containing sign information within the naming portion of the
 identification ( ID ) of the RF tag or beacon 102 located              beacon signal . The naming portion can be decoded when
proximate the cellular telephone 101. Additional accuracy               received by a mobile receiving device , such as a vehicle
 can be provided by using the signal strength of the beacon   system or a cellular telephone 101 and conveyed to the user .
 signal from the RF tag or beacon 102 located proximate the 30 In yet another application , provided as a Global Position
 cellular telephone 101 or using triangulation when receiving ing System (GPS ) add - on , referred to as Navigation 1113 ,
two or more beacon signals from the RF tags or beacons 102              the series of RF tags or beacons 102 can be used to
 located proximate the cellular telephone 101.                     determine a location of a receiving device , such as the
    A  second  application   , referred to  as  Automatic  Traffic cellular telephone 101 or another mobile device, and can
 Alert 1103 , provides beacon signals comprising telematics as additionally be used to obtain and provide navigation . This
 including traffic alerts . The traffic alerts can be included in   is particularly beneficial in areas where the Global Position
the naming portion of the beacon signal. Using this appli               ing System (GPS ) is ineffective, such as within an indoor
cation , a driver 105 can employ their cellular telephone 101           environment. The navigation can utilize a location recogni
to deliver automatic traffic information 1103 into the system . tion process wherein the location of the mobile device 101
The system can employ mobile devices 101 that are travel            is determined using the identification (ID ) of the RF tags or
ing in vehicles to determine traffic flow . The traffic flow can 40 beacons 102 . The identification (ID ) of the RF tags or
then be disseminated to other users by way of their mobile              beacons 102 are embedded into the naming portion of the
devices 101.                                                            beacon signal. The receiving device 101 decodes the beacon
   In another application , referred to as Dynamic Deploy               signal to determine the identification (ID ) of the signal
ment 1104, an ad hoc network is created between vehicles                received from the RF tag or beacon 102 located proximate
providing vehicle to vehicle communication using an inter - 45 to the receiving device 101. The identification ( ID ) of the RF
mediary communication link . The vehicle to vehicle com - tag or beacon 102 includes the known location . The decoded
munication is preferably accomplished using a Bluetooth          identification ( ID ) is used to determine the location of the
protocol.                                                        receiving device 101. Additionally , signal strength of the
   In yet another application , referred to as Find Parking and beacon signal and / o triangulation can be employed to further
Return to Parking 1105 , the RF beacon infrastructure is used 50 refine the accuracy of the location .
to inform a user of vacant and available parking locations          A series of navigation based applications that can be
                                                                 utilized in conjunction with infrastructure provided by the
and/ or provide navigation guiding the user to the location series
where the user parked their vehicle .                                    of deployed RF beacons 102 and the methods
   In yet another application , referred to as Local Tracking described according to various embodiments of the present
1106 , the system utilizes a Bluetooth beacon that can rec invention are illustrated in schematic form shown in FIG . 11 .
ognize the car and/or driver identification (ID ) and subse > > Each RF tag or beacon 102 contains and broadcasts a beacon
quently track the car and /or driver. The car identification can signal comprising a beacon identifier (ID ) to enable a
be the vehicle identification number or VIN .                    receiving device 101 to determine a precise location of the
   In yet another application , referred to as Access Control device within a facility, a mall , a show , a store, and the like.
 1107, recognition of either a proximate RF tag or beacon 102 The RF tags or beacons 102 would broadcast a beacon signal
or an approaching cellular telephone 101 causes activation 60 using at least one of Bluetooth and Wi-Fi protocol. At least
of a device . This can be accomplished using any of many a portion of the RF tags or beacons 102 can be associated
suitable processes . For example , when a vehicle is approach    with a waypoint.
ing a gate, the vehicle would receive a beacon signal from          Each of the series of exemplary applications provides a
a local RF tag or beacon 102. The signal would be deci- location determining solution and navigation in an environ
phered to determine the identity ofthe RF tag or beacon 102. 65 ment that is not conducive for theGlobal Positioning System
Once known , the system would act according a directive that     (GPS ), such as within a mall , a store, a parking garage, and
is associated with the identity of the proximate RF tag or any other indoor location .
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  One application , referred to as Parking and Return to                An exemplary schematic diagram illustrating a method of
Parking 1510 , the RF tags or beacons 102 are deployed in a          utilizing dynamic deployment to create an ad hoc network is
parking area . Each RF tag or beacon 102 includes at least presented in FIG . 13. Exemplary applications include
one sensor to determine a presence or absence of a vehicle vehicle -to - vehicle communication , emergency communica
in the associated parking spot. The RF tags or beacons 102 5 tions, local communications, and the like . The method
identify vacant parking spots and provide navigation to each establishes communication between a series of Bluetooth
 vacant parking space to a user. The application can addi-           devices located proximate one another. One exemplary
 tionally or alternatively provide navigation directing the user     implementation employs cellular telephones 101, utilizing
to the parking space containing their vehicle .                      the Bluetooth transceivers integrated therewith . The
   In a second application, referred to as Stores Directory 10 dynamic network is created by placing proximally located
1520, a directory of merchants is provided to the cellular     Bluetooth devices into an ad hoc or mesh network . The
telephone 101 . The directory can include displaying loca - network is based upon overlapping signal transmission radii ,
tions of the merchants on a localmap 200 .                           as shown . The network can include installed or stationary
   In another application , referred to as Search and Find           Bluetooth devices 106 and /or mobile Bluetooth devices 101,
 1111 , the RF beacon infrastructure is used to provide direc - 15 exclusive of cellular or other higher powered and costly
tions or navigation between known waypoints within an                communication interfaces . The method can be utilized in
indoor facility , such as a mall . The known waypoints would         transportation creating a road size networking of vehicles
be displayed upon the indoor map 200 .                               and / or drivers for telematics or traffic information , a push
   In yet another application , referred to as Entertainment alert providing road information , and creating a vehicle -to
 1530 , the network provides information pertaining to enter - 20 vehicle communication capability . In another option , the
tainment to the receiving device 101 . The entertainment can         network can be utilized in an emergency situation ; more
be associated with a location of the receiving device 101 ,          specifically , when and where the cellular network is unavail
wherein the location would be determined by a proximity to           able , interrupted , down, or fail. The ad hoc network creates
an RF tag or beacon 102. The application can additionally         a longer range communication capability utilizing local low
provide navigation to a location associated with the enter - 25 power Bluetooth and /or Wi- Fi enabled devices to convey
tainment.                                                         information to local emergency responders or other parties.
   In yet another application , referred to as Sales , Deals, and Another optional feature of the dynamic deployment enables
Specials 1540, the network provides information pertaining           creation of an ad hoc network within a structure , a mall, a
to sales , deals , specials , and the like to the receiving device   store, a building, an office , an entertainment complex , and
 101. The sales, deals, specials, and the like can be associated 30 the like, exclusive of cellular communication . The ad hoc
with a location of the receiving device , wherein the location network provides capability for local messaging between
would be determined by a proximity to an RF tag or beacon            users in a proximity area . The network can be utilized to
102 .                                                                deliver local content to the cellular telephone 101 exclusive
   In yet another application , referred to as Emergency 1560 ,      of any broader and higher powered communication net
 the network provides a notification of an emergency situa - 35 works, such as cellular, and the like . The network would be
tion , emergency procedural information , and navigation             applicable between cellular telephones 101 vehicles com
 from the current location , through the structure , and to a        prising the appropriate transceiver technology 106 , within a
 predetermined exit location . The information would be              facility , a building, an area , and the like. Additional infor
respective to the proximate RF tag or beacon 102 .                   mation can be provided through the Internet or any other
   In yet another application , referred to as Dining 1580 , the 40 resource 1001.
network provides information pertaining to dining in the               The above -described embodiments are merely exemplary
local area to the receiving device . The dining information         illustrations of implementations set forth for a clear under
can be associated with a location of the receiving device standing of the principles of the invention . Many variations ,
 101, wherein the location would be determined by a prox -           combinations, modifications or equivalents may be substi
 imity to an RF tag or beacon 102 . The application can 45 tuted for elements thereof without departing from the scope
 additionally provide navigation to a dining location . This         of the invention . Therefore , it is intended that the invention
 can include restaurant types , menus , and the like .               not be limited to the particular embodiments disclosed as the
  In yet another application , referred to as Information and        best mode contemplated for carrying out this invention , but
Events 1590 , the network provides information pertaining to         that the invention will include all the embodiments falling
events to the receiving device . The events can be associated 50 within the scope of the appended claims.
with a location of the receiving device , wherein the location      What is claimed is :
would be determined by a proximity to an RF tag or beacon           1 . A method of utilizing at least one beacon for conveying
 102 . The application can additionally provide navigation to       desired information , the method comprising steps of:
a location associated with each event.                                integrating a Radio Frequency (RF ) beacon into a vehicle,
   An exemplary flow diagram illustrating a next generation 55           the RF beacon being a communication device config
ofmarketing tools utilizing the RF beacon 102 infrastructure             ured to transit a beacon signal detectable by a baseband
deployed in a local area is presented in FIG . 12 . The network          subsystem of a mobile device located within a com
obtains a user ' s profile or preferences 701 as well as a user ' s      munication range of the respective beacon ;
behavioral pattern 704 associated with the user' s cellular            encoding desired information in a naming packet of a
telephone 101. The information is conveyed to a business 60              beacon signal;
owner 702 for marketing purposes . The user ' s profile and/ or        broadcasting the encoded desired information in the nam
preferences are filtered to determine applicable Location                 ing packet of the beacon signal; and
Based Services (LBS ) 703 . The information can trigger or             decoding the encoded desired information an authorize
initiate an application 304 , establish a link to an existing            wireless scanning device ; and
system and software , and the like, to provide at least one of 65      utilizing the decoded encoded desired information to
local content 503 and indoor navigation 108 to the cellular               initiate at least one of telematics and location base
telephone 101 or similar receiving device .                               services (LBS ) applications.
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    2 . The method as recited in claim 1, further comprising a          employing the NFC transceiver for communicating
 step of:                                                                  between the beacon and a second device comprising a
    the RF beacon utilizing at least one of (a ) a long range              like NFC transceiver.
        Bluetooth signal (a wireless communication protocol             10 . The method as recited in claim 1, further comprising
        standard using short-wavelength radio waves in the 5 a step of:
       ISM band from 2 .4 to 2. 485 GHz in accordance with              defining a geofence using the beacon ;
        industry standard IEEE 802 .15 ) and (b ) a Wi-Fi signal       automatically initiating an event when a mobile device in
        (a local area wireless technology that allows an elec              signal communication with the beacon travels to a
        tronic device to exchange data or connect to the internet          location   outside of the geofence , where the mobile
       using 2 .4 GHz UHF and 5 GHZ SHF radio waves in 10                  device  is out of signal range of the beacon .
        accordance with industry standard IEEE 802.11 ) .               11.  The method   as recited in claim 1, further comprising
                                                                    a step of:
    3. The method as recited in claim 1, further comprising a          defining a geofence using the beacon ;
 step of:                                                              defining a geofence using the Bluetooth transceiver ; and
    encoding the one of a vehicle identification reference (ID ) 15 automatically initiating transmission of an alerting mes
       or a vehicle identification number (VIN ) number in the             sage when a mobile device in signal communication
        naming packet of the at least one of a long range                 with the Bluetooth transceiver travels to a location
        Bluetooth signal and the Wi-Fi signal .                            outside of the geofence, where the mobile device is out
    4 . The method as recited in claim 1, further comprising a             of signal range of the Bluetooth transceiver.
 step of:                                                         20 12 . A method of utilizing a Bluetooth transceiver for
    interfacing the Radio Frequency (RF) beacon with a conveying desired information, the method comprising steps
       vehicle computer.                                            of:
    5. The method as recited in claim 1, wherein the step of           employing the Bluetooth transceiver integrated within a
 integrating the Radio Frequency (RF ) beacon into a vehicle             vehicle , the Bluetooth transceiver configured to trans
is accomplished by a vehicle manufacturer during a process 25            mit a Bluetooth signal detectable by a Bluetooth circuit
of manufacturing the vehicle .                                           of a mobile device located within a communication
   6 . The method as recited in claim 1 , wherein the step of            range of the respective Bluetooth transceiver;
integrating a Radio Frequency (RF ) beacon into a vehicle is           registering an exact parking space location of the vehicle
accomplished as an aftermarket installation process , wherein            on the mobile device using information provided by the
the aftermarket installation process is accomplished follow - 30         Bluetooth transceiver, and
ing completion of a manufacturing process of the vehicle.              subsequently using the mobile device to provide naviga
   7. The method as recited in claim 1, further comprising a             tion to the parking space location where the vehicle is
 step of:                                                                parked .
   initiating at least one of the following processes :                13. Themethod as recited in claim 12, further comprising
     automatically initiating a Location Based Service 35 a step of:
         (LBS ) application ,                               displaying on a display of the mobile device , a map
     automatically initiating telematics ,                     between a current location of themobile device and the
      serve as a locating engine ,                                        exact parking space location of the vehicle .
      enables automatic payment,                                       14 . The method as recited in claim 12 , further comprising
      enables automatic payment for at least one of gas , a 40 steps of :
        roadway toll, and parking ,                              defining a geofence using the Bluetooth transceiver ,
      supplements an existing Global Positioning System             wherein the Bluetooth transceiver is a communication
         (GPS),                                                          device configured to provide a signal detectable by a
      supplements an existing navigation system ,                        baseband subsystem of a mobile device located within
      enables access control,                                   45
                                                                45       a communication range of the respective Bluetooth
      enables access control for at least one of opening of a            transceiver , and
        gate , opening of a garage door, and replacing a key,          informing a user when the mobile device travels outside
      enables vehicle to vehicle communication ,                          of the geofence .
      locating a vacant parking space ,                                15 . The method as recited in claim 12 , further comprising
      locating a parked vehicle ,                               50 a step of:
      create a geofence around the vehicle ,                           employing a Global Positioning System (GPS ) to register
      inform a user of information associated with roadway               the location of the exact parking space location of the
         signs,                                                           vehicle .
        assist emergency services in locating at least one of an       16 . The method as recited in claim 12 , further comprising
            individual and an article ,                          55 steps of:
         contributes to a dynamic communication network ,             employing a Global Positioning System (GPS ) to register
        provides communication of information for a transpor              a location of the vehicle; and
            tation management system ,                                subsequently using the registered location of the vehicle
         acts as a theft deterrent, and                                   to provide navigation to the parking space location
         contributes to an alarm and notification system .       60       where the vehicle is parked .
     8 . The method as recited in claim 1 , wherein the beacon         17 . The method as recited in claim 12 , further comprising
 is in signal communication with a sensor, further comprising steps of:
 a step of:                                                            employing a Global Positioning System (GPS ) to register
     triggering an operation associated with the sensor.                  a location of the vehicle; and
     9 . The method as recited in claim 1, the beacon further 65 displaying on a display of the mobile device , a map
 comprising a Near Field Communication (NFC ) transceiver ,              between a current location of themobile device and the
 further comprising a step of:                                            registered location of the vehicle .
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    18. The method as recited in claim 12, further comprising      20 . The method as recited in claim 12, further comprising
 steps of:                                                      a step of:
   employing a Global Positioning System (GPS ) to register       defining a geofence using the Bluetooth transceiver;
     a location of the vehicle ;                                  automatically initiating an event when a mobile device in
   displaying on a display of the mobile device , a map 5            signal communication with the Bluetooth transceiver
     between a current location of the mobile device and the        travels to a location outside of the geofence , where the
      registered location of the vehicle ; and                      mobile device is out of signal range of the Bluetooth
   providing navigation from the current location of the             transceiver.
     mobile device and the registered location of the              21. The method as recited in claim 12 , further comprising
      vehicle .                                                10
   19 . The method as recited in claim 12 , further comprising " a step of:
                                                                    defining a geofence using the Bluetooth transceiver, and
a step of:                                                          automatically initiating transmission of an alerting mes
   defining a geofence using the Bluetooth transceiver;               sage when a mobile device in signal communication
   automatically initiating an event when a mobile device in
      signal communication with the Bluetooth transceiver 15         with the Bluetooth transceiver travels to a location
     travels to a location inside of the geofence, where the         outside of the geofence , where the mobile device is out
                                                                     of signal range of the Bluetooth transceiver .
     mobile device comes within signal range of the Blu
      etooth transceiver.                                                             *   *    *   *   *
